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ATTORNEYS FOR PAYETTE CITY DEFENDANTS


                       IN THE UNITED STATES DISTRICT COURT

                         IN AND FOR THE DISTRICT OF IDAHO

                                               )
 DAVID M. GRANT,                               )
                                               )
                 Plaintiff,                    )   Case No. 1:18-cv-00411-CWD
                                               )
         vs.                                   )   AFFIDAVIT OF MICHAEL J. KANE
                                               )   IN SUPPORT OF PAYETTE CITY
 BENJAMIN KEY, in his official and             )   DEFENDANTS’ MOTION FOR
 individual capacities, CITY OF                )   SUMMARY JUDGMENT
 FRUITLAND, a political subdivision of the     )
 State of Idaho, FRUITLAND CITY POLICE )
 DEPARTMENT, a department of the City of )
 Fruitland, J.D. HUFF, in his individual and   )
 official capacity, CITY OF PAYETTE, a         )
 political subdivision of the State of Idaho,  )
 PAYETTE POLICE DEPARTMENT, a                  )
 department of the City of Payette, BEN        )
 BRANHAM, in his individual and official       )
 capacity, DUANE HIGLEY, in his                )
 individual and official capacity, MARK        )
 CLARK, in his individual and official         )
 capacity, JOHN or JANE DOES #1-10,            )
 whose true identifies are presently unknown, )
 and other Employees of the City of Fruitland, )
 the City of Payette, or Payette County,       )
                 Defendants.                   )




AFFIDAVIT OF MICHAEL J. KANE IN SUPPORT OF PAYETTE CITY DEFENDANTS’ MOTION FOR
SUMMARY JUDGMENT – P. 1
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 18th day of April, 2019, I electronically filed the
foregoing document with the U.S. District Court. Notice will automatically be electronically
mailed to the following individuals who are registered with the U.S. District Court’s CM/ECF
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                                                     /s/ Michael J. Kane                  .




AFFIDAVIT OF MICHAEL J. KANE IN SUPPORT OF PAYETTE CITY DEFENDANTS’ MOTION FOR
SUMMARY JUDGMENT – P. 3
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1                          PRELIMINARY HEARING                           1            THE COURT: Thank you.
2                                                                        2            Mr. Bistline.
3                           OCTOBER 25, 2017                             3            MR. BISTLINE: Well, Your Honor, the first thing
4                           (Proceedings begin.)                         4   I'd like to do is advise the Court that I have a slight
5                                                                        5   disagreement with the standard reading of Rule 5.1(b)
6            THE COURT: This is the time we have set for the             6   that I want to call the Court's attention to.
7 preliminary hearing in the case State of Idaho versus                  7            The Rule is very interesting. First of all, I
8 David Michael Grant. This is Case CR-2017-660.                         8   think we have to start with the presumption that the
9             First of all, are the parties ready to proceed?            9   Idaho Supreme Court knows how to write a rule to say what
10            MR. BISTLINE: The defendant is, Your Honor.            10      it wants it to say. I think that we all have to agree on
11            MR. DOLTON: The State is, Your Honor.                  11      that.
12            THE COURT: Okay. Any preliminary matters that          12               THE COURT: I think I remember somebody named
13   we need to address?                                             13      Bistline dissenting all the time about these rules.
14            MR. BISTLINE: Your Honor, we'd move for                14               MR. BISTLINE: Yeah.
15   exclusion of witnesses. I'd note they are not in the            15               It says, "If from the evidence the magistrate
16   courtroom right now, but just for the sake of the record,       16      determines that a public offense has been committed and
17   we move to exclude witnesses.                                   17      that there is probable or sufficient cause to believe the
18            THE COURT: That motion will be granted.                18      defendant committed such offense."
19            This is essentially a probable cause hearing.          19               I think what that sets up is a distinction
20   The State must prove a public offense has been committed        20      between the level of proof necessary to prove that a
21   and there is probable cause to believe the defendant            21      crime has been committed and the level of proof necessary
22   committed such offense. A finding of probable cause must        22      to prove that the defendant is the person who committed
23   be based upon substantial evidence as to every material         23      that crime, because it doesn't say probable cause to find
24   element of the offense charged.                                 24      a public offense has been committed and probable cause to
25            I do want to remind the parties this is not a          25      find that the defendant did it. It says that public
                                                                 5                                                                       7

1 trial. I will not permit this to be a trial today.                     1 offense has been committed.
2             There are two offenses complained of here. One             2           And then it goes on to define probable cause as
3    of those is felony eluding, in violation of Idaho Code              3 including substantial evidence, but it does not ever
4    49-1404 (2)(a), (b), (c), and/or (d). And the other is              4 define the particular standard of proof that the Court
5    aggravated assault, a violation of Idaho Code 18-905 and            5 must use in determining whether a public offense has been
6    18-901 Mr. Bistline, do you wish to have the complaint              6 committed.
7    read?                                                               7           And in my experience, there is reasonable
8             MR. BISTLINE: No, Your Honor. We'll waive the              8 suspicion, which is what the officer needs to stop and
9    reading of the complaint.                                           9 frisk. There is probable cause. There is preponderance.
10            THE COURT: Okay.                                       10 There is clear and convincing. And there is beyond a
11            Either party wish to make opening statements           11 reasonable doubt. And where the Court did not see fit to
12   before we start?                                                12 tell us what the standard is, it seems to me that it must
13            MR. DOLTON: I'll be brief, Your Honor.                 13 be more than probable cause. It certainly couldn't be
14                           OPENING STATEMENT                       14 less than probable cause. And if it's more than probable
15   BY MR. DOLTON:                                                  15 cause, the next option is preponderance.
16            The State's case in chief, for purposes of this        16               So it's our position that the Court must find
17   preliminary hearing, consists of three witnesses. All           17      that a public offense has been committed by a
18   three witnesses are officers who were at the incident.          18      preponderance of the evidence. And so to hold others
19            We will begin our case with Officer Ben Branham,       19      would be to read this rule as written differently than
20   with Payette City Police Department. We will follow that        20      it's written.
21   with reserve Officer Duane Higley. And then our final           21               So I want to call that to the Court's attention
22   witness will be Sergeant Benjamin Key, with Fruitland           22      because of the comments made.
23   Police Department.                                              23               We've got many questions for the three officers
24            THE COURT: Okay.                                       24      that he has identified. Some may go beyond the scope of
                                                                                                                     PAYETTE-13
25            MR. DOLTON: That's all we have.                        25      direct. And if they do, we can either do them as we have
                                                                 6                                                                       8

                                                                     5
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1 the witness on the stand and let him go, or we can make                 1            THE COURT: If you'd step forward and raise your
2 them sit in the hall until it's our turn, but I'm sure                  2 right hand, Officer.
3 we'll have a few questions which are beyond the scope of                3            (Witness sworn.)
4 direct.                                                                 4            THE COURT: You may proceed, Mr. Dolton.
5             I do understand this is about the offenses and              5            MR. DOLTON: Thank you, Your Honor.
6    not about anything else.                                             6             DIRECT EXAMINATION OF BEN BRANHAM (OFFICER)
7             And then we also have the deposition of a                   7   BY MR. DOLTON:
8    witness, Robert Blank, that we are going to want to have             8        Q. Can you please state your name, spell your last
9    the Court review.                                                    9   name for the record.
10            So that's just an overview of where we are              10           A. Ben Anderson Branham, B-r-a-n-h-a-m.
11   going.                                                           11           Q. And Mr. Branham, are you employed with the
12            THE COURT: Okay. Is there any case that you             12      Payette Police Department?
13   found where the Supreme Court actually discussed what the        13           A. I am.
14   threshold is of this preponderance of the evidence               14           Q. In what capacity?
15   standard that you propose has been determined to be the          15           A. As a patrol officer.
16   appropriate standard in a prelim?                                16           Q. How long have you been with Payette City as a
17            MR. BISTLINE: No, Your Honor.                           17      patrol officer?
18            Actually, I've not found a case where the               18           A. A little over three-and-a-half years.
19   Supreme Court has said what it meant by the rule. I can          19           Q. And during the three years with Payette Police,
20   only conclude, though, that we can't start with the              20      have you attended any trainings?
21   presumption that it didn't write the rule right and that         21           A. I have been to the POST Academy. I've been to
22   it meant probable cause as to both prongs, because it            22      some interdiction classes, a ride, safety assessments
23   would have said probable cause as to prong (a) and prong         23      with NRA School Shield Program, I'm a taser instructor,
24   (b). But it didn't say that, so I have to conclude it            24      I'm also in the National Guard, been in the National
25   means something else, and I don't know how you could             25      Guard for over five years, have military training,
                                                                  9                                                                      11

1 reason otherwise.                                                       1 Calvary, Scout, and Infantry.
2             I know everybody has just blindly gone along                2       Q. Now, at POST, what certification did you
3    assuming that it's probable cause, but I don't see that              3 achieve?
4    that's a correct reading of the rule, and I am not aware             4        A. Patrol certificate.
5    of a case that anybody has addressed that.                           5        Q. And prior to your time with Payette Police, did
6             THE COURT: The rule specifically states that a              6   you have other law enforcement experiences?
7    public offense has been committed. So that's the first               7        A. I had some security training through the
8    phase you are talking about.                                         8   Walmart. I was in asset protection with Walmart for over
9             MR. BISTLINE: That's prong one.                             9   three years doing security for them and worked with law
10            THE COURT: And that's where the problem is, is          10      enforcement extensively.
11   what is the standard to whether or not an offense has            11               My father was law enforcement growing up, if
12   occurred.                                                        12      that matters.
13            MR. BISTLINE: That's correct, Your Honor.               13           Q. Okay.
14            THE COURT: Okay.                                        14               And what are your duties as a patrol officer
15            And then the probable or sufficient cause as to         15      with Payette City Police Department?
16   whether or not a particular defendant actually committed         16           A. To uphold the laws of the City, State, and
17   that crime. Okay.                                                17      Federal Government if they are broken in my presence and
18            MR. BISTLINE: That's correct, Your Honor.               18      to hold those accountable who break them up to bringing
19            THE COURT: You know, I see your distinction. I          19      them to jail, not sentencing.
20   think that part is clear in the rule. And as we go               20           Q. Okay. Now I want to draw your attention to
21   through this, we'll see where that ends up on prong one.         21      around October 24th, 2016.
22            MR. BISTLINE: Thank you, Your Honor.                    22               Do you recall whether you were on duty?
23            THE COURT: All right. If you'd like to call             23           A. I was on duty. I was on a graveyard shift.
24   your first witness, Mr. Dolton.                                  24           Q. Okay. And your graveyard shift is essentially
                                                                                                                      PAYETTE-14
25            MR. DOLTON: Okay. State calls Ben Branham.              25      what time to what time?
                                                                 10                                                                      12

                                                                      9
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1         A. 9:00 o'clock at night to 7:00 a.m. normally.             1 southbound toward Fruitland. I got behind it -- do you
2         Q. Okay. So your shift would go into October 25th,          2 want me to continue?
3    the following day?                                               3        Q. So, yeah. Let me draw back.
4         A. Yes.                                                     4           As to in the City of Payette, what is Highway
5         Q. All right.                                               5 95?
6             And were you on duty and in uniform in your             6        A.   South 16th or North 16th.
7    patrol vehicle?                                                  7        Q.   Okay. South and North 16th?
8         A. I was.                                                   8        A.   Yes.
9         Q. Okay. Now, going back briefly, you are with              9        Q.   I see.
10   Payette Police. Jurisdictionally speaking, where can you         10            And then as you are approaching what would
11   enforce the law?                                                 11   essentially be main, or --
12        A. I'm deputized for -- I can enforce the law               12        A. Business 95.
13   anywhere in the country, technically. I am deputized             13        Q. What directions can you go from there?
14   through Payette County and a police officer in Payette           14        A. When you get to the Y coming south off of
15   City.                                                            15   Highway 95 or South 16th, you can take a right going
16        Q. Okay. Graveyard shift, typically what other              16   north on Business 95 or South Main, or you can take a
17   officers are on duty?                                            17   left going south on Highway 95 towards Fruitland.
18        A. One per jurisdiction after midnight.                     18        Q. I see.
19        Q. Okay. So one per jurisdiction. So we are                 19            And so the North or South 16th in the City of
20   talking --                                                       20   Payette, how many lanes are there?
21        A. Three in the entire county.                              21        A. It's two lanes.
22        Q. All right.                                               22        Q. Okay. So one lane going --
23            So Fruitland Police Department --                       23        A. North.
24        A. Before midnight, you might have four or five in          24        Q. -- and one lane going south?
25   the entire county: Fruitland City, Payette City, and             25        A. That's correct.
                                                                13                                                                  15

1 Payette County.                                                     1        Q. And as you approached this stoplight, how many
2         Q. All right. And those are patrol officers on              2 lanes are there?
3    duty; is that correct?                                           3         A. It widens to a two-lane for the southbound, so
4         A. Yes.                                                     4    that you can take a right in the right-hand lane or a
5         Q. All right. So back to the 24th, 2016, did you            5    left in the left-hand lane, because it turns facing east
6    attempt to conduct a stop on a black 2013 Toyota Scion?          6    and west right before the light.
7         A. I did.                                                   7         Q. Okay. And so as you approached the stoplight
8         Q. Where did your investigation regarding this              8    and as the Scion was passing you, what was the color of
9    black 2013 Scion start?                                          9    the south light?
10        A. I was driving southbound Highway 95 in the area          10        A. It was red.
11   of Bus Barn and Family Dollar, approximately in that             11        Q. And as the black Toyota Scion turned left to go
12   area. A vehicle was approaching me from behind very              12   southbound on 95, what was the color of the light?
13   quickly. I knew this because I was driving near the              13        A. It was still red.
14   speed limit, which was approximately 35 miles an hour.           14        Q. Okay. When you initiated your pursuit to
15   The speed limit is 35 miles an hour.                             15   conduct a traffic stop on this 2013 Scion, what was the
16            I was going approximately 35 miles an hour. The         16   color of the stoplight?
17   vehicle was approaching very quickly. Its brights                17        A. I was after the stoplight on Vetter Flats, but
18   appeared to be on, as his lights were very bright. They          18   when I went through the light to follow the vehicle, it
19   were blinding me through my rear-view mirror. My reserve         19   was still red.
20   officer with me recounted saying, "Well, that's getting          20        Q. Okay. How many -- approximately how many
21   on us really fast."                                              21   seconds passed before the car went through and turned
22            Once I got up to the light at the Y, I pulled           22   left southbound on 95 to when you started to pursue it?
23   over into the right-hand lane to see what vehicle was            23        A. I can give you distance better than time. But
24   pulling up behind me so quickly, and the vehicle was a           24   if I had to guesstimate, estimate time, I would say 10,
                                                                                                                   PAYETTE-15
25   black Scion. It ran the red light at the Y, heading              25   15 seconds.
                                                                14                                                                  16

                                                                     13
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1         Q. Okay.                                                     1            And after you called out to dispatch that you
2         A. It was in the area of the middle of Vetter Flats          2 were -- what did you say to dispatch you were going to
3    from the light at the Y in Payette and the bridge towards         3 do?
4    Fruitland. Approximately the middle area is where I               4        A. I can give you the exact wording, or I can just
5    called out and activated my overhead lights.                      5 tell you what we are doing.
6         Q. And as you were approaching the stoplight, were           6             Do you want the exact wording?
7    you slowing down?                                                 7         Q. Let's just get both for the record.
8         A. Yes. I was almost at a complete stop.                     8         A. Okay. The exact wording is I usually say my
9         Q. And this Toyota Scion, what was its movement?             9    number, Payette 114, Code 6.
10        A. It sped up prior to reaching my vehicle and then          10            That's telling them I'm doing a traffic stop.
11   accelerated very quickly as it passed my vehicle and made         11   Code 6 is the words we generally use.
12   the turn.                                                         12            They ask. They say, "Go ahead," or some
13        Q. Okay. So now let's talk about after the                   13   variation thereof. I then tell them the license plate,
14   stoplight.                                                        14   description of the vehicle, direction of travel. And if
15            You mentioned Vetter Flats, is that a part of            15   it's a pursuit, which I didn't know it was initially, I
16   southbound 95?                                                    16   have 10-9 to continue after I had activated my lights.
17        A. That's the area -- what we refer to as the area           17            And then after you give them that base
18   of Highway 95 between the Y, which is when you enter              18   information, where you are at, how fast they are going,
19   Payette, when it Y's off into Highway 95 and Business 95          19   description of the vehicle and license plate, if they
20   into Payette and then to the bridge, heading south toward         20   continue for a pursuit, you are to announce over the
21   Fruitland. Those two areas in that area right there               21   radio pursuit, or vehicle pursuit, so that everyone is
22   between the bridge and the Y is what we reference as              22   aware that you have a priority call and you need to clear
23   Vetter Flats.                                                     23   the air and give you priority, which dispatch then
24        Q. Okay.                                                     24   notifies the entire listening law enforcement
25            And when on that Vetter Flats area of Highway 95         25   population --
                                                                 17                                                                     19

1 did you activate your lights?                                        1         Q. Okay.
2         A. Approximately halfway across Vetter Flats.                2         A. -- we have a pursuit.
3             I had to call out to dispatch, notify them of            3         Q. And after your first call to dispatch that you
4    the vehicle, of its license plate once I caught up to the         4    are conducting a traffic stop and activating your lights,
5    vehicle, and then activate my overhead lights.                    5    how much time passed before you called the dispatch that
6         Q. What was your speed as you are attempting to              6    you were seeking a pursuit?
7    identify the vehicle through its license plate?                   7         A. It was before the bridge. So not very much
8         A. We had reached on Vetter Flats speeds of                  8    time.
9    approximately 80 miles an hour. But it was still going            9             I activated my lights halfway across Vetter. So
10   up in speed when I called out to dispatch my traffic stop         10   the other half. And I notified everyone of the pursuit
11   and then activated my overhead lights. So I would                 11   to probably maybe 10 seconds, estimating.
12   assume, and this would be an assumption, because we               12        Q. Okay. And at that time you were exceeding
13   reached speeds of 80. We were not quite at speeds of 80           13   speeds of 55 miles an hour?
14   when I was calling it out over the radio initially, so            14        A. Yes.
15   probably 70.                                                      15        Q. Okay. And was the 2013 black Toyota Scion, was
16        Q. Okay.                                                     16   it gaining distance, or were you catching up to it?
17        A. Initially.                                                17        A. It was gaining distance about the time I
18        Q. What's the speed limit on the Vetter Flats part           18   notified of pursuit, simply because I didn't want to be
19   of southbound Highway 95?                                         19   that close at those speeds and wasn't willing to drive
20        A. 55 for a short period.                                    20   ridiculously fast.
21        Q. Okay.                                                     21        Q. Okay. So now let's go to the bridge.
22            And 55 through Vetter Flats essentially to the           22            Once you crossed the bridge, does the speed
23   bridge?                                                           23   limit change there?
24        A. Yes. For the most part; yes.                              24        A. It had slowed down a little bit, because there
                                                                                                                    PAYETTE-16
25        Q. Okay.                                                     25   is curves.
                                                                 18                                                                     20

                                                                      17
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1         Q. When you say it, what do you mean it?                     1 So a decent distance from Gayway intersection.
2         A. The black Toyota Scion slowed down.                       2        Q. Okay. Now, Gayway intersection, that's kind of
3             I also activated my -- sorry. Worked last                3 an old term that's used in our area. What is it
4    night. Give me a second -- my sirens upon crossing the            4 officially known as?
5    bridge.                                                           5         A. South 16th and Highway 95.
6             So initially did not activate my siren. I                6         Q. Okay.
7    activated it around the same time that I notified of              7         A. I believe. And/or in Fruitland it's called -- I
8    pursuit.                                                          8    always call it Highway 95 in Fruitland. It's got a W in
9         Q. Okay. Now, I just directed your attention to              9    the name. I'm trying to remember it. Highway 95 is
10   the date of October 24th. You said you worked the                 10   called by a different name.
11   graveyard shift. At what time did this incident occur?            11        Q. Whitley?
12        A. Approximately 2300, which is 11:00 o'clock.               12        A. Yes.
13        Q. Sure.                                                     13        Q. Whitley Drive?
14            And so you activate your lights at the bridge.           14        A. Whitley Drive. Thank you.
15   Did the speed limit that was posted change from 55 upon           15        Q. And were you informed what measures this
16   reaching the bridge?                                              16   Fruitland officer used to attempt to slow down or stop
17        A. Yes. It changes to 45, which is slowing down              17   this 2000 --
18   going into the City of Fruitland. And further into                18        A. Yes, the Fruitland officer notified me that he
19   Fruitland, it will slow down to 35.                               19   was setting up spike strips and to back off.
20        Q. Okay. And as you were pursuing this Toyota                20        Q. Okay. And in what location were the strips to
21   Scion past the bridge into Fruitland, what speeds were            21   be set?
22   you going?                                                        22        A. They were being set on the southbound lane,
23        A. 60. In the 60s. So a little faster than 60.               23   which the black Scion was traveling in at that time.
24   Up to 65, almost 70, and then down to about 50 at points.         24        Q. Okay.
25        Q. Okay. And this Toyota Scion, where was it in              25            And the Fruitland officer who assisted or was
                                                                 21                                                                   23

1 relation to you from when you were on Vetter Flats to                1 participating with you in this investigation, what was
2 when you entered the city limit?                                     2 his name?
3         A. It was getting further away.                              3         A. Officer Key.
4             Because a Fruitland officer notified me he was           4         Q. And as you were -- when does the speed limit
5    setting up his spikes, so I was backing off to give               5    change in the City of Fruitland from 45 to 35?
6    distance so I didn't run over the same spikes, so.                6         A. Approximately around the area of Miller's Auto,
7             So my speeds were at the 60s and then into the           7    which is right after you take the final curve to that
8    low 50s as I slowed down.                                         8    long straightaway in Fruitland. So 400 meters before, or
9         Q. And so you were slowing down, and the vehicle             9    500 meters before approximately the spike strips.
10   was either going same speed or possibly a greater                 10            The spikes are set almost halfway between Gayway
11   speed?                                                            11   intersection and the curve.
12        A. It looked to be gaining distance between myself           12        Q. Dickinson's Fine Food, it's to the east of
13   and it.                                                           13   Highway 95 in Fruitland; is that correct?
14        Q. Yeah. But you were slowing down; is that                  14        A. Yes. Yes.
15   correct?                                                          15        Q. Where was the spikes in relation to
16        A. I was.                                                    16   Dickinson's?
17        Q. All right.                                                17        A. Just north of the turn-off for Dickinson's.
18            And at what part or what area in Fruitland did           18        Q. Okay.
19   you receive assistance from Fruitland Police?                     19        A. I'm not sure exactly how far north. But just
20        A. It was before Gayway intersection, which is the           20   north.
21   intersection that goes toward Ontario. So that would be           21        Q. All right.
22   to the north of Gayway intersection.                              22            And so you slowed down. Spike strips were down.
23            If I had to guess distance from Gayway, I would          23   And did your pursuit continue after strips were passed,
24   say 300 meters approximately.                                     24   spike strips were passed?
                                                                                                                    PAYETTE-17
25            This is an approximation. I did not measure it.          25        A. Yes, it did.
                                                                 22                                                                   24

                                                                      21
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1            The Toyota Scion looked to run over the -- from           1 I did not deactivate them until the very end, which I can
2 what I saw, looked to run over the spike strips with its             2 explain further on.
3 passenger side tires. Looked like both sets of tires hit             3             I may have deactivated the siren at the very end
4 the spike strip, and appeared the front tire at least was            4    when everything was completely stopped.
5 losing air.                                                          5         Q. Okay. And any officers besides your patrol unit
6            Initially, after the spike strip set was hit by           6    join in this pursuit of the Toyota Scion?
7 the Scion, it continued. It slowed down initially. The               7         A. Yes. Officer Key caught up to me in Fruitland
8 pursuit did slow down after the spike strips were hit,               8    before the City Hall. I would say it was approximately
9 but then we sped up again as we went southbound through              9    in that area. And it's our policy to offer the primary
10 Fruitland and got up to speeds of 60, approximately 60, a           10   jurisdiction that we are going through, primary position
11 little higher than 60.                                              11   in a pursuit, which means give them the first car in the
12       Q. Okay. So spike strips were deployed. You saw               12   pursuit and to back off to second car ourselves.
13 the vehicle go over those strips. And then you continue             13            I offered that over the radio to Officer Key.
14 on to this Gayway junction or Whitley and --                        14   He requested to take primary, so I slowed down to allow
15        A. South 16th.                                               15   him to take primary.
16        Q. South 16th.                                               16            While that was happening, my corporal did come
17            The stoplight, what color was the stoplight              17   across the air and say some things.
18   southbound?                                                       18            Did you want me to talk about that? Do you want
19        A. I do not recall exactly. I thought it was red,            19   me to back up?
20   but that's not an exact. I do not remember clearly what           20        Q. Unless it's something in disagreement with
21   color it was.                                                     21   having Officer Key take priority --
22        Q. And you continued your pursuit --                         22        A. Yeah. He said, "Negative. Maintain primary."
23        A. I did.                                                    23            It was already done. We had already switched at
24        Q. -- through Fruitland?                                     24   that point.
25            What speeds were you going as you were pursuing          25            I notified him that we had already switched and
                                                                 25                                                                     27

1 this Scion through the City of Fruitland after the spike             1 it is our policy to switch if they want the primary
2 strips were deployed?                                                2 position, which Officer Key did say he wanted.
3         A. As I said, we were speeding up. We reached                3             I don't remember his exact wording in taking it,
4    speeds of 50, maybe 55 in Fruitland.                              4    but he did say he wanted primary.
5         Q. Okay.                                                     5             And once you are the secondary vehicle, once
6         A. It was when we left Fruitland, still southbound,          6    there's two, the secondary vehicle calls out over the
7    that we picked up to the 60s and a little higher than             7    radio generally while the first vehicle maintains the
8    60s.                                                              8    pursuit as safely as possible.
9             I don't know what they call that big plain               9         Q. Okay. Now, did you still have sight on the
10   between the interstate and Fruitland, but in that area we         10   Toyota Scion as you were switching roles with Officer
11   picked up again.                                                  11   Key?
12        Q. All right.                                                12        A. Yes.
13            Now, as you are going to the City of Fruitland           13        Q. And could you approximate the distance that the
14   and as you approach City Hall, the speed limit changes,           14   Toyota Scion was ahead of you when you made the switch?
15   does it not?                                                      15        A. So I had to slow down quite a bit to allow him
16        A. It does. Changes to 45 miles an hour.                     16   to get in front of me to make sure it was a safe
17        Q. Okay.                                                     17   transition.
18            And what was your speed as you were continuing           18            It got quite a bit in front of me. I -- again,
19   to pursue this Toyota Scion when the speed limit changed          19   this would be an estimation of distance: 500, 600
20   from 45 to 35?                                                    20   meters. Perhaps that far.
21        A. 55 miles an hour, maybe a little faster.                  21        Q. Okay. And so now Key's patrol unit is in the
22        Q. Okay.                                                     22   lead as you are passing Fruitland and still heading
23            Were your lights and sirens on, or did you               23   southbound on 95; is that correct?
24   deactivate them at all once you activated them?                   24        A. That is correct.
                                                                                                                    PAYETTE-18
25        A. From the time I activated my lights and sirens,           25        Q. And when does the speed limit change on
                                                                 26                                                                     28

                                                                      25
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1 southbound 95 south of Fruitland? From 45 to what?                   1 lane or southbound lane.
2         A. There is what I like to call an S curve at the            2            Okay. And then there was further, once through
3    south end of Fruitland. At the end of that S curve, it            3 Fruitland, I believe when we were spiking the Toyota
4    notifies you the speed is changing to 55, and it then             4 Scion, when it was being spiked by Officer Key, there was
5    changes after you pass the last Fruitland City road, I            5 at least one vehicle in the northbound lane.
6    think is what it is. I don't remember the name of it off          6            And then there was another one further south on
7    the top of my head, but it's after Pennsylvania. That             7 the northbound lane as well that we eventually then
8    comes through next to the middle school there of                  8 passed.
9    Fruitland. After that it turns to 55, and it's                    9            And they yielded prior to us reaching them as
10   approximately a one to one-and-a-half-mile stretch of 55          10 they were heading in the opposite direction and could see
11   miles an hour.                                                    11 us, I assume, as I wasn't in those vehicles.
12        Q. So that S curve, you have a great line of                 12       Q. And so of those five vehicles which were heading
13   sight?                                                            13 in the same direction as your pursuit with the Scion --
14        A. Oh, yeah. There's no trees blocking your                  14        A. Three maybe four.
15   vision. The worst you might get is some weeds in that             15        Q. Okay.
16   area generally.                                                   16        A. And five is a low estimate. I was more focused
17        Q. All right.                                                17   on the southbound lane than the northbound lane, but I
18            And so now Officer Key is in the lead; you are           18   remember more than.
19   behind. What speeds were you traveling when you are               19        Q. Okay.
20   second unit?                                                      20        A. At least two in the northbound lane.
21        A. Once the second unit had taken primary, we got            21        Q. So --
22   up to speeds of 60-plus miles an hour.                            22        A. And at least three in the southbound lane.
23        Q. And were there any observations you made as to            23        Q. Okay. All right.
24   the condition of the Toyota Scion as it was continuing?           24            Now, besides your own speed, what other means?
25        A. It was going back and forth between the two               25   Did you have either training and experience or machinery
                                                                 29                                                                    31

1 southbound lanes throughout the pursuit, without turn                1 to evaluate the speed of this Toyota Scion?
2 signals.                                                             2        A. I've been through estimation of speed training
3             It did pass other vehicles during the pursuit            3 through my FTO field training officer period, as well as
4    from the beginning to the end. There was not a lot out,           4 my POST training, which is the academy we attend to
5    but there was other vehicles out. It generally moved              5 become a police officer. I'm radar certified. And to do
6    over a little bit. It moved over to the opposite side of          6 radar, you have to be able to estimate the speed of
7    the vehicles generally towards the center of the roadway          7 vehicles within five miles an hour of their speed 10
8    when passing those vehicles, but it was speeding.                 8 times consecutively without error, as well as my years of
9         Q. Okay. If you could, or could you give an                  9 training as a police officer conducting traffic stops,
10   estimate of the number of vehicles that were passed by            10 because part of a traffic stop is to estimate the speed
11   the Scion and your unit as you were pursuing?                     11 of a vehicle within five miles an hour of the actual
12        A. From the beginning of pursuit to end?                     12 speed, at which point you then activate your radar to
13        Q. Yes.                                                      13 verify its speed. And that is when I conduct my traffic
14        A. It would be only an estimate, but at least five           14 stops. And it's my common practice as a police officer
15   if I had to guess.                                                15 if my estimate is too far off, I will not activate that
16        Q. And of those five, do you recall where they were          16 traffic stop on speed alone, simply because technically
17   in relation to the cities and the roads?                          17 -- it's just a guideline. I don't believe it's law
18        A. On Vetter Flats I believe there was two vehicles          18 anywhere, but in the training for it, is you need to be
19   between the start of the pursuit and the curve, first             19 within five miles an hour of its speed. Generally I'm
20   curve of Fruitland. So it would be after the bridge.              20 very accurate.
21   And there was at least two vehicles that got over in              21        Q. Now, as far as your radar in your vehicle, there
22   front of the Toyota Scion and yielded to my lights, in            22   was a radar unit in the patrol vehicle?
23   what appeared to me to be yielding to my lights and               23        A. Yes.
24   sirens as they pulled over and this vehicle, this Toyota          24        Q. And was it used during the course of this
                                                                                                                    PAYETTE-19
25   Scion, then moved over left into the left-most northbound         25   incident?
                                                                 30                                                                    32

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1        A. No. It was not. Because when you are traveling             1 my questions that are confusing.
2 the same direction as another vehicle, you cannot                    2         A. Sorry.
3 estimate speed unless you stop your vehicle to activate              3         Q. So my question was, is the speed of the vehicle
4 your radar.                                                          4    when you were leading, what was the estimated maximum
5             You can do that for vehicles heading toward you          5    speed --
6    while you are moving, but if moving in the same direction         6         A. Oh.
7    as a vehicle, you cannot. It does not operate in that             7         Q. -- of the vehicle?
8    way.                                                              8         A. When I was leading? 80 plus miles an hour.
9         Q. So the only basis of speed is the speed your              9         Q. And where did that occur?
10   vehicle was traveling, as well and then your estimates            10        A. Between the beginning of the pursuit and the
11   based on your training and experience?                            11   first curve of Fruitland. And then it sped up again.
12        A. Yes. And the policy of our department is to               12   I'm not sure exactly how high, but I know it was at
13   notify dispatch of our speed in our patrol vehicle.               13   80-plus miles an hour between the Vetter Flats activation
14        Q. Okay.                                                     14   point of my traffic stop and the last or mid point of the
15        A. Through the pursuit.                                      15   first curve, I guess you would say. It's one big curve.
16        Q. Okay.                                                     16        Q. So is it safe to say that after the deployment
17            And once Officer Key took the lead in the                17   of the spike strips and the vehicle going over it, it
18   pursuit, did you continue to report your speeds to                18   never reached those speeds again?
19   dispatch?                                                         19        A. It did not reach 80 miles an hour again; no.
20        A. I did.                                                    20        Q. Okay. All right.
21            There was some garbling between officers,                21            Now, I didn't ask you this question prior, but
22   because officers trying to come to the scene were on the          22   this area that we've talked about on southbound Highway
23   radio intermittently, which caused a little bit of                23   95, what county and state is that located in?
24   cross-talks, which causes squelching on the radio. As             24        A. Payette County, State of Idaho.
25   well as Officer Key, once, a few times, I'm not sure              25        Q. All right.
                                                                 33                                                                     35

1 exactly how many times, he got on the radio to make                  1             So now going to whip you back.
2 observations, I believe. I'm not sure how many times he              2         A. Okay.
3 did that, but I was primary on the radio for the                     3         Q. To you are just exiting the city limits of
4 pursuit.                                                             4    Fruitland on southbound 95, you've reached the
5         Q. And once Officer Key took the lead in the                 5    55-mile-an-hour posted speed limit after Pennsylvania,
6    pursuit, were you still exceeding the speed limit that            6    south of Fruitland, Officer Key has taken the lead. What
7    was posted?                                                       7    happens from that point on?
8         A. Yes.                                                      8         A. Officer Key continued following the vehicle as
9         Q. By how much were you exceeding the speed                  9    the primary vehicle. I notified of speeds and direction
10   limit?                                                            10   of travel for the pursuit all the way up until the
11        A. It gets up to 55 on that straight-away, and we            11   stopping of the pursuit.
12   reached 60 miles plus on that.                                    12        Q. Okay. And the pursuit, where did it stop?
13            If I had to say an exact speed, as an estimate I         13        A. The first stopping point of the pursuit?
14   would say 63, 64 miles an hour were reached, again on             14   Because there's two, if you look at it. At the end was
15   that southbound stretch between the interstate and                15   on the off-ramp of I-84 westbound. So he went into the
16   Fruitland.                                                        16   off-ramp the wrong direction.
17        Q. And based on your training and experience in the          17        Q. Okay.
18   estimates, when was the maximum speed being reached by            18        A. And then he stopped his vehicle.
19   this Toyota Scion when you were pursuing it?                      19            And that is when Officer -- do you want me to
20        A. Mid point of before the interstate and                    20   continue?
21   Fruitland. It started slowing down as we reached the              21        Q. Sure.
22   interstate because there's a hill up, and then it turned          22            So just to clarify for purposes of the record,
23   at that point on to the off-ramp for the westbound                23   you passed the highway, or the Highway 30 junction where
24   understate. So the wrong way on the off-ramp.                     24   the Hammer Stores are?
                                                                                                                    PAYETTE-20
25        Q. Oh, I'm sorry. A little bit ahead of me. It's             25        A. Yes.
                                                                 34                                                                     36

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1         Q. Is that correct?                                          1 going to be out on foot, as Officer Key was already at
2         A. Yes. So there's Highway 30. There's a little              2 the vehicle and we were trying to catch up to assist
3    convenience store there right after it to the south of            3 Officer Key.
4    Highway 30. We passed that, still on, southbound on               4         Q. Okay.
5    Highway 95, went up the -- yeah, started going up the             5             Now, Officer Key is, in relation to the exit to
6    hill, and then there is the off-ramp, the first off-ramp          6    the off-ramp onto Highway 95, so if you are going
7    to the east of Highway 95 that comes off of I-84                  7    westbound, was he between 95 and the exit or behind the
8    westbound. So the people traveling towards Oregon get             8    car, this Toyota Scion and the exit?
9    off there if they want to go towards Payette or Fruitland         9         A. So if this is Officer Key's vehicle pointed
10   or New Plymouth or Highway 30.                                    10   pretty much down the exit, the suspect vehicle is
11            He went down the off-ramp in the opposite                11   parallel, kind of blocking the entire exit at this point.
12   direction of travel.                                              12            It looked like it was turning around. Officer
13        Q. So he was heading eastbound on a westbound --             13   Key was next to the suspect vehicle driver's door when I
14        A. Off-ramp.                                                 14   was running up to assist.
15        Q. -- exit?                                                  15        Q. I see.
16        A. Yes.                                                      16            All right. So in relation, we --
17        Q. Okay.                                                     17        A. So Highway 95 would have been behind Officer Key
18        A. That is correct.                                          18   as he was facing down the off-ramp.
19        Q. All right.                                                19        Q. Okay.
20            And so it would be the, if you were                      20        A. And the vehicle was pointed north and south,
21   directionally south, it would be --                               21   trying to turn around to go back.
22        A. The left.                                                 22        Q. Is it safe to say that Officer Key's vehicle was
23        Q. -- the first exit on the left?                            23   perpendicular to the Toyota Scion?
24        A. That is correct.                                          24        A. It was in the --
25        Q. After Hammer Store and --                                 25        Q. So he was east/west --
                                                                 37                                                                     39

1        A.   Highway 30.                                              1        A. He was pointed east and west, and the suspect
2        Q.   After the left on Highway 30?                            2 vehicle was pointed north and south, more or less.
3        A.   That is correct.                                         3         Q. Okay. More or less. But not exact?
4        Q.   Okay.                                                    4         A. Yes.
5             And this hill is actually a bridge that goes             5         Q. But not exactly. We are not talking --
6    over the interstate?                                              6         A. I mean, I didn't have a compass, and I didn't
7         A. It is.                                                    7    measure it. But, yes. More or less they were pointed in
8         Q. Is that correct?                                          8    those directions.
9         A. It is. It's the overpass over the interstate.             9         Q. All right. And you mentioned Officer Key's
10        Q. All right. So after this Toyota Scion makes a             10   conduct. Where were you in relation to observing Officer
11   left on a westbound off-ramp, what happens?                       11   Key's conduct of him exiting the vehicle and approaching
12        A. It turned into and did not -- I don't believe it          12   the driver's side of the Toyota Scion?
13   struck it, but it turned into the barrier guiding the             13        A. During the pursuit, when someone takes primary,
14   off-ramp and stopped.                                             14   we try to maintain a safe following distance to the
15            So Officer Key's vehicle stopped, pointed at the         15   primary officer's vehicle so that we are always there to
16   suspect vehicle. Officer Key got out of his vehicle and           16   back them up.
17   approached the suspect vehicle, which was still moving.           17            I was within, I would say within 200 meters of
18   After it initially stopped, it started backing up and             18   Officer Key's vehicle throughout the pursuit from that
19   turning like it was going to head back towards either             19   point. Give or take.
20   Highway 95 or back towards Payette area, is what it               20            I mean, there's also some movement in a pursuit.
21   appeared.                                                         21   And so when he got out of his vehicle and was moving
22            I pulled up next to or behind kind of both, a            22   toward the suspect vehicle, I was parking to get out of
23   little behind and next to Officer Key's vehicle, stopped,         23   my vehicle. So I was within easy eyesight of Officer Key
24   advised Officer Higley to assist Officer Key but not get          24   and the suspect vehicle.
                                                                                                                    PAYETTE-21
25   ran over, as the vehicle was still moving and we were now         25        Q. Okay. And your vehicle, when had you placed it
                                                                 38                                                                     40

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1 in park? Did you place it in park on this westbound                  1         Q. Okay.
2 off-ramp?                                                            2         A. I was at the front fender of the car facing
3         A. I was -- so Officer Key's vehicle was here.               3    southwest.
4    Mine was more or less pointed northwest and southeast.            4             So he was facing in this direction; I was facing
5    So kind of at an angle. But there was still room between          5    in this direction.
6    my vehicle and the off-ramp for a vehicle to fit through.         6             And again, in what we like to call a tactical L,
7    So I was to the north of Officer Key's vehicle when I put         7    as much as I could achieve without being directly in
8    it in park, stopped, put it in park and got out of my             8    front of the vehicle, which was driving forward.
9    vehicle to approach and assist Officer Key.                       9             So I was at the front driver's side fender of
10        Q. Would it be fair to say, and it might be                  10   the suspect vehicle when it was turning toward me to
11   simplifying it, but did you essentially make a V --               11   drive in my direction.
12        A. Yes.                                                      12        Q. I see.
13        Q. -- with Officer Key's vehicle and your own?               13        A. Which it seemed to be the vehicle and the
14        A. That is correct.                                          14   driver's intent.
15        Q. To limit the access back to 95?                           15        Q. Yeah. Well, we'll talk about that.
16        A. Yes.                                                      16        A. Does that answer your question?
17        Q. Okay.                                                     17        Q. It does.
18            And you exited your vehicle; correct?                    18        A. Okay.
19        A. I did, as well as Reserve Officer Higley.                 19        Q. So you were behind Officer Key, but you were
20        Q. And where were you in relation to Officer Key             20   also --
21   when he was approaching the driver's side door --                 21        A. To his left.
22        A. He was at the driver's side door between the              22        Q. -- relatively to his left or to the north of
23   back of the driver's side door and the front fender, in           23   him?
24   that area. He was right up against that vehicle trying            24        A. Yes.
25   to -- he was yelling out orders, as well as trying to             25        Q. I see.
                                                                 41                                                                     43

1 open the door to remove the driver to stop the pursuit.              1            And in relation to the Toyota Scion, you were at
2             The vehicle was moving toward me to point back           2 the driver's side front bumper?
3    out toward Highway 95. He was still facing mostly                 3         A. Yes.
4    northbound, so the only place for me to stand was at the          4         Q. Okay.
5    front fender of the vehicle, which when it was moving             5             And were you armed, and had you deployed your --
6    toward me the entire time backing up and then angling             6         A. My firearm was in my hand and was at a low ready
7    toward me more, so turning more north, trying to turn             7    position, as I was issuing commands to the driver, as
8    more northwest to get itself oriented away and out of the         8    well as Officer Key, to stop, turn off the vehicle, to
9    off-ramp, which I was standing in.                                9    get out of the vehicle.
10        Q. Now, Officer Key, was he to the north or south            10        Q. Okay.
11   of you?                                                           11        A. Those types of commands.
12        A. He was directly in front of where I was facing.           12        Q. Okay. Now let's go back to how you work.
13   I was facing southwest.                                           13            Let's not go back. Let's address how you work
14        Q. Okay.                                                     14   with other officers from Payette County from different
15        A. Or I'm sorry. Southeast.                                  15   jurisdictions.
16            And he was beside the suspect vehicle facing             16            Do you work tactically on these types of
17   northeast, more east than north.                                  17   things?
18        Q. Okay.                                                     18        A. So when there's two officers on a situation, we
19        A. So I could see where he was.                              19   have what we like to call a tactical L. It's so that
20        Q. And so you were directly behind Officer Key, or?          20   there isn't cross-fire between the officers. If there's
21        A. So he was facing a different direction than I             21   a dangerous situation, one officer faced the suspect
22   was.                                                              22   while the other officer to the left or right goes at a
23            If I could show you with my hands, he was                23   90-degree angle to the suspect, so that he has a side
24   facing -- if this is perfect north, he was facing kind of         24   view of the suspect, so that there's two different
                                                                                                                    PAYETTE-22
25   like this, northeast.                                             25   directions for the officers to control, as well as if
                                                                 42                                                                     44

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1 they need to deploy a tool on their belt or a weapon, the            1         Q. All right.
2 other officer should not be harmed by any type of                    2             Now, you were close enough to make observations
3 cross-fire situation.                                                3    as to the occupants of the vehicle; is that correct?
4        Q. Okay. So the officers maintain a clear line of             4         A. Yes, I was.
5 fire?                                                                5         Q. How many occupants were in the vehicle?
6         A. Yes.                                                      6         A. There was one male occupant, adult.
7         Q. From each other?                                          7         Q. And obviously if it was a single male, that was
8         A. Yes. That is our goal every time.                         8    the driver of the vehicle?
9         Q. Now, to the south of this movement are your               9         A. That was. He was in the driver's seat.
10   vehicles; is that correct?                                        10        Q. And can you describe how this driver looked
11        A. So when we were at the suspect door, our                  11   physically?
12   vehicles would have been mostly behind us or west of              12        Q. He was a male, white male with facial hair,
13   where we were on the suspect vehicle.                             13   slightly overweight.
14        Q. Oh. Got you.                                              14            He looked right at me while I was issuing
15        A. Because they were parked here; the suspect                15   commands with my gun drawn, smiled, and continued
16   vehicle was here. We were next to the suspect vehicle.            16   driving. Multiple times.
17        Q. All right.                                                17        Q. All right.
18            And have you done this tactical L or these               18            Now, is the person who was driving the Toyota
19   maneuvers with Officer Key before?                                19   Scion on October 24th of '16 present in court today?
20        A. Yes. I've assisted him on many calls.                     20        A. He is.
21        Q. Okay. Approximately how many times have you?              21        Q. Where is he seated?
22        A. I've assisted lots of officers many, many times.          22        A. He is seated in his wheelchair, wearing blue.
23   At least two dozen times with Officer Key, if I had to            23        Q. Right in front of you?
24   make a guess.                                                     24        A. Right in front of me.
25        Q. Okay.                                                     25        Q. And you mentioned that as you and -- well,
                                                                 45                                                                    47

1         A. I've assisted him many times.                             1 Officer Key was also issuing verbal directions; is that
2         Q. Okay. And at this time as you were out of your            2 correct?
3    vehicle, your firearm drawn and you are establishing this         3         A. Yes. He also removed his baton at one point in
4    tactical L to the north and behind Officer Key, how close         4    an attempt, because the door was locked or it would not
5    were you to the Toyota Scion?                                     5    open for him when he tried the handle, to break the
6         A. If I could, I'd like to answer for what I saw on          6    window to get into the vehicle.
7    Officer Key, because I saw he was right next to the               7         Q. Okay.
8    vehicle, touching it at times with his legs and body.             8         A. I'm not sure how long he did that, but he pulled
9    And when it was turning toward us, I thought he was going         9    it out at one point.
10   to go under the vehicle at one point, because it was              10        Q. And so both you and Officer Key were issuing
11   turning toward him with its wheels turned in our                  11   verbal commands to stop and to exit the vehicle?
12   direction and moving in our direction, and then it moved          12        A. Something I didn't mention with that, if I
13   forward where I was standing. And while that was                  13   might?
14   happening, he was touching the vehicle at certain points,         14        Q. Sure.
15   and I came very close to touching the vehicle and had to          15        A. Reserve Officer Higley had gone towards the rear
16   move to keep from getting struck by the vehicle.                  16   end of the vehicle. And once he got to the other side of
17        Q. I see. Okay.                                              17   Officer Key, I could not see him anymore. So I also had
18            So you are not comfortable answering the                 18   concern for Reserve Officer Higley, because first of all
19   question --                                                       19   I'm responsible for the reserve officer's safety, and I
20        A. So I would --                                             20   did not know where he was.
21        Q. -- because the distance changed?                          21            But I knew the vehicle was backing up as well,
22        A. Yeah. It changed within eight inches, perhaps,            22   which is where Officer Higley was, was somewhere toward
23   and as much as two to three feet away as well. I mean,            23   the rear.
24   there was movement. I was moving; the vehicle was                 24        Q. But at that time did you know where Reserve
                                                                                                                    PAYETTE-23
25   moving.                                                           25   Officer Higley was?
                                                                 46                                                                    48

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1        A. I did not. I lost view of him after that point,            1            So basically trying to turn around and change,
2 as I was focused on the suspect.                                     2 completely change its trajectory or his position of
3         Q. Well, after, if we are going to talk about                3 travel.
4    Officer Higley, when you exited the vehicle, did you              4        Q. So would it be safe to say it would be a
5    provide him any directions?                                       5 multi-point turn?
6         A. I told him to offer support to Officer Key and            6         A. Yes.
7    not get ran over.                                                 7         Q. Forward, reverse, forward, reverse?
8             MR. BISTLINE: Excuse me. Could you -- you                8         A. It took a few times of doing forward, reverse
9    mumbled the last few words there. Could you repeat that?          9    actions to get pointed enough to point out, which is
10            THE WITNESS: I told him to assist, Officer               10   where I was standing. He eventually turned the vehicle
11   Higley, but not get run over as the vehicle was backing           11   toward me to drive away.
12   up and moving forward and we had very limited area.               12        Q. And at this time of the maneuvering of the
13        Q. (BY MR. DOLTON) All right.                                13   vehicle or the multi points to turn around, you and
14            So to clarify, you said you asked him to support         14   Officer Key were yelling commands to the driver?
15   Officer Higley.                                                   15        A. We were.
16        A. I told Officer Higley to support Officer Key.             16        Q. When you mentioned that he smiled or what you
17        Q. Okay.                                                     17   believe is he smiled directly at you, how many times did
18        A. And not get ran over.                                     18   that occur?
19        Q. Okay.                                                     19        A. At least twice.
20        A. I'm not sure if that's the exact wording I used,          20            He didn't really ever frown that I noticed. He
21   but that's the sentiment that was in my head when I was           21   smiled and looked at me while he was driving, at least
22   issuing the commands.                                             22   two times.
23        Q. Okay. So as you were doing this tactical L with           23        Q. All right. So did this Toyota Scion operated by
24   Officer Key, at that time you didn't see and didn't know          24   the defendant you've recently identified, did it
25   where Reserve Officer Higley was?                                 25   eventually begin to drive forward to essentially be west
                                                                 49                                                                    51

1        A. I did not. He was not in my direct line of                 1 to northwest back onto the ramp?
2 sight, which was again southwest, and he would have                  2        A. Yes. Once the vehicle was positioned toward the
3 been --                                                              3 opening between my patrol vehicle, our patrol vehicles
4         Q. All right.                                                4 and the opening left to Highway 95, the vehicle began
5         A. -- somewhere off to my right. I didn't know               5 accelerating.
6    where he was.                                                     6         Q. Okay.
7         Q. So at the time you didn't know where Officer              7         A. Quickly.
8    Higley was?                                                       8         Q. And where were you in relation to it
9         A. I did not.                                                9    accelerating, heading back onto 95?
10        Q. Okay.                                                     10        A. In the position of travel.
11            All right. So the distance was close enough to           11        Q. Okay.
12   see the occupant, see the driver?                                 12            And in response to the vehicle approaching your
13        A. Clearly.                                                  13   direction, what did you do?
14        Q. Identify the driver? At least by his physical             14        A. I attempted to get out of the way of the vehicle
15   characteristics. And you said he smiled?                          15   so I wouldn't get ran over.
16        A. He looked directly at me, or what appeared to be          16        Q. And in your attempt to get out of the vehicle's
17   directly at me. I could see his eyes. I could see his             17   way, which direction did you move?
18   mouth. And smiled as he continued driving in my                   18        A. It would have been southwest.
19   direction.                                                        19        Q. And as you were moving southwest and the vehicle
20        Q. All right.                                                20   was accelerating towards you, what did you hear or see
21            Now, his driving at the time you and Officer Key         21   from Officer Key?
22   were on foot approaching the vehicle, guns drawn, what            22        A. I heard and saw the vehicle flash by. I felt
23   was going on with the Toyota Scion?                               23   the wind from the vehicle's motion on my leg.
24        A. It was backing up and turning forward toward our          24            Officer -- I heard gunshots, which were Officer
                                                                                                                    PAYETTE-24
25   position to point out toward Highway 95 again.                    25   Key, as I was diving away, firing into the vehicle.
                                                                 50                                                                    52

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1        Q. And as you moved out of the way, did you                   1 physically.
2 maintain standing, or did you --                                     2            We approached the vehicle. Officer Higley on
3       A. I believe I dove and just dove and landed on the            3 the right side of the vehicle; Officer Key and I on the
 4 ground. I don't believe I stayed standing.                          4 left side of the vehicle, suspect vehicle, which was
 5          I don't remember 100 percent. I just remembered            5 facing away from us, guns drawn.
 6 diving out of the way to get out of the way as quickly as           6            I announced on gun to notify Officer Key that I
 7 possible.                                                           7 would be maintaining my firearm if any movements need
 8      Q. To the south? So it would be --                             8 taken so that he could take them, as I knew he would be
 9      A. Southwest.                                                  9 affected from the events.
10      Q. -- to your right side?                                      10       Q. So you took the lead once the vehicle was
11      A. Yes.                                                        11 stopped northbound on 95?
12      Q. Okay.                                                       12        A. Yes.
13      A. Or sorry.                                                   13        Q. And you eventually had to physically unrestrain
14          No. I'm right. Southwest.                                  14   and remove the driver from the vehicle; is that
15      Q. Okay.                                                       15   correct?
16          So you dove to your right side. You left your              16        A. That is correct.
17 feet and dove, hit the pavement?                                    17            On approaching the vehicle, when we were at the
18      A. That's what I remember.                                     18   back, behind the center post of the vehicle, just behind
19      Q. Okay.                                                       19   the driver's seat, I could observe the left hand of the
20          At that point did you fear for your life and               20   suspect who was sitting in front of me was clear. I
21 safety?                                                             21   could not see his right hand. I advised Officer Higley,
22      A. Yes, I did. I feared for it throughout most of              22   who was on the right side, to clear his right hand a few
23 that event.                                                         23   times. Officer Key -- Officer Higley. Excuse me.
24      Q. But if you were to specify a particular moment              24            It was cleared, and he said that the right hand
25 where you did fear for your life and safety, at what                25   of the suspect was clear.
                                                                 53                                                                    55

1 point --                                                             1            Officer Key and I believe it was a county
2         A. When I dove out of the way, I was certain I was           2 deputy, I couldn't say exactly which one, because I was
3    going to be struck by the vehicle.                                3 focused on the suspect, cut the seat belt. One of them
4         Q. So after you hit the ground and you heard                 4 cut the seat belt. It was the county deputy that cut the
5    gunshots, what did you do?                                        5 seat belt, I believe. Officer Key reached in, unlocked
6         A. Got up, yelled for Officer Higley to get in the           6 the door, which was still locked, opened it, and together
7    patrol vehicle. We got in our vehicle, turned it around.          7 they removed the suspect from the vehicle, placed him
8    I observed the suspect Scion driving northbound on                8 into handcuffs, and began to administer first aid.
9    Highway 95 on the right side of the road. It was on the           9        Q. Okay. Did you observe any injuries or what
10   median. Or not the median, the right side of the road,            10 appeared to be possible injuries on the driver?
11   off the road a little bit, appeared to be losing control.         11        A. Appeared to be gunshot wounds to the driver.
12            I then, after Officer Higley and myself had got          12            Officer Key was standing next to the driver's
13   in my vehicle, drove, went a little bit wide left to use          13   side door, so the wounds were mostly going from an up to
14   my speed bumper, or my push bumper to hit the suspect             14   downward or right angle through the suspect.
15   vehicle in the back driver's side corner to force it off          15            The suspect was also mumbling things such as I
16   the road.                                                         16   can't say exactly, but they were negative comments about
17            And there was a large sign which I forced it             17   our jobs and us.
18   onto, which stopped the suspect vehicle.                          18        Q. Okay.
19            At that point I put my vehicle in park. Officer          19            And did the officers involved at that point of
20   Higley and I got out of our vehicle. I yelled for                 20   clearing and restraining the driver render medical aid?
21   Officer Higley to stay with my patrol vehicle.                    21        A. They immediately began to render first aid upon
22            We waited for Officer Key. Officer Key got               22   securing of the suspect, Corporal Yates, two county
23   there. We all three could not -- we saw this occupant             23   deputies, and Officer Key initially.
24   leaning slightly right in the driver's seat, was not              24            Officer Key was removed from the first aid, as
                                                                                                                    PAYETTE-25
25   responding verbally that we could hear to our commands or         25   there was plenty of people doing it, due to the stress of
                                                                 54                                                                    56

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1 the events, and backed away from the event with myself.             1        A. They were not able to retrieve video from it,
2         Q. And then paramedics arrived and eventually               2 from this incident.
3    rendered aid as well?                                            3         Q. Okay.
4         A. They did.                                                4             So neither your bodycam nor your dashcam on your
5         Q. Okay.                                                    5    vehicle recorded what occurred during this incident?
6             Now, as part of your equipment, you have                6         A. It only recorded the end of us removing the
7    obviously firearm, other equipment around your utility           7    suspect from the vehicle, approaching the vehicle and
8    belt; is that correct?                                           8    removing the suspect and the first aid given.
9         A. That is correct.                                         9         Q. I see. Okay.
10        Q. And how you appear now, is it close to how you           10            Now, the pursuit, let's talk a little bit more
11   were --                                                          11   about the pursuit.
12        A. It's nearly the same.                                    12            In your opinion as a law enforcement officer, at
13        Q. Okay. So --                                              13   any time during the pursuit was the vehicle traveling in
14        A. Maybe a different shirt, but the patches and the         14   excess of 25 miles an hour of the posted speed limit?
15   badge and the radio, the body camera, my belt with my            15        A. Yes.
16   taser, my baton, my radio, my firearm, my extra                  16        Q. Okay. And particularly at the Vetter Flats
17   magazines, my handcuffs were all still present.                  17   area?
18        Q. All right.                                               18        A. Yes.
19            Now, let's talk about this body camera. Was it          19        Q. Reached approximately 80-plus miles an hour. So
20   activated -- well, let me strike that.                           20   that would be over, 25 over the speed limit, which is 55
21            Your body camera, when does it get activated in         21   on Vetter Flats.
22   regards to any sort of law enforcement activity?                 22            Okay. Officer Branham, I believe those are all
23        A. I activated it once we had pulled up to the              23   of the questions I have at this time.
24   vehicle and had it stopped when I had rammed it off the          24            Thank you.
25   road. I activated it at that point. I had not activated          25        A. Thank you.
                                                                57                                                                     59

1 it earlier.                                                         1            MR. DOLTON: Your witness.
2         Q. So you didn't activate it when you were in your          2            THE COURT: Is your client doing okay? Need a
3    pursuit of this Toyota Scion?                                    3 break?
4         A. I did not.                                               4            MR. BISTLINE: He may have to change positions
5         Q. And you didn't activate it as you exited the             5 every now and then, but otherwise we are fine.
6    vehicle on the off-ramp?                                         6             Thank you, Your Honor.
7         A. I didn't. I was focused on getting to the                7             THE COURT: All right. You may go ahead.
8    vehicle to assist Officer Key.                                   8               CROSS-EXAMINATION OF BEN BRANHAM (OFFICER)
9         Q. And to activate your bodycam, you have to                9    BY MR. BISTLINE:
10   manually do that?                                                10        Q. Officer, just maybe with respect to the cameras.
11        A. That is correct.                                         11   Where does your body camera mount on your body?
12        Q. Okay. It doesn't automatically happen?                   12        A. That's kind of officer discretion with our
13        A. It does not.                                             13   camera. And I'll show you here.
14        Q. Okay. Do you have a camera in your patrol                14            It has a clip that can be turned horizontal or
15   vehicle?                                                         15   sideways. I generally position my body camera to the
16        A. We had at the time, it was a pretty new system           16   right center, right side of my chest.
17   to me. It's called 10-8. We used Watchguard before               17        Q. Okay. Right pretty much between your breasts?
18   this. And as far as I knew, it was working correctly and         18        A. More or less. Slightly lower, generally. But,
19   in working order.                                                19   yes. That's the general area.
20        Q. Okay. And subsequent to this incident, was that          20        Q. And what does it take to activate that camera?
21   confirmed, or?                                                   21        A. I have to physically reach it, grab it, and pull
22        A. That was confirmed. It had been working prior            22   down the front slide of the camera.
23   to this incident. I'm not sure at what point it stopped          23        Q. There's a slide?
24   working prior to this incident.                                  24        A. There is. I can show you here.
                                                                                                                    PAYETTE-26
25        Q. So it was not operational at the time?                   25            You have to, while it's attached to your chest,
                                                                58                                                                     60

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1 pull this down. It then activates. Push it back up to                1 and the safety of the traffic stop.
2 turn off.                                                            2         Q. Okay.
3         Q. Okay. And can you do that while you are wearing           3             So then you went through the whole thing, but
4    it? Can you just reach up there with your hand, right             4    then your camera didn't record anything, but it did start
5    hand, and slap that thing and pull it down?                       5    recording after you ran him off the road into the sign?
6         A. You can.                                                  6         A. No. That was my bodycam.
7         Q. Now, the car camera, if I understand correctly,           7         Q. Oh.
8    you said it was working before you started this                   8         A. My bodycam after I ran him off the road.
9    pursuit?                                                          9             As far as I know as of right now, my vehicle did
10        A. It was working prior to this day. I had not               10   not, my vehicle video did not work throughout the
11   pulled out the -- so to check that it's working with this         11   pursuit.
12   new system -- because it will say recording. It said              12        Q. Okay.
13   recording. I thought it was recording this day. But to            13        A. If I'm wrong, I need to be corrected. As far as
14   actually verify it's recording, you have to turn off the          14   I know, that's the case.
15   car, take out the SD cards, put them into a computer, and         15            MR. BISTLINE: Could I mark a couple of things,
16   review the files that you had recorded previously.                16   Judge?
17            So for some reason, and I do not know why, I             17            THE COURT: Sure.
18   know that there was damage done to the camera after,              18            MR. BISTLINE: These chairs are a little tricky
19   during the investigation of this event, and I had to              19   to move.
20   replace a part. I don't know why that was damaged. I              20            We'll mark this one number one.
21   wasn't involved in that. It was the front clasp. It has           21            THE COURT: It will be Defendant's A.
22   to be -- the front clasp has to be closed and locked for          22            (Defendant's Exhibits A and B marked for
23   it to record.                                                     23             identification.)
24            So it did not record, but it recorded after the          24        Q. (BY MR. BISTLINE) Officer, I'm going to hand
25   event once we replaced that piece.                                25   you what I've marked as Defendant's Exhibit A and ask you
                                                                 61                                                                     63

1            So the only thing I can figure is either it was           1 if from your experience in this neighborhood you can
2 not locked correctly after reviewing this after the event            2 identify the intersection depicted in Exhibit A.
3 and was told it was not working, is it was locked                    3         A. This appears to be the off-ramp at Exit 3 and
4 incorrectly or the piece that locks was damaged, which is            4    the Exit 3 exit of I-84.
5 the only reason I can figure it would be damaged further             5         Q. And now Exhibit B, can you identify what this
6 after the pursuit.                                                   6    is?
7         Q. And what does it take to turn on that car video           7         A. This appears to be the westbound off-ramp at
8    so that it starts?                                                8    Exit 3.
9         A. It automatically activates recording when the             9         Q. And is that where this incident that you've been
10   lights are activated.                                             10   describing occurred?
11        Q. Okay.                                                     11        A. It is.
12            So when you -- in theory when you flipped your           12        Q. Okay. So what I'd like to do, I think you
13   lights on back in --                                              13   testified that when you arrived and got out of your car,
14        A. Vetter Flats.                                             14   Officer Key had already parked his car and was out of his
15        Q. -- Vetter Flats, that camera should have come             15   car.
16   on?                                                               16        A. That is correct.
17        A. That is correct.                                          17        Q. And the Scion was in the act of turning
18        Q. And it has a little light that says it's on               18   around?
19   recording, and you saw that light?                                19        A. So it pulled into the off-ramp, turned
20        A. Okay. So that's down in my center console, the            20   towards -- it would be the north side border or that
21   light for the recording.                                          21   barrier of the off-ramp, stopped, and then began doing
22        Q. Okay.                                                     22   the backing up, moving forward at that point to turn
23        A. I was focused on the pursuit. I knew my                   23   around.
24   overheads were on. I did not look down to verify the              24        Q. Okay. What I'd like to do is get a picture of
                                                                                                                    PAYETTE-27
25   recording light, as I was focused on where I was driving          25   the location of things at the point in time when you
                                                                 62                                                                     64

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1 stepped out of your car.                                             1 the driver's side, which my vehicle was pointed in that
2         A. Okay. I believe I drew a picture that night.              2 direction; his was pointed in that direction.
3    And if you want me to, I can attempt to draw what was             3             Initially the suspect vehicle was pointed -- I'm
4    there.                                                            4    putting arrows at the front of the vehicles to show the
5         Q. Let's draw it on this, so we can kind of see --           5    direction they were more or less pointing.
6         A. I believe I'm going to be using Exhibit B to do           6             I got out of the driver's side of my patrol
7    this drawing. This is going to be an approximation of my          7    vehicle --
8    memory from that event.                                           8         Q. Don't get too far ahead of me.
9         Q. Okay.                                                     9         A. Okay. Go ahead.
10        A. I'm going to put the initial position of the              10        Q. Yeah. Thank you.
11   suspect vehicle, and then I'm going to draw an arrow for          11            Okay. So your distance from the suspect, the
12   the direction of travel it took out of the exit.                  12   Scion, at the time you stepped out of your car was about
13        Q. Okay.                                                     13   what?
14        A. Is that what you are asking me to do?                     14        A. It would have been further than Officer Key's
15        Q. What I want right now is just a picture of your           15   vehicle. So 60 to 70 feet, perhaps. This is an
16   best recollection of where everything was located when            16   estimation.
17   you stepped out of your car.                                      17        Q. Okay.
18        A. Okay. I'm going to put an S on the suspect                18            And how far away were you from Officer Key at
19   vehicle                                                           19   that moment?
20        Q. Okay.                                                     20        A. Let's say 40 to 50 feet approximately.
21        A. I'm going to put an F, the officer from                   21        Q. Okay. And he was downhill of you, down the
22   Fruitland's vehicle.                                              22   ramp?
23            And I'm going to put a P where I positioned my           23        A. Would have been slightly downhill; yes.
24   vehicle to the best of my recollection.                           24        Q. He was -- let me look at something here.
25        Q. Okay. So the suspect is across the ramp.                  25        A. So upon exiting the vehicle, I would have been
                                                                 65                                                                     67

1 Fruitland you are saying is straight down the ramp?                  1 on the driver's side of mine. He would have been most of
2         A. More or less straight down; yes.                          2 the way to the suspect vehicle.
3         Q. That would be Keys?                                       3       Q. Okay. So he was downhill from you, down the
4         A. That is correct.                                           4 ramp?
5         Q. And you are facing sort of to the southeast?               5      A. That is correct.
6         A. Southeast; yes.                                            6      Q. Towards the interstate.
7         Q. And to the left of Fruitland?                              7          And if we had to orient him to your side, he was
8         A. Yes.                                                       8 actually slightly to your right?
9         Q. Okay. And so what do you estimate the distance             9      A. Straight ahead, slightly right.
10   between the front end of the Fruitland vehicle and the            10      Q. Okay.
11   Scion at the time you stepped out of your car?                    11          And the vehicle was moving. At this point it's
12        A. This would be an approximation of -- if I had to          12 going back and forth and trying to turn up along the
13   put it into feet, maybe let's say 50 feet                         13 guard-rail --
14   approximately.                                                    14      A. When Officer Key got out of his vehicle and
15        Q. Okay.                                                     15 started approaching, the vehicle was parking at that
16            And now could you add a one to represent Officer         16 point, stopping so that it could begin its backward
17   Key's position when you got out of the car?                       17 motion.
18        A. He was approximately beside the suspect vehicle           18          From the time of me getting out of my vehicle
19   or on his way to the suspect vehicle.                             19 and beginning to run to support Officer Key, at some
20            You said put a 1? I'm sorry. I put an X. I'll            20 point during that event of a couple seconds, it began to
21   put a 1 next to the X.                                            21 back up and move forward and turn.
22        Q. All right. And then you would have been                   22      Q. Okay.
23   stepping out of the driver's side door of your car at             23          So as the -- moving forward from this diagram,
24   that point; right?                                                24 as this vehicle is going back and forth, attempting to
                                                                                                                  PAYETTE-28
25        A. Yes. I will put a 2 for my side. I was exiting            25 turn, it's attempting to put itself alongside the
                                                                 66                                                                     68

                                                                      65
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1 guard-rail?                                                          1        Q. Were you given a chance to review that statement
2         A. It's going to go between my patrol vehicle and            2 at any point in time?
3    the guard-rail to exit back onto Highway 95.                      3         A. I was.
4         Q. Okay. And was that pretty clear to you, that              4         Q. Did you consider it accurate?
5    that was what he was trying to do?                                5         A. Yes, I do.
6         A. Once I had gotten to the vehicle, it was clear            6         Q. Did you have a chance to change anything or
7    that was happening.                                               7    suggest changes to anything that you didn't think was
8         Q. Okay.                                                     8    accurate?
9         A. Upon exiting my vehicle, right before stopping            9         A. I did.
10   my vehicle, when I had decided that we were going to have         10            MR. BISTLINE: Can we mark this, please?
11   to get out and assist Officer Key, I just knew it had             11            (Defendant's Exhibit C marked for
12   stopped on the off-ramp.                                          12             identification.)
13        Q. Okay.                                                     13        Q. (BY MR. BISTLINE) Okay. I'm going to have you
14        A. It was between the time of me getting out of my           14   look at Exhibit C and ask you, is that, as far as you can
15   vehicle and approaching that I saw it was backing up and          15   tell, a copy of the report that was prepared following
16   moving forward.                                                   16   your meeting with Officer Christensen?
17        Q. He is starting to maneuver to come up the                 17        A. Yes, it is.
18   guard-rail?                                                       18        Q. And to be clear, you've reviewed this?
19        A. That is correct.                                          19        A. I have.
20        Q. Okay. And as you are coming down that hill                20        Q. I'd like to have you look at Paragraphs 24 and
21   towards the vehicle, are you attempting to position               21   25 of this statement.
22   yourself in the path of the vehicle?                              22        A. Paragraph 25? Which sentence?
23        A. No. I was not. I was trying to get to the left            23        Q. Paragraphs 24 and 25.
24   side of Officer Key.                                              24        A. Okay. I'm there.
25        Q. You were already on the left side of Officer              25        Q. Page 3 of 5.
                                                                 69                                                                     71

1 Key, aren't you?                                                     1         A. I am there.
2         A. Yes.                                                      2         Q. Do you see those?
3             When I initially exited my vehicle, again, I was         3             Now, these two paragraphs describe I think what
4    looking straight ahead; he was slightly right. Once I             4    we were just talking about, your exit and what was going
5    started moving toward the vehicle, I had -- and Officer           5    on following your exit.
6    Higley was on the right side and approaching the right            6         A. Yes.
7    side of Officer Key, so I was approaching and staying to          7         Q. Correct?
8    the left of Officer Key.                                          8         A. That is correct.
9         Q. Okay. So you are staying over towards the left            9         Q. So when this vehicle is turned around, as
10   of Officer Key, which moves you towards the guard-rail            10   described in Paragraph 25, and pointed right towards you,
11   from his position?                                                11   you tell, apparently told Officer Christensen that you
12        A. Uh-huh. More or less; yes. I'm closer to the              12   couldn't point your handgun at Grant, because he was
13   guard-rail than Officer Key.                                      13   still behind and to the left of Officer Key.
14        Q. More or less into the path of the Scion as it's           14            And I'm having a hard time understanding that,
15   turning around?                                                   15   because you were still behind and to the left of Officer
16        A. In my initial approach of the vehicle, the Scion          16   Key.
17   was not pointed in my direction. It got pointed in my             17        A. So --
18   direction while I was beside it.                                  18        Q. And what I'm not understanding about that is if
19        Q. Right. But once it's turned around and you say            19   you were behind and to the left, you are closer to the
20   it's directly in front of you, you are to Officer Key's           20   guard-rail and the Scion is pointed directly at you and
21   left already?                                                     21   why that would put you in the position that you
22        A. That is correct.                                          22   couldn't --
23        Q. Do you remember having your statement taken by            23        A. I can explain that very easily.
24   an Officer Christensen from the Idaho State Police?               24            The vehicle was moving toward me. And this was
                                                                                                                    PAYETTE-29
25        A. I do.                                                     25   later in the event of the vehicle turning toward me. I
                                                                 70                                                                     72

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1 was -- at this point the vehicle was pointed enough that             1        Q. -- because you were behind or to the left of
2 I was, instead of beside the vehicle, so on the side of              2 Key?
3 the vehicle, I was to the front and slightly right of the            3         A. For the record, my gun was out. It was at the
4 suspect vehicle, meaning that if I'm looking at you and              4    low ready, which means in transition to a low ready,
5 you are the suspect, Officer Key is right beside you, and            5    instead of pointing right at you, is here.
6 I am at -- can I stand up to show?                                   6         Q. Okay. The reason you didn't bring your gun into
7             THE COURT: Sure.                                         7    full ready was not because you were behind Key and to his
8             MR. BISTLINE: Please.                                    8    left. You were actually, in terms of where the vehicle
9             THE WITNESS: Okay. So you are the suspect                9    was going, you were in front of Key. And you were not
10   sitting in the vehicle. Officer Key is standing right             10   concerned about him being, you being left or right of
11   beside you outside. He'd stay put.                                11   him, you were concerned about the fact that he was right
12        Q. (BY MR. BISTLINE) He is right here? Officer               12   by the vehicle?
13   Key is right here?                                                13        A. I was concerned about the positioning of the
14        A. He is right there.                                        14   vehicle, Officer Key, and the closeness of the suspect
15        Q. Okay.                                                     15   and the fellow officer.
16        A. You are right here.                                       16        Q. Okay.
17        Q. And I'm pointing right at you?                            17        A. And to my view, Officer Key was facing away from
18        A. And the vehicle was still at an angle.                    18   me more or less. I mean, he was more faced away than
19        Q. I see.                                                    19   toward me. I was to the left and behind of him, because
20        A. Slightly.                                                 20   I saw his back and side rather than his face.
21        Q. Uh-huh.                                                   21        Q. Okay.
22        A. Because I'm at the front quarter-panel of the             22            So then you say that, as in your statement here,
23   suspect vehicle.                                                  23   apparently that as the Scion was turning around, you
24        Q. So that would move you up here, wouldn't it?              24   stepped back and attempted to aim your handgun at Grant.
25        A. Negative.                                                 25            So that's one step away from the guard-rail?
                                                                 73                                                                     75

1         Q. If Key is standing at the door --                         1        A. So stepped back. So if I'm facing the suspect,
2         A. He is standing at the door.                               2 I stepped backwards.
3         Q. He is here?                                               3         Q. So more clearance between you and the vehicle?
4         A. I was left of him, but the vehicle was                    4         A. That's correct.
5    slanted.                                                          5         Q. Okay. And then you took another step back as
6         Q. But if you are at the front quarter-panel, you            6    Grant began to speed up, which way is back in this
7    are clear up here; aren't you?                                    7    instance?
8         A. So, yes, if I was looking at directions of                8         A. If I'm staring at the vehicle, I was stepping to
9    distance, it would be approximately this far.                     9    the northwest.
10        Q. Okay. And here is Officer Key?                            10        Q. Okay.
11        A. Yes.                                                      11            And --
12        Q. And you couldn't point your gun at me?                    12        A. Probably more west than north.
13        A. I did not feel safe doing so, because both                13        Q. And you took that step back because you were in
14   things are moving: The vehicle is moving. Officer Key             14   the path of the vehicle?
15   was moving towards the vehicle and away from the vehicle,         15        A. That's correct.
16   and at any point if I engaged my firearm with that                16        Q. So you remained in the path of the vehicle?
17   vehicle in between us, that bullet's trajectory will              17        A. That's correct.
18   change when it passes through, and I do not want to aim           18        Q. And then in the next paragraph, Paragraph 27, it
19   my gun --                                                         19   says Grant then sped up and drove away; right?
20        Q. Okay. So --                                               20        A. Yes.
21        A. -- in order to have a chance of firing my weapon          21        Q. So at this point you have moved from the
22   at ( inaudible).                                                  22   quarter-panel of the vehicle, two steps back to your --
23        Q. Okay. But your reasoning for not getting your             23   maybe 10 feet maximum away from the front of the
24   gun out was not --                                                24   vehicle?
                                                                                                                    PAYETTE-30
25        A. My gun was out.                                           25        A. Perhaps.
                                                                 74                                                                     76

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1         Q. Okay.                                                     1 more curiosity. You use meters when most of the rest of
2             And at that point is when he starts to                   2 us use yards and feet.
3    accelerate, like he is moving up the ramp?                        3         A. I can explain that.
4         A. Yes.                                                      4             I'm in the military, and military uses meters.
5         Q. And it says here he stepped to the right just             5         Q. Oh, okay.
6    prior to the shooting, which would also be just prior to          6         A. It's kind of engrained.
7    the vehicle coming past you; correct?                             7         Q. All right.
8         A. Yes.                                                      8             It sounded to me in your description of what
9         Q. It doesn't say anything here about diving, does           9    we'll call the pursuit, that there were some vehicles
10   it?                                                               10   coming towards you and some vehicles going the same
11        A. No.                                                       11   direction, but that everybody was yielding to the police
12        Q. Did the driver of the Scion ever manipulate that          12   lights as you were moving along --
13   vehicle in a way that wasn't the most reasonable and              13        A. Except for Mr. Grant.
14   efficient way for him to get out of there?                        14        Q. -- following this car?
15        A. Can you rephrase the question? I don't think I            15        A. Yes.
16   understand it.                                                    16        Q. Okay.
17        Q. Sure. Did the Scion ever do anything that                 17            So I'd like to go back to Exhibit B. And I'll
18   suggested it was doing anything more than trying to get           18   try to understand this concept of a tactical L.
19   out of there?                                                     19        A. I can draw in the white margin if you'd like.
20        A. I'm not sure how to answer that question.                 20        Q. Well, I guess what I'd like you to do is maybe
21            The vehicle was driving exactly as I described.          21   put a little box for at the time you are working to set
22   There was people in its path. It drove at the people.             22   up your tactical L, a little box for Officer Key, who is
23            Are you asking me if it was just trying to exit          23   number one here, but also put a little box where he was
24   the ramp or if it was trying to hurt people?                      24   and then a little asterisk for number two, you, so that I
25        Q. Did it ever do anything which wasn't consistent           25   can see what this tactical L is supposed to look like.
                                                                 77                                                                     79

1 with trying to exit the ramp?                                        1         A. You want a box for Officer Key?
2            MR. DOLTON: Objection. Speculation, Your                  2         Q. Yeah, a box.
3 Honor.                                                               3         A. I'm going to put the direction that he was
4             MR. BISTLINE: He has got observations.                   4    facing as well with an arrow.
5             THE WITNESS: My observations --                          5             And then you want an asterisk, which is a five
6             THE COURT: Just a minute.                                6    pointed star?
7             THE WITNESS: Sorry.                                      7         Q. For you.
8             THE COURT: The objection is overruled.                   8         A. For me?
9             You may answer the question.                             9         Q. An asterisk is six points.
10            THE WITNESS: Okay.                                       10        A. Six points.
11            From my perspective, the vehicle was trying to           11            THE COURT: Maybe it's seven.
12   position itself to leave the ramp.                                12            THE WITNESS: Well, there's something on this
13        Q. (BY MR. BISTLINE) Okay. Did it ever swerve                13   paper that might look like an asterisk.
14   toward you?                                                       14            MR. BISTLINE: Okay.
15        A. I was -- before it pointed directly at me, it             15            THE WITNESS: With my direction I was facing.
16   continued moving toward me.                                       16            MR. BISTLINE: All right.
17        Q. Okay.                                                     17        Q. (BY MR. BISTLINE) Okay. So the tactical L at
18        A. In the forward direction at my position and               18   the time you were setting up this tactical L, was the
19   drove forward before I was clear of its front bumper.             19   Scion still across, or was it making its --
20        Q. But when you started to move out of its way, it           20        A. It was foot faced, in that I would have been at
21   didn't swerve towards you, did it?                                21   the front quarter panel of the vehicle, and he would have
22        A. I can't say consistently yes or no to that, as I          22   been beside it.
23   was trying to get out of the way of the vehicle, and that         23            So I was as far forward as I could be
24   was my focus at that point.                                       24   reasonably.
                                                                                                                    PAYETTE-31
25        Q. It's curious to me. This is really probably               25        Q. And the vehicle was no longer across the exit
                                                                 78                                                                     80

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1 ramp but --                                                          1             May I approach?
2         A. It was changing directions to point in my                 2             THE COURT: Yes.
3    direction.                                                        3             REDIRECT EXAMINATION OF BEN BRANHAM (OFFICER)
4         Q. Okay.                                                     4    BY MR. DOLTON:
5         A. So from the beginning to the end, I stayed                5         Q. All right. Officer Branham, Exhibits A and B,
6    mostly to the front quarter-panel of the suspect vehicle,         6    are the conditions the same on Exhibits A and B as they
7    which was the closest I could get to a tactical L without         7    were --
8    getting underneath the front bumper.                              8         A. No. They are not.
9         Q. Okay. When you got down into the position of              9         Q. Okay. How is that?
10   that, you are at here in this tactical L, this little, I          10        A. It's day. We were there at night when it was
11   guess that's the asterisk, and you are facing down the            11   dark, very dark.
12   off-ramp, was the Scion 90 percent of the way around, 50          12        Q. And so the light that was available at the time
13   percent of the way around?                                        13   of the incidence, where would the light be emitted
14            We consider around as the turn it made from              14   from?
15   across the ramp to up the ramp.                                   15        A. The moon, what little there was.
16        A. I would say that was the final position. So               16            I'm not sure exactly what size the moon was, but
17   right before it went straight ahead.                              17   it was fairly dark. And our headlights were the only
18        Q. Okay.                                                     18   thing providing light.
19        A. So it was still facing the barrier a little bit.          19        Q. Okay.
20   It had to continue its turn to get straight in my memory,         20        A. We might have had a flashlight out. I don't
21   or it would have scraped or hit the barrier.                      21   recall exactly if I had a flashlight at that point. I
22            How much turning it did, I'm not 100-percent             22   don't think I had one in my hand at that point.
23   sure, because I was getting out of the way and more               23        Q. And any sort of light resonating from either
24   focused on not getting hit.                                       24   the --
25        Q. Okay. And you say I think at some point that as           25        A. The lights and sirens of our vehicles were
                                                                 81                                                                     83

1 the vehicle went by you, you felt it go by you?                      1 going. So we had red, blue, and white light, all
2         A. I felt the air. Like when something goes by you           2 strobing. The white lights from our headlights, the red
3    fairly quickly you feel movement, air, whatever you want          3 and blue from our overhead lights, the light from -- I
4    to call it, I have a memory of feeling that; yes.                 4 believe there was a one of those lights that's over the
5         Q. And when you are at that point, do you recall             5 street. Sorry. A streetlight there as well.
6    where Officer Key was?                                            6            I could see the vehicle clearly. I could see
7         A. Again, this is when he was firing his weapon.             7 the suspect once I was up to the vehicle.
8    He was still beside the driver's window for the most              8         Q. Okay. Now I want to draw your attention back to
9    part, which is where the shots were fired from, and again         9    your statement to Officer Christensen.
10   which is while I was moving away from the vehicle to get          10            Were you ever asked how you avoided being
11   out of its path. So I wasn't staring at Officer Key. I            11   struck?
12   was looking at the vehicle and moving away quickly.               12        A. They asked me to recount the events, and they
13        Q. Okay.                                                     13   asked clarifying questions.
14            I have no other questions. Thank you, Officer.           14        Q. Were any of those clarifying questions, did they
15            THE COURT: Mr. Bistline, what would you like to          15   pertain to how you got out of the way of the Scion?
16   do with these three exhibits?                                     16        A. I don't recall a specific question clarifying my
17            MR. BISTLINE: Well, I'd like to admit them.              17   events of that event.
18            THE COURT: Any objection?                                18        Q. Okay.
19            MR. DOLTON: No objection. But I will be                  19        A. I just got out of the way.
20   inquiring further about them, just for clarification.             20        Q. And then you stated under cross that the Scion
21            THE COURT: Well, Defendant's Exhibits A, B, and          21   had to turn further to straighten to get back up the
22   C are admitted.                                                   22   ramp?
23            (Defendant's Exhibits A, B, and C admitted.)             23        A. Yes.
24            THE COURT: You may redirect.                             24        Q. And in what direction did it have to turn to
                                                                                                                    PAYETTE-32
25            MR. DOLTON: Thank you, Your Honor.                       25   correct to go straight?
                                                                 82                                                                     84

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1        A. Towards me, or it would have been north and                1 your position?
2 west.                                                                2         A. Negative. I don't believe he could see me.
3         Q. Okay. Would that essentially be left, if you              3             Again, he was focused on not getting -- he had
4    were driving the Scion?                                           4    to move himself and did move to keep from going
5         A. Yes.                                                      5    underneath the vehicle. Because again, it was moving in
6         Q. Okay. So left and then -- correct, to go up the           6    my direction, but it was also moving left, or would have
7    ramp?                                                             7    been mostly west, as well as trying to straighten more
8         A. Yes.                                                      8    north. So had he not moved while that was going on, the
9         Q. Okay.                                                     9    vehicle was covering ground he was on as well, so.
10            And you said it was in your direction. What do           10        Q. It's possible that if he did move, he would have
11   you mean by that?                                                 11   been under the rear tires?
12        A. If I had not moved when it drove forward, I               12        A. It would have been the front tire.
13   would have gotten ran over.                                       13            I thought he was going underneath. Because
14        Q. Okay. Now, about your position. You seem to               14   again, he was at the driver's side door. So he was much
15   emphasize that your position was based upon supporting            15   closer to the front tires than the back. And while it
16   Officer Key rather than obstructing the vehicle.                  16   was moving, those tires were angled forward and left, so
17        A. Yes. I wasn't going to leave Officer Key alone            17   I thought he was going to go underneath that portion of
18   to deal with a dangerous suspect.                                 18   the car, between the tire and the front door.
19        Q. As you were positioning yourself in relation to           19        Q. Okay. And that was prior to you taking action
20   Officer Key, did you also factor in the possibilities of          20   to avoid --
21   the vehicle's direction?                                          21        A. Yes.
22        A. Yes, but I couldn't leave --                              22        Q. -- being struck?
23        Q. Sure.                                                     23            All right. And for clarification, where were
24            And is it a law enforcement policy to try to             24   you when you heard the shots being fired?
25   physically obstruct with the human body, a vehicle?               25        A. I was moving to get out of the line of sight.
                                                                 85                                                                    87

1         A. No.                                                       1 It was while the vehicle had started its final movement
2         Q. Okay. And what is the policy if you are in the            2 forward that the shots were fired. I was attempting to
3    direction of the vehicle?                                         3 get out of the way of the vehicle.
4         A. If you can get out of the way safely, do so. Or           4        Q. Okay. So that was before you changed positions
5    if it's threatening your person or life and it clearly            5 in relation to the car?
6    knows you are there, that you have the legal means to use         6        A. Yes. It was right almost at the same time as I
7    deadly force.                                                     7 started to move the shots rang out.
8         Q. But you didn't have the means. You had your gun           8         Q. Okay.
9    positioned at a low ready; right?                                 9         A. It was almost simultaneously.
10        A. I knew in my head that I had the legal means to           10        Q. Okay.
11   use deadly force, but I was not willing to injure Officer         11            MR. DOLTON: No further questions.
12   Key. I would much rather have myself get injured than             12            THE COURT: Any other questions, Mr. Bistline?
13   injure a fellow officer.                                          13            MR. BISTLINE: I need to look at something.
14        Q. So as you were at the low ready and the vehicle           14            I think just one question, officer.
15   was coming towards you, you didn't raise the weapon. You          15            RE-CROSS-EXAMINATION OF BEN BRANHAM (OFFICER)
16   chose to --                                                       16   BY MR. BISTLINE:
17        A. I may have raised it at one point. I remember             17        Q. As we look at Exhibit B, as this vehicle is
18   thinking I'm going to have to shoot this suspect or get           18   turning around, is in the process of turning around and
19   ran over. But I was not comfortable doing so with                 19   Officer Key is moving from position one to the square,
20   Officer Key that close to the suspect and the angle I             20   where the square is --
21   had, so I chose to try to get out of the way with the             21        A. That is not an accurate representation of where
22   little time I had.                                                22   he ended up. I just didn't want to put it super close to
23        Q. Now, in your position behind Officer Key,                 23   the other one.
24   besides yelling verbal commands along with Officer Key,           24            Basically -- I'll try to explain this.
                                                                                                                    PAYETTE-33
25   was there any communication you had with (inaudible) to           25            From my initial position, I had to move more or
                                                                 86                                                                    88

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1 less backwards of my position. So this would have been              1        A. So it still had to move in his direction, a
2 kind of in the direction of this yellow line.                       2 little bit in that direction.
3         Q. Right.                                                   3             Would it have hit him? At that point when it
4         A. And then a little toward my patrol vehicle. So           4    drove toward me in that event, probably not.
5    that would be --                                                 5         Q. But by the time it's driving forward towards
6         Q. To your right?                                           6    you, it's straightened out, isn't it?
7         A. A little bit right.                                      7         A. Again, it was aimed still at the barrier. It
8             And he would have had to move less, because he          8    still had to turn. It just had enough movement and
9    was more at the center point of the car. So he probably          9    enough positioning to turn as it moved forward so it
10   had to move backwards a little bit.                              10   didn't have to back up anymore.
11        Q. Okay. But as he's in those positions --                  11        Q. Okay. And at that point Officer Key is standing
12        A. Yes.                                                     12   alongside of it?
13        Q. -- signified by the one in the box and in that           13        A. He is at the driver's side door.
14   general area?                                                    14        Q. Okay.
15        A. In that general area; yes.                               15            MR. BISTLINE: I have no other questions.
16        Q. Is there anything behind him that keeps him from         16            THE COURT: May I see the exhibits?
17   getting out of the way of the vehicle?                           17            MR. DOLTON: Your Honor, we'll retain Officer
18        A. Just him trying to stop the person from leading          18   Branham for the present time, in case we need to re-call
19   us on a further pursuit.                                         19   him.
20        Q. Okay.                                                    20            THE COURT: I may have a question.
21        A. And putting other people in danger.                      21            MR. DOLTON: Oh. Sorry.
22        Q. Okay.                                                    22            THE COURT: I'm going to hand you Exhibit B,
23            And then also, as you are in the position               23   Officer.
24   getting out of your car and moving down to the front of          24            THE WITNESS: Yes, Your Honor.
25   the vehicle and then backing away from the vehicle, was          25            THE COURT: There's some kind of material that I
                                                                89                                                                    91

1 there anything that kept you from stepping out of the               1 can't tell what it is.
2 way?                                                                2            This would be as you are coming off the off-ramp
3         A. Only my training in law enforcement not to leave         3 on the right side. So it would be along the north, I
4    an officer behind in a dangerous circumstance.                   4 believe the north and south area. Is that -- is it a
5         Q. But by the time you are stepping back, the               5 metal barrier?
6    vehicle is already turned around and pointed straight at         6            THE WITNESS: It is a metal guard-rail with the
7    you; correct?                                                    7 wood posts and the metal guiding.
8         A. This happened over the seconds of the event.             8             THE COURT: And how far does that extend past
9    This didn't happen immediately.                                  9    the white line?
10        Q. I understand. But as you are stepping back from          10            I guess is that the stop line?
11   that vehicle, it's pointed straight at you?                      11            THE WITNESS: Stop line of the exit ramp.
12        A. So again, I was at the front quarter-panel. So           12            Again, this is a car. So a car is
13   straight at me? I wasn't at the center of the vehicle.           13   approximately, let's say, 20 feet. Approximation. I
14        Q. Okay. You were at the --                                 14   don't know which car that is, but we'll say --
15        A. I was at the edge. The vehicle was still in              15            THE COURT: It goes around the corner.
16   front of me. Part of the vehicle was in front of me.             16            THE WITNESS: It does. It goes until --
17        Q. And Officer Key was also out of the way?                 17   basically at the point where the hill gets kind of steep
18        A. He is at the side of the vehicle.                        18   or the overpass is where it kind of starts more or less.
19        Q. Right.                                                   19   So it's about 200 to 300 feet after the curve.
20            So if the vehicle moves straight forward, it's          20            THE COURT: This is my question: What was the
21   not going to touch Officer Key, is it?                           21   clearance between that guard-rail and your vehicle at the
22        A. Again, it wasn't pointed perfectly. It still             22   time you said Mr. Grant had straightened out and was
23   was pointed partially at the barrier. It had to turn             23   going towards you?
24   further to avoid the barrier.                                    24            THE WITNESS: Approximately two car widths,
                                                                                                                   PAYETTE-34
25        Q. Okay.                                                    25   maybe a little more. Perhaps two-and-a-half car
                                                                90                                                                    92

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1 widths.                                                              1            Were there any vehicles that were just
2            THE COURT: And car width is?                              2 essentially parked on the off-ramp at the time that you
3            And what would a car width -- how many meters is          3 were --
4 that?                                                                4         A. Not that I recall.
5             THE WITNESS: We'll say a meter and a half.               5         Q. Okay.
6             A meter is approximately six feet. So we'll say          6             MR. DOLTON: That's all I have, Your Honor.
7    seven feet is a car width.                                        7             THE COURT: Okay.
8             THE COURT: One meter is six feet?                        8             Mr. Bistline, re-recross?
9             THE WITNESS: Three feet.                                 9             MR. BISTLINE: Yeah.
10            Sorry. Thank you.                                        10          RE-RE-CROSS EXAMINATION OF BEN BRANHAM (OFFICER)
11            Again, I haven't slept in a while. I worked all          11   BY MR. BISTLINE:
12   last night.                                                       12        Q. Just to be clear, a vehicle coming up that
13            So, yes. A meter is a little over three feet.            13   off-ramp would have seen all of these lights flashing?
14   A yard is three feet, more or less.                               14        A. Oh, yes.
15            THE COURT: Thirty-nine something inches per              15        Q. And they would have also been decelerating
16   meter.                                                            16   because they were entering, approaching an
17            THE WITNESS: Yes.                                        17   intersection?
18            And so probably two meters about for one car             18        A. I would hope so.
19   width.                                                            19        Q. And there's a stop sign at that intersection?
20            Again, this is a car facing you.                         20        A. There is.
21            So two trucks --                                         21        Q. Okay.
22            THE COURT: So you think two car widths, four             22            MR. BISTLINE: I have no other questions.
23   meters of distance between your vehicle and this                  23            THE COURT: Okay. Thank you.
24   guard-rail?                                                       24            You are subject to re-call.
25            THE WITNESS: I would assume at least that much.          25            THE WITNESS: I understand, Your Honor. I'll
                                                                 93                                                                   95

1            THE COURT: That's -- well, I have one other               1 remain here.
2 question.                                                            2            THE COURT: And you are not to discuss any of
3             THE WITNESS: Yes, Your Honor.                            3 your testimony with any of the other witnesses.
4             THE COURT: Was there any other traffic on the            4             THE WITNESS: I understand, Your Honor.
5    off-ramp during this event?                                       5             THE COURT: Thank you very much.
6             THE WITNESS: During the time we were on the              6             MR. BISTLINE: Your Honor, I'm not going to have
7    off-ramp, there was no vehicles that drove up to where we         7    any further examination. I covered all of my points.
8    were at and stopped. That I remember.                             8             THE COURT: Okay.
9             THE COURT: Did you see anybody stop on the               9             MR. BISTLINE: Since he's been up all night,
10   interstate, or?                                                   10   maybe he'd like to go.
11            THE WITNESS: I was faced -- I was faced on the           11            THE WITNESS: I can wait for whatever is needed.
12   car. I wasn't looking at the interstate. I really                 12   It's fine.
13   didn't pay attention to the interstate or the traffic             13            MR. DOLTON: We'll have him wait just a little
14   behind me on Highway 95.                                          14   bit longer.
15            I heard vehicles, so potentially a vehicle or            15            We are going to call Officer Higley up, and I
16   two passed us while this was going on behind us on 95.            16   anticipate after Officer Higley's testimony (inaudible).
17            I did not look at the interstate. I was focused          17            THE WITNESS: I'm more than capable of staying
18   on the suspect vehicle.                                           18   awake.
19            THE COURT: In light of my questions, does the            19            THE COURT: Can you go take a nap?
20   State have any other questions?                                   20            We can't even give you the jury room. They have
21            MR. DOLTON: Redirect.                                    21   got a trial going on.
22           RE-REDIRECT EXAMINATION OF BEN BRANHAM (0FFICER)          22            THE WITNESS: I'll be okay.
23   BY MR. DOLTON:                                                    23            Thank you, Your Honor.
24        Q. In regards to traffic on Interstate 84, you               24            THE COURT: Okay. We are going to take -- how
                                                                                                                    PAYETTE-35
25   didn't have any recollection or weren't focusing on it.           25   much of a recess would you like, Mr. Bistline, at this
                                                                 94                                                                   96

                                                                      93
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1 point?                                                              1         Q. And are you permitted to carry firearms?
2            MR. BISTLINE: Doesn't matter to me.                      2         A. Yes.
3            THE COURT: Ten minutes? Fifteen minutes?                 3         Q. Okay. Are you trained in firearms with law
4            Let's come back at 11:25.                                4    enforcement?
5            MR. BISTLINE: You have the exhibits?                     5         A. Yes.
6            THE COURT: We have got them all.                         6         Q. Do you go to POST to get that training, or do
7            MR. DOLTON: And they are admitted, too, Your             7    you get it within the department?
8 Honor?                                                              8         A. With the firearms instructor within the
9             THE COURT: Yeah.                                        9    department.
10            Court is in recess.                                     10        Q. Okay. And how long have you been a -- what
11            (Brief recess was taken.)                               11   level of reserve officer are you?
12            THE COURT: We are reconvening in case 2017-660,         12        A. Level II.
13   State of Idaho versus David Michael Grant.                       13        Q. And how long have you been a Level II reserve
14            Mr. Dolton, if you'd like to call your next             14   with Payette City?
15   witness.                                                         15        A. Just a little over two years.
16            MR. DOLTON: Thank you, Your Honor.                      16        Q. Okay. And is Level I higher or lower than Level
17            State calls Duane Higley.                               17   II?
18            THE COURT: Come up here. The clerk will put             18        A. Higher.
19   you under oath.                                                  19        Q. Okay.
20            (Witness sworn.)                                        20            And so is it safe to say that your duties as a
21            THE COURT: Mr. Higley, if you'd like to have a          21   Level II reserve officer with Payette City Police
22   seat in that chair.                                              22   Department are to assist, accompany patrol officers while
23            MR. DOLTON: May I proceed, Your Honor?                  23   they are on duty?
24            THE COURT: You may.                                     24        A. Yes.
25            MR. DOLTON: Thank you.                                  25        Q. And so you don't actively write citations or
                                                                97                                                                     99

1             DIRECT EXAMINATION OF DUANE HIGLEY (OFFICER)            1 conduct criminal investigations; correct?
2 BY MR. DOLTON:                                                      2         A. Correct.
3         Q. Can you please state your name, spell your last          3         Q. Okay.
4    name for the record.                                             4             And I want to draw your attention to October
5         A. Duane Charles Higley, H-i-g-l-e-y.                       5    25th or October 24th, in the early morning hours of
6         Q. All right.                                               6    October 25th, 2016.
7             And Mr. Higley, how are you involved with the           7             Are you ready?
8    Payette City Police Department?                                  8         A. Yes.
9         A. I'm a reserve police officer.                            9         Q. All right. Do you recall whether you were
10        Q. And as a reserve police officer, what does that          10   acting as a Level II reserve officer at that time?
11   consist of?                                                      11        A. Yes, I was.
12        A. You go through training and become a Level II            12        Q. Okay. And who were you -- what patrol officer
13   Reserve, and then you have to work at least 10 hours a           13   were you assisting?
14   week -- or 10 hours a month, every month.                        14        A. Officer Branham.
15        Q. Okay. Now what responsibilities does a reserve           15        Q. Okay.
16   officer have at the Fruitland Police Department?                 16            And were you with him during his whole shift?
17        A. The Payette Police Department?                           17        A. From the start of his shift until the time of
18        Q. Yes, Payette.                                            18   the incident.
19            Thank you.                                              19        Q. Okay. So when did you start your shift with
20        A. Just to assist an officer.                               20   Officer Branham?
21            You always have to ride with an officer, and            21        A. 9:00 p.m.
22   then you assist and help out in any way that they need           22        Q. All right. And you concluded your shift at what
23   your help.                                                       23   time?
24            Usually you cover in the other side of a                24        A. After we got done, about 5:00 a.m.
                                                                                                                   PAYETTE-36
25   vehicle.                                                         25        Q. Okay. And so we keep bouncing around.
                                                                98                                                                 100

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1            After you got done and whatnot, did you                1 vehicle.
2 participate with Officer Branham in a pursuit of a 2013           2            Where did you go?
3 black Toyota Scion, or Scion?                                     3        A. I started to go around the suspect's vehicle to
4         A. Yes.                                                   4   cover the side of the door on the other side, because we
5         Q. And you were a passenger in Officer Branham's          5   didn't know if there were more than one person in the
6    patrol vehicle; correct?                                       6   vehicle.
7         A. Yes.                                                   7            And as I started to go around it, the vehicle
8         Q. And at that time you were following a vehicle          8   went in reverse and came towards me.
9    with some assistance from other law enforcement agencies       9        Q. Okay.
10   in the area?                                                  10        A. Tried to run me over.
11        A. Yes.                                                  11            MR. BISTLINE: Objection. Foundation.
12        Q. Okay.                                                 12            THE COURT: Yep.
13        A. Not at first.                                         13            MR. BISTLINE: Move to strike.
14        Q. Sure. Sure.                                           14            MR. DOLTON: Withdraw, Your Honor.
15            And what was the basis for the pursuit of this       15            THE COURT: Okay.
16   2013 Toyota Scion?                                            16            THE WITNESS: It came towards me --
17        A. The vehicle passed us and ran a stop sign.            17            THE COURT: And that answer is stricken.
18            Stoplight. Excuse me. A stoplight.                   18            MR. DOLTON: Hold on. Hold on.
19        Q. All right.                                            19            THE WITNESS: Came toward me, and then I --
20            And did Officer Branham activate his lights?         20            THE COURT: Just a minute.
21        A. Yes.                                                  21            You have to wait until I'm through.
22        Q. Do you know at what point he did so?                  22            THE WITNESS: I apologize.
23        A. Right after the vehicle ran the stoplight on --       23            THE COURT: So that answer is stricken.
24   right there at Vetter and 95.                                 24            Go ahead, Mr. Dolton.
25        Q. Okay. And did Officer Branham employ his sirens       25            MR. DOLTON: Okay. Thank you, Your Honor.
                                                            101                                                                    103

1 as well?                                                          1       Q. (BY MR. DOLTON) So when you say you went
2         A. Yes.                                                   2 around, can you give us some directions as to north,
3         Q. Was that at the same time, before, or after his        3 south, east, west as you exited Officer Branham's
4    lights?                                                        4 vehicle?
5         A. Same time, I would say.                                5        A. I headed east to go around the suspect's vehicle
6         Q. Okay. And this pursuit, did it occur in Payette        6   to cover the passenger side door.
7    County, State of Idaho?                                        7        Q. Okay.
8         A. Yes.                                                   8        A. As I started to go around it, the vehicle was in
9         Q. And did it conclude at Exit 3 on Highway 95 and        9   reverse and came toward me, and then I jumped back behind
10   Interstate 84?                                                10   the patrolcar that I was in.
11        A. Yes.                                                  11        Q. So as you exited Officer Branham's vehicle, did
12        Q. Okay. Let's draw your attention to Exit 3.            12   you receive any instruction from Officer Branham?
13            At that time did Officer Key kind of take over       13        A. Before he told me that it was going to be a
14   the pursuit?                                                  14   felony take-down and so I needed to have my weapon drawn
15        A. Before that, as we were leaving Fruitland.            15   and keep my eye on the passenger, cover the passenger
16        Q. Okay. But he was in the lead?                         16   side.
17        A. Yes.                                                  17        Q. Okay.
18        Q. All right.                                            18            And as you approached this vehicle on the
19            And then after taking lead, the vehicle stopped      19   off-ramp, Exit 3 off-ramp, who exited first, you or
20   at an off-ramp entering Interstate 84; is that correct?       20   Officer Branham?
21        A. Yes.                                                  21        A. The same time, I would say.
22        Q. Did you exit the vehicle along with the other         22        Q. All right.
23   officers?                                                     23            And as you were going eastward toward the
24        A. Yes.                                                  24   vehicle, did you pass any other vehicles?
                                                                                                                PAYETTE-37
25        Q. Okay. So let's talk about when you exited the         25        A. No.
                                                            102                                                                    104

                                                                  101
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1        Q. Okay. Now, did Officer Key, he had his own                  1 backtracked from where you came?
2 vehicle as well?                                                      2        A. Correct.
3         A. Yes.                                                       3        Q. What happened in regards to Officer Branham and
4         Q. And where was it in relation to you as you were            4   Officer Key? What did you observe?
5    approaching the suspect vehicle?                                   5        A. I did not observe. I know that they were there,
6         A. I don't recall.                                            6   because I was watching the side of the vehicle that I was
7         Q. Okay.                                                      7   supposed to be watching.
8             When you came near the Toyota Scion, how was it           8        Q. Okay.
9    positioned?                                                        9        A. So exactly what happened over there, I couldn't
10        A. It was sideways on the road.                              10   tell you.
11        Q. Okay. And so directionally, where was it                  11        Q. Okay. When you approached the vehicle, you
12   facing?                                                           12   mentioned you had your firearm at ready?
13        A. Facing north.                                             13        A. Correct.
14        Q. Okay. So the rear was to the south?                       14        Q. Did you have any other things in your possession
15        A. Correct.                                                  15   in your hands?
16        Q. And how far did you get around the Scion before           16        A. No.
17   it started to move?                                               17        Q. Okay. Now, your firearm. Is it equipped with a
18        A. I was behind the Scion.                                   18   flashlight?
19        Q. Okay. And so behind. You mean the rear of the             19        A. No.
20   vehicle?                                                          20        Q. How would you describe the light in the area
21        A. Correct.                                                  21   that you were approaching the vehicle from?
22        Q. And what was behind you?                                  22        A. There was a streetlight right there. So the
23        A. What was behind me?                                       23   lighting was good.
24        Q. Yes.                                                      24        Q. Okay. Now, this happened around midnight on the
25        A. Guard-rail on the other side of the road.                 25   24th?
                                                                105                                                                 107

1         Q. Okay.                                                      1        A. Correct.
2             And then what did the vehicle do at that time?            2        Q. Or 25th.
3         A. It started to drive in reverse towards me.                 3            It was dark outside?
4         Q. All right. And what action did you take in                 4        A. Yes.
5    response to it?                                                    5        Q. Were there shadows that you were in and out of
6         A. I jumped back the way I came behind the patrol             6   as you were approaching the vehicle?
7    vehicle.                                                           7        A. I do not recall.
8         Q. Okay. So would that be to the west or to the               8        Q. Okay. As you are approaching the vehicle to get
9    northwest?                                                         9   around to the passenger side, did you see Officer Branham
10        A. To the west.                                              10   or Officer Key?
11        Q. Okay. Did you provide any verbal commands to              11        A. Out of the corner of my eye; yes.
12   the driver of this vehicle?                                       12        Q. Okay.
13        A. I was yelling, "Stop the vehicle."                        13        A. But my focus was on the passenger side.
14        Q. And as you were approaching the vehicle from the          14        Q. Sure. Okay.
15   rear, did you hear any commands from either Officer               15            When the vehicle was put into reverse and was
16   Branham or Officer Key?                                           16   heading your direction, when you got out of the way, how
17        A. Similar commands, stop and to get out of the              17   did you do so?
18   vehicle.                                                          18        A. Quickly.
19        Q. Okay.                                                     19        Q. Okay. That's good. Good response.
20            And were you able to get around on the passenger         20            As far as did you maintain on your feet? Did
21   side of the Scion?                                                21   you stay on your feet?
22        A. No.                                                       22        A. Yes.
23        Q. Okay.                                                     23        Q. Okay. How did you get out of the way? Did you
24            After the vehicle was in reverse heading towards         24   lunge, step, jump?
                                                                                                                    PAYETTE-38
25   you and you went what would be westbound, westward or             25        A. I moved in -- backwards, quickly.
                                                                106                                                                 108

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1         Q. Okay.                                                      1 the right?
2         A. So kind of backwards ran.                                  2            THE COURT: Record will reflect that.
3         Q. Okay.                                                      3            MR. DOLTON: Thank you, Your Honor.
4             And then after the vehicle moved and you moved            4        Q. (BY MR. DOLTON) And the driver of the vehicle
5    in response to it, did you have any further observations,          5   was eventually removed from the vehicle, restrained, and
6    not visual, but maybe auditorially?                                6   rendered aid; is that correct?
7         A. I heard gunshots, and I did not know who was               7        A. Correct.
8    shooting.                                                          8        Q. Now, you mentioned this streetlight, or this
9         Q. Okay. And were there any visual obstructions in            9   light above the road. Where was it located in relation
10   your way to where you thought Officer Branham and Key             10   to you as you approached the Scion?
11   were?                                                             11        A. I don't know.
12        A. When I heard gunshots, I ducked. And so the               12        Q. Okay. Was your path to the Scion illuminated
13   vehicle, the patrolcar was between me and the incident.           13   from this light?
14        Q. Okay. So you ducked.                                      14        A. Yes.
15            Is it safe to say you ducked behind the                  15        Q. Okay. When you say you don't know, is that like
16   vehicle?                                                          16   you don't exactly know where it is?
17        A. Yes, when I heard gunshots.                               17            Are you comfortable giving an estimate as to
18        Q. Okay. And then after you heard the gunshots,              18   where that light could be?
19   what happened?                                                    19        A. I'm thinking there was one behind me and one in
20        A. Officer Branham told me to get back in the                20   front of me.
21   vehicle, because the car took off.                                21        Q. I see.
22        Q. Okay. And you complied?                                   22        A. But I could be wrong. I didn't check out the
23        A. Yes.                                                      23   location of the lights.
24        Q. And did you assist Officer Branham in stopping            24        Q. Sure.
25   this vehicle?                                                     25            When you were in the vehicle during the pursuit
                                                                109                                                                  111

1        A. Yeah. I was in the passenger seat while he                  1 with Officer Branham, were you able to make any
2 stopped the vehicle.                                                  2 observations as to Officer Branham's speed of the vehicle
3         Q. Okay. And then after the vehicle stopped, did              3 you were in?
4    you exit the vehicle again?                                        4       A. Like, I noticed that we were speeding up and
5         A. Yes.                                                       5 slowing down. I think we got as fast as 80, 80 miles an
6         Q. And then what did you do when you exited the               6 hour.
7    vehicle?                                                           7       Q. And you have no training as to the estimates of
8         A. I drew my weapon and covered the passenger side            8 speed for purposes of patrol?
9    of the vehicle.                                                    9        A. Correct.
10            And this time I had my flashlight out so that I          10        Q. Okay. I believe that's all the questions I have
11   could look into the vehicle and see if there was any              11   at present.
12   weapons or anything.                                              12            Thank you, Officer.
13        Q. Okay. And the driver of the vehicle, did you              13            THE COURT: Okay. Thank you.
14   see him?                                                          14            Mr. Bistline?
15        A. Yes.                                                      15            CROSS-EXAMINATION OF DUANE HIGLEY (OFFICER)
16        Q. Okay. Could you identify him from your                    16   BY MR. BISTLINE:
17   observations on the 24th today?                                   17        Q. Okay. So do you know of an intersection called
18        A. Yes.                                                      18   the Y, where apparently 16 comes into, basically Highway
19        Q. Okay. Is he present in the courtroom?                     19   95 comes into Business 95?
20        A. Yes.                                                      20        A. Yes.
21        Q. And where is he?                                          21        Q. And where in relation to that Y were you when
22        A. He is seated right there.                                 22   the light was run?
23            MR. DOLTON: Okay. And may the record show he             23        A. We were stopped at the light.
24   is pointing in the direction of the defendant that is             24        Q. Okay. And which lane were you in there?
                                                                                                                    PAYETTE-39
25   essentially right in front of the witness, slightly to            25        A. We were in the right lane.
                                                                110                                                                  112

                                                                      109
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1        Q. So that would have, if you had stayed on the             1        Q. Across the ramp and pointed toward the orchard
2 right lane, you'd have gone northwest on Business 95,              2 that's out there towards the north and east?
3 northeast on Business 95?                                          3        A. Yes.
4        A.   No.                                                    4        Q. Okay. So when you got out of the patrol vehicle
5        Q.   Okay.                                                  5   you were in, what was the Scion doing at the point it
6        A.   You cannot take a right turn there.                    6   stopped to the point where you would jump out?
7        Q.   Okay. So you are forced left.                          7        A. At the point that I jumped out?
8             You would have gone down towards the freeway?          8        Q. Uh-huh.
9         A. Correct.                                                9        A. It was -- I believe it was stopped.
10        Q. Okay.                                                  10        Q. And in what position?
11            That evening immediately prior to this                11        A. It was -- when I got out, I would say it was
12   encounter, first encounter with the Scion, were you            12   headed, pointed north.
13   looking for anything in particular, or were you guys just      13        Q. Okay. And relative to the ramp itself, what
14   cruising?                                                      14   position was it in?
15        A. We were patrolling for suspicious                      15        A. Perpendicular.
16   circumstances.                                                 16        Q. Okay.
17        Q. Okay. So there wasn't any particular suspicious        17            And what was its first move as you got out? Was
18   circumstance that you were aware of?                           18   it backwards or forwards?
19        A. No. We just...                                         19        A. I -- it didn't move until I started to go
20        Q. Okay.                                                  20   around.
21            So the Scion turns down the off-ramp, followed        21        Q. And that first move then was backwards?
22   how closely by Officer Key?                                    22        A. Backwards.
23        A. I don't recall.                                        23        Q. So your goal was to get around the vehicle to
24        Q. Okay. And then followed how closely by you and         24   get to the passenger side?
25   Officer Branham?                                               25        A. Correct.
                                                             113                                                                  115

1         A. I don't recall.                                         1        Q. And when the vehicle backed up, you abandoned
2         Q. Okay.                                                   2 the attempt to go around it and just focused on the
3             From the time when you pulled in, which side of        3 passenger side from where you were?
4    Officer Key did you and Officer Branham go?                     4        A. I avoided being hit. And, yes. I got out of
5         A. I don't recall. I went to the right when I got          5 the way to avoid being hit, and I still focused on the
6    out of the vehicle.                                             6 side that I was told to focus on.
7         Q. Okay. You don't recall where the vehicles were          7        Q. Okay. And by then you'd ascertained there
8    located with respect to each other?                             8 didn't appear to be anybody in the passenger seat; hadn't
9         A. I believe we were parked to the right of Officer        9 you?
10   Key.                                                           10        A. I did not know.
11        Q. Okay. And in terms of how far away was Officer         11        Q. Did you ever see anybody in the passenger
12   Key from the guard-rail that would have been to his left       12   seat?
13   or front?                                                      13        A. No.
14        A. I would say 10 yards.                                  14        Q. Okay. Could you see the passenger side of the
15        Q. Okay.                                                  15   vehicle?
16            And that's the space that the Scion ultimately        16        A. Yeah.
17   went through?                                                  17        Q. Okay. How far back did the vehicle move when it
18        A. Yes.                                                   18   moved backwards?
19        Q. Do you remember which direction Officer Key's          19        A. I don't recall.
20   vehicle was pointed?                                           20        Q. How far was it from the back of the vehicle to
21        A. I believe it was pointed, slanted, I would say         21   the fog line on what would be the south side of the
22   northeast direction.                                           22   on-ramp?
23        Q. Okay. So relative to the ramp itself, was it           23        A. I don't recall. I was still watching the
24   pointed kind of across the ramp?                               24   passenger side.
                                                                                                                 PAYETTE-40
25        A. It was slanted at an angle.                            25        Q. Okay. And was there anything which obstructed
                                                             114                                                                  116

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1 your movement away from the vehicle when it started to             1       A. The first time, or after they made the
2 back up?                                                           2 corrections?
3        A. No.                                                      3        Q. The first time.
4        Q. Was it at a dead stop when it started to back            4        A. Probably about 10 days.
5 up?                                                                5        Q. Okay. So you gave the report, and then about 10
6         A. Yes.                                                    6   days later you had a chance to -- or gave the interview,
7         Q. Do you recall being interviewed by Officer Ici,         7   and about 10 days later you had your chance to review
8    icky (phonetic), of the Idaho State Police, or a Matthew        8   Exhibit D?
9    Sly?                                                            9        A. Correct.
10        A. Yes.                                                   10        Q. Did you make some corrections?
11        Q. And did you ever see the report that they filed        11        A. Yes.
12   respective to that interview?                                  12        Q. Okay. And then did you get to review the report
13        A. Yes.                                                   13   again after making those corrections?
14        Q. Did you have an opportunity to review it and           14        A. No.
15   make any corrections or suggestions?                           15        Q. Okay. Did they accept your corrections, or do
16        A. Yes.                                                   16   you know?
17            MR. BISTLINE: If I could mark this. I guess we        17        A. Yes.
18   are up to D. That's Exhibit E to be marked.                    18        Q. And if I'm understanding your testimony
19            (Defendant's Exhibits D and E marked for              19   correctly, once you got out of the way of the vehicle and
20             identification.)                                     20   positioned yourself by the front of your patrol vehicle,
21        Q. (BY MR. BISTLINE) Officer, I'm going to hand           21   from that point on you were really focused on what you
22   you what has been marked for identification purposes as        22   could see, could or could not see in the passenger
23   Defendant's Exhibit D and ask you if that appears to be        23   seat?
24   the report that you reviewed that was prepared by the          24        A. Correct.
25   Idaho State Police?                                            25        Q. You didn't see what the vehicle did with respect
                                                             117                                                                 119

1         A. Yes.                                                    1 to the officers, the other officers?
2             MR. BISTLINE: Move for the admission.                  2       A. Well, I know that the vehicle moved forward
3             THE COURT: Any objection?                              3 after it had backed up.
4             MR. DOLTON: No, Your Honor.                            4        Q. Okay.
5             THE COURT: Exhibit D is admitted.                      5        A. Because it was between me and me watching the
6             (Defendant's Exhibit D admitted.)                      6   passenger side.
7         Q. (BY MR. BISTLINE) So in filing this, in being           7        Q. Did it move backward and forward more than
8    interviewed, was it your goal to make certain that you          8   once?
9    reported everything that you thought was important to the       9        A. I don't recall.
10   officer from the Idaho State Police?                           10        Q. So when you guys got back in the patrolcar and
11        A. Yes.                                                   11   chased the Scion down the road, did you have any trouble
12        Q. And this occurred, as I understand it, within          12   catching it?
13   three or four days of the incident; is that correct, this      13        A. No.
14   interview?                                                     14        Q. Did it go off the road because you guys got on
15        A. Yes.                                                   15   it and pushed it off the road?
16        Q. In fact, it might have occurred -- when did it         16        A. Yes.
17   occur? Was it the next day or the same night?                  17            MR. BISTLINE: I have no other questions.
18        A. It was the same night. The next morning.               18            THE COURT: Any redirect?
19        Q. Okay.                                                  19            MR. DOLTON: Slight, Your Honor.
20            And had you had a chance by the time you were         20            REDIRECT EXAMINATION OF DUANE HIGLEY (OFFICER)
21   interviewed to calm down and collect your thoughts?            21   BY MR. DOLTON:
22        A. I don't know.                                          22        Q. Now, these questions, this report of your
23        Q. Okay. And how long after you gave this                 23   statement that's Exhibit Delta for the defense, was it
24   interview did you have your opportunity to review the          24   essentially a spontaneous statement you provided, or was
                                                                                                                  PAYETTE-41
25   report?                                                        25   it aided by questions asked by the investigating
                                                             118                                                                 120

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1 officer?                                                           1           THE WITNESS: No.
2         A. Both.                                                   2           THE COURT: Okay. That's the only question I
3         Q. Okay. And are there questions that are being            3 had.
4    asked today that are different than the questions that          4            Do you have any questions there, Counsel?
5    were asked of you by the investigator?                          5            MR. DOLTON: I believe with the answer, it's a
6         A. Yes.                                                    6   no, Your Honor.
7         Q. So they are different?                                  7            MR. BISTLINE: Well, because I don't live here,
8         A. Yes.                                                    8   is the Gayway junction where 30 comes in? Am I
9         Q. Okay. And your statement pertains to, from the          9   remembering that right?
10   initial point of the stoplight on Business 95 and Highway      10            THE COURT: It's the Whitley and 16, the road
11   95, all the way up to the point of rendering aid to the        11   that goes over to Ontario. It's not the interstate.
12   driver of the Scion; is that correct?                          12            MR. BISTLINE: Okay.
13        A. A little before and a little after that too.           13            THE COURT: The one right in the middle of
14        Q. Okay. All right.                                       14   Fruitland.
15            And we haven't asked you about that full              15            MR. BISTLINE: Yeah. Okay.
16   spectrum of questions today, have we?                          16            Thanks.
17        A. Correct.                                               17            No further questions.
18        Q. Okay. Now, you paused a little bit as to when          18            THE COURT: All right. May this witness be
19   you were interviewed by the State Police a couple days         19   excused?
20   after the incident as to whether or not you had collected      20            MR. DOLTON: Yes, Your Honor.
21   yourself to give a statement.                                  21            MR. BISTLINE: Yes.
22            Do you recall that?                                   22            MR. DOLTON: And we move to excuse Officer
23        A. Yes.                                                   23   Branham as well.
24        Q. Are your thoughts collected today?                     24            THE COURT: Okay.
25        A. I'm nervous.                                           25            MR. BISTLINE: No objection.
                                                             121                                                                   123

1         Q. Okay.                                                   1           MR. DOLTON: We have one final witness, Your
2         A. This is my first time ever in a courtroom, so.          2 Honor.
3         Q. Okay.                                                   3            THE COURT: You want to get started with that
4             But are your thoughts collected today?                 4   before lunch and if it goes a long time we can take a
5         A. Yes.                                                    5   break, or do you want to wait and start it this
6         Q. You have a clear idea of the incident and your          6   afternoon?
7    perceptions of that incident?                                   7            MR. DOLTON: I can proceed, Your Honor.
8         A. Yes.                                                    8            THE COURT: What's your preference and your
9         Q. Okay.                                                   9   client's preference, Mr. Bistline?
10            Is it safe to say that this incident, even            10            MR. BISTLINE: Okay. We can go on.
11   though it occurred close to a year ago, still has a            11            THE COURT: All right.
12   traumatic impact upon you and your ability to answer           12            If you'd like to call your next witness.
13   questions today?                                               13            (Witness sworn.)
14        A. Yes.                                                   14            THE COURT: You may have a seat.
15        Q. Thank you.                                             15            And then you may proceed, Mr. Dolton.
16            MR. DOLTON: Nothing further.                          16            MR. DOLTON: Thank you.
17            THE COURT: Mr. Bistline?                              17            DIRECT EXAMINATION OF BENJAMIN KEY (OFFICER)
18            MR. BISTLINE: No questions.                           18   BY MR. DOLTON:
19            THE COURT: I have one question.                       19        Q. Want a different chair?
20            Mr. Higley, you know what I'm referring to when       20        A. Yeah.
21   I talk about the Gayway junction.                              21            No. They are good.
22            THE WITNESS: Yes.                                     22        Q. We can switch it out.
23            THE COURT: Do you recall what color the traffic       23        A. It's fine.
24   light was at the time the Scion approached that                24        Q. You sure? You might be there for a while.
                                                                                                                 PAYETTE-42
25   intersection?                                                  25        A. It's okay.
                                                             122                                                                   124

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1        Q. Can you please state your name, spell your last            1        Q. What was your shift at that time?
2 name for the record.                                                 2        A. It was a graveyard shift.
3         A. Benjamin Key. Spelling of the last is K-e-y.              3        Q. Okay. And graveyard shift with Fruitland PD is
4         Q. And Mr. Key, are you a law enforcement officer            4   from what hours to what hours?
5    with the Fruitland City Police Department?                        5        A. 2100 to 07.
6         A. Yes, I am.                                                6        Q. Okay. And so your shift would go into the
7         Q. And how long have you been with Fruitland                 7   following day?
8    City?                                                             8        A. Yes.
9         A. Almost 10 years.                                          9        Q. So go into the 25th of October of '16?
10        Q. Prior to the 10 years with Fruitland City, do            10        A. Yes, it would.
11   you have prior law enforcement experience?                       11        Q. Okay.
12        A. No.                                                      12            Now, as an officer of Fruitland PD, does your
13        Q. And in the 10 years with Fruitland Police, have          13   jurisdiction only pertain to the city limits of
14   you gone to POST?                                                14   Fruitland, or elsewhere?
15        A. Yes, I have.                                             15        A. My jurisdiction pertains to the City of
16        Q. Okay. And what certification do you hold with            16   Fruitland; however, I am also deputized with the Payette
17   POST?                                                            17   County Sheriff's Office.
18        A. Currently I hold an intermediate certificate.            18        Q. Okay. So you can either assist or to continue
19        Q. So you got your basic and then received your             19   to pursue criminal investigations out of Fruitland, go
20   intermediate?                                                    20   into the county?
21        A. Yes.                                                     21        A. Yes.
22        Q. And what is your current rank with Fruitland             22        Q. Okay.
23   City Police?                                                     23            So on that graveyard shift between October
24        A. Sergeant.                                                24   24th/25th of 2016, did you receive a request from Officer
25        Q. And when did you become a sergeant with                  25   Ben Branham with Payette City Police to assist in a
                                                               125                                                                 127

1 Fruitland?                                                           1 pursuit of a 2013 black Toyota Scion, or Scion?
2         A. I believe it was February of this year.                   2        A. Yes.
3         Q. Okay. And what are your -- prior to being a               3        Q. And upon that request, what did you do?
4    sergeant, were you a patrol officer?                              4        A. I attempted to get to a place where I could set
5         A. Yes.                                                      5   up our spike strips, a tire deflation device.
6         Q. What are your duties as a patrol officer with             6        Q. And where and in what direction was Officer
7    Fruitland PD?                                                     7   Branham's pursuit occurring?
8         A. Protect the citizens and property in Fruitland,           8        A. It had started somewhere in the Payette area and
9    investigate crimes, also canine officer. So they deploy           9   was traveling southbound on Highway 95.
10   canines around vehicles when needed.                             10        Q. Okay. So essentially going through your city?
11        Q. Okay. And by to protect the public and the               11        A. Yes.
12   residents of Fruitland City, is that to enforce the city,        12        Q. Okay.
13   county, state, and federal laws of our country?                  13            And did you deploy these said spike strips?
14        A. Yes.                                                     14        A. Yes, I did.
15        Q. Okay.                                                    15        Q. Okay. And where did you deploy them?
16            Now, Sergeant, I want to direct your attention          16        A. It's a complex we refer to as Centennial Plaza.
17   to October 24, 2016.                                             17   It's near the intersection of Northwest 16th Street and
18            Do you recall that date in question?                    18   Highway 95.
19        A. Yes, I do.                                               19        Q. And that's commonly referred to by old residents
20        Q. Okay. Were you on duty?                                  20   of Payette County as Gayway Junction?
21        A. I was.                                                   21        A. Yeah.
22        Q. Were you in uniform?                                     22        Q. Okay. And where in that area were the spike
23        A. Yes, I was.                                              23   strips deployed?
24        Q. And on patrol?                                           24        A. It would be on the north, northwestern corner of
                                                                                                                   PAYETTE-43
25        A. Yes.                                                     25   the intersection.
                                                               126                                                                 128

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1            There is a business that used to be here called           1 vehicle, you identified that vehicle by the plates and
2 The Salsa Grill. I don't know what the exact address is,             2 the color?
3 but I was near that parking lot there.                               3        A. Yeah. I couldn't really see the color and the
4        Q. And to the north is kind of like an ATV repair             4   plates of the vehicle at night at that time. It was more
5 and salvage?                                                         5   identified by the fact that Officer Branham was pursuing
6        A. It would have been south of that location, but             6   that vehicle.
7 yes.                                                                 7        Q. Okay. And so when you say Officer Branham was
8         Q. Okay.                                                     8   pursuing the vehicle, how did you know that?
9             All right. So Centennial Plaza, is that where            9        A. Lights and siren.
10   the old pink bowling alley used to be and now it's called        10        Q. And so the vehicle right in front of him you
11   a strip mall?                                                    11   presumed was the vehicle being pursued?
12        A. Yes.                                                     12        A. Yes.
13        Q. All right.                                               13        Q. I see.
14            And those strips, what lane of the southbound           14            And then you deployed the strips?
15   traffic were the strips deployed?                                15        A. Yes.
16        A. Way I deploy them is I put them out into the             16        Q. Okay. And did those strips have an affect upon
17   median, and then I drag the rope across as the vehicle           17   the vehicle?
18   comes closer. So I'm not sure exactly what lane they             18        A. I'm not sure if they actually did. I believe
19   were in at the time.                                             19   that I heard the vehicle hit the strips. So I had called
20        Q. Okay.                                                    20   a good spike at that point to notify Officer Branham that
21            Oh, I see. So the strip isn't laid out in both          21   I believed he had hit the spikes.
22   lanes but is kind of set. There was a trigger, and then          22        Q. Okay. And then what did the vehicle do after
23   you pull it?                                                     23   proceeding past the strip of spikes?
24        A. Yes, because if there's other traffic, you don't         24        A. It continued southbound on Highway 95.
25   want to catch a vehicle not involved, so you try to pull         25        Q. And what did you do as a result?
                                                               129                                                                  131

1 them out at the last minute so you only get the suspect              1       A. I had started to gather my spike strips up to
2 vehicle.                                                             2 put them back in my vehicle when I realized that there
3         Q. Okay. Got you.                                            3 was another officer in the pursuit with Officer Branham.
4             And how long after you got these strips ready            4 At that time rather than trying to collect the strips and
5    for deployment did this vehicle described by Officer              5 get all of the spring and everything back up, I threw
6    Branham approach?                                                 6 them off the road into a pile of bushes, and I got back
7         A. Oh, it wasn't long. I'm not sure of the exact             7 in my car and tried to catch up to the pursuit.
8    time, though.                                                     8        Q. All right.
9         Q. Okay. What information did you have from                  9            Now, is there a policy amongst the
10   Officer Branham prior to deploying the strips that you           10   jurisdictional agencies in Payette County as to when
11   had to assist him?                                               11   primary pursuit changes hands?
12        A. Basically that he was just in pursuit with a             12        A. Not that I'm aware of; no.
13   vehicle.                                                         13        Q. Okay.
14        Q. And was the vehicle description provided by              14            All right. So did you give chase as well to
15   Officer Branham?                                                 15   this vehicle?
16        A. I believe he said it was a black, black vehicle.         16        A. Yes.
17   And I remember him saying it had Kootenai County                 17        Q. All right. And was there a time where you took
18   plates.                                                          18   lead in pursuing the vehicle?
19        Q. And the distinguishing part of Kootenai County           19        A. Yes.
20   plates is there's a K on the license plates.                     20        Q. And when did that occur?
21        A. Yes.                                                     21        A. I believe it was around southwest Second Street.
22        Q. Typically.                                               22   Officer Branham had asked me to take over the pursuit I
23            Okay. Just as in Payette we have a 1P.                  23   believe because he wasn't familiar with the area.
24        A. Yes.                                                     24        Q. Okay. Were you able at any time during the
                                                                                                                   PAYETTE-44
25        Q. Okay. And so based upon the description of the           25   pursuit to estimate speeds of the vehicle you were
                                                               130                                                                  132

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1 pursuing?                                                          1       Q. Okay. And as you are approaching the city
2         A. At that point I just took over pursuing the             2 limits or the city center of Fruitland, is there another
3    vehicle, being the lead vehicle in the pursuit, and I           3 change of speed?
4    believe Officer Branham was calling the pursuit at that         4       A. No. It remains 45 until you've actually exited
5    point.                                                          5 the city limits of Fruitland.
6         Q. Okay. Were you able to check to see what speed          6        Q. Okay. So the S curve is 45?
7    you were going as you were pursuing the vehicle?                7        A. Yep, the S curve is 45 miles an hour.
8         A. I don't recall if I did.                                8        Q. And then after you are still heading southbound
9             Can I reference my report?                             9   on 95 out of Fruitland, it changes to 55?
10        Q. Your report as in the State Police report?             10        A. Yes.
11        A. Yes.                                                   11        Q. At around North Pennsylvania?
12        Q. Okay. Do you have a copy with you?                     12        A. Yeah. It's past North Pennsylvania. It's
13        A. Yes, I do.                                             13   closer to Northwest Second Avenue.
14        Q. All right. If it would refresh your                    14        Q. And the pursuit, how did the pursuit end?
15   recollection, please take a look at it.                        15        A. The pursuit end?
16            When you are done, let me know.                       16        Q. Yes.
17        A. I don't see anything in my report that indicated       17        A. The vehicle started to go eastbound on the
18   speed.                                                         18   westbound off-ramp. It had turned around. We thought
19        Q. Okay. And so you were basing your pursuit              19   that it was stopping. We started to do a felony stop,
20   trusting in Officer Branham's information?                     20   and then it started moving again.
21        A. Yes.                                                   21            I tried to position my vehicle to keep it from
22        Q. Okay. When you were involved in the pursuit in         22   going anywhere else.
23   the lead, do you recall any other vehicles going               23        Q. So how did you position your vehicle to prevent
24   northbound or in your same direction?                          24   it from going anywhere else?
25        A. Involved in the pursuit, or absent the pursuit?        25        A. Well, at the time that I thought that we were
                                                             133                                                                   135

1         Q. Well, just standard motorists in the area.              1 making a felony stop, I was behind the vehicle. As the
2         A. I don't.                                                2 vehicle started to move again, I moved my vehicle to keep
3         Q. Okay.                                                   3 it from being able to move up, back up the off-ramp.
4             And so where did the pursuit go? What areas in         4           My vehicle would have been not necessarily
5    the county did the pursuit continue while you were              5 perpendicular to the off-ramp, but it was getting close
6    involved in it?                                                 6 to blocking traffic.
7         A. It continued southbound through Fruitland               7       Q. And as you were positioning your patrol vehicle,
8    through an area that we refer to it as the S curves.            8 what was the position of this vehicle you were pursuing,
9    It's a bendy stretch in Highway 95 before you leave the         9 this Scion?
10   Fruitland City limit, and then it opens up into -- it's a      10       A. It was attempting to turn back up the off-ramp
11   straight stretch that's approximately two to three miles       11 and travel back westbound.
12   long coming up to Interstate 84 at Exit 3.                     12       Q. Okay. So prior to stopping and maneuvering your
13        Q. And from the period that you deployed the spike        13 vehicle as this pursuing vehicle, I'll refer to it as a
14   strips to the exit ramps to the interstate, do the speed       14 Scion, what did it do once it went or was heading
15   limits vary in those areas?                                    15 eastbound on a westbound freeway exit?
16        A. Yes.                                                   16        A. I'm sorry. Can you repeat that?
17        Q. And so from the time of the spike strip, what          17        Q. Yeah.
18   was the speed limit there?                                     18            So what did the Scion do after it exited onto
19        A. At the time of the spike strips, it was 35 miles       19   this westbound exit to the interstate? What were its
20   an hour.                                                       20   movements?
21        Q. Okay. And when does it change heading                  21        A. Well, it initially stopped, then it started to
22   southbound through Fruitland?                                  22   turn to the -- it would have been to the north to turn
23        A. Approximately it's on the south side of that           23   and come back up the off-ramp.
24   intersection. I don't know how many feet that would be,        24            I moved my vehicle to stop it from being able to
                                                                                                                 PAYETTE-45
25   but it changes to 45 from there.                               25   move back up the off-ramp, and then the vehicle started
                                                             134                                                                   136

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1 to make a series of forward and backward movements in an           1 officer, another officer would be in line to form almost
2 attempt to be able to move past my vehicle.                        2 an L between the three of them to give you two different
3         Q. Okay. And after you had positioned your                 3 angles, basically where neither one of you is in the line
4    vehicle, I presume you parked it?                               4 of fire of the other one.
5         A. Yes.                                                    5        Q. Okay.
6         Q. And did you exit your vehicle?                          6            And so did you visually see Officer Branham
7         A. I did.                                                  7   outside of his vehicle as you were approaching this
8         Q. And as you exited your vehicle, what did you            8   Scion?
9    do?                                                             9        A. Yes.
10        A. I had my gun out at that point. I was screaming        10        Q. Okay. So would that require you to turn around
11   commands to the driver to stop, to put his hands up. You       11   to look or something else?
12   know, to basically stop all movement at that point.            12        A. It would have been as I was getting out of my
13            The driver continued to move back and forth on        13   vehicle.
14   the roadway, forward and backward, trying to move around       14        Q. Okay. You looked back as you were exiting your
15   my vehicle.                                                    15   vehicle?
16        Q. And where were Officer Branham -- where was            16        A. Yes.
17   Officer Branham at this time?                                  17        Q. Would that be fair to say?
18        A. I believed Officer Branham was behind me to it         18        A. Yeah. Once I approached the suspect vehicle, I
19   would have been to the left of my location.                    19   was focused on the suspect vehicle.
20        Q. Okay. Now, when the vehicle exited onto that           20        Q. Sure.
21   off-ramp, where was Officer Branham as you were                21            Did you have any communications with Officer
22   continuing to pursue this vehicle on the off-ramp?             22   Branham as you were approaching the vehicle?
23        A. He was behind me.                                      23        A. No. I don't believe so.
24        Q. Approximately how far?                                 24        Q. Okay. You mentioned that you were providing
25        A. I'm not sure.                                          25   verbal commands to the driver of the vehicle.
                                                             137                                                                  139

1        Q. Okay. When you exited your vehicle, how did you          1        A. Yes.
2 know if at all Officer Branham exited his vehicle?                 2        Q. Was anyone else providing commands to the
3         A. I had actually observed Officer Branham at one          3   vehicle?
4    point when we were screaming commands, and then I lost          4        A. Yes.
5    track of him.                                                   5        Q. Who?
6         Q. When you observed Officer Branham after exiting         6        A. I believe Officer Branham was.
7    your vehicle, was he out of his vehicle as well?                7        Q. Okay. Based upon those commands, were you able
8         A. Yes.                                                    8   to make an estimate as to his location?
9         Q. All right.                                              9        A. That's part of the reason I believed he was to
10            And did you -- at what side of your -- where did      10   the left of me.
11   you see him in proportion to where you were when you were      11        Q. Okay. Now, so Officer Branham is to the left of
12   both outside of your vehicles?                                 12   you; you were in the middle.
13        A. To the left of me.                                     13            Where were you as you were approaching this
14        Q. Okay.                                                  14   Scion in relation to the Scion?
15            Is there any pertinence in your training and          15        A. On the driver's side door.
16   experience of having an officer to the left of you?            16        Q. Okay.
17        A. Well, to the left or the right wouldn't                17            As you were approaching the vehicle, closing
18   necessarily. It would depend on the situation.                 18   distance to it, what was the vehicle doing?
19            I would say it would more depend on a situation       19        A. It was still maneuvering to move back up the
20   like that is you don't want to be in the other officer's       20   off-ramp.
21   line of fire in a situation where if you were having to        21        Q. Okay. Do you recall whether the driver's side
22   use deadly force, you wouldn't want to put the other           22   window was up or down?
23   officer between you and the suspect.                           23        A. It was up.
24            They call it a tactical L, where we train them        24        Q. Okay.
                                                                                                                 PAYETTE-46
25   that basically if you had the suspect in front of one          25            As the vehicle was continuing to move, did you
                                                             138                                                                  140

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1 approach it to attempt to open the door?                           1 correct?
2         A. I did.                                                  2        A. I don't.
3         Q. Okay. As you were approaching the door, what if         3        Q. Okay. So you don't know, then. You wouldn't
4    any commands were you giving?                                   4   know how many times it moved forward to correct?
5         A. I was still telling the driver to stop.                 5        A. No.
6         Q. Do you recall whether you heard Officer Branham         6            I mean, it was enough that if I had to guess, at
7    providing similar commands?                                     7   least four or five times.
8         A. At that point, no.                                      8        Q. Okay. The vehicle eventually began to progress
9         Q. Besides the verbal commands, were there any             9   up on the ramp; is that correct?
10   other noises in the area?                                      10        A. Yes.
11        A. Honestly, I don't remember.                            11        Q. And as a response, what did you do?
12        Q. Okay.                                                  12        A. Told the officer -- or I told the driver to stop
13            During your pursuit, did you have your lights         13   again.
14   and sirens activated?                                          14            I had to move to the right to move away from the
15        A. I did.                                                 15   vehicle as he was moving up the off-ramp. And as the
16        Q. Okay. And after you exited the vehicle, did you        16   vehicle continued up, I fired three rounds.
17   terminate your lights and sirens?                              17        Q. Okay. And why did you discharge your firearm?
18        A. No.                                                    18        A. Because I believed at that time he was about to
19        Q. Okay. After attempting to open the driver's            19   run over Officer Branham.
20   side door of this vehicle, what did you do?                    20        Q. Okay. And so the vehicle was going to your
21        A. I continued to yell at the driver who was still        21   left?
22   continuing to move back and forth.                             22        A. Yes.
23        Q. Did you make any sort of visual contact with the       23        Q. Okay. How close were you to the vehicle as it
24   driver?                                                        24   began to proceed forward up the ramp to your left?
25        A. Yes.                                                   25        A. Two to three feet.
                                                             141                                                                 143

1        Q. Did you get any what you would interpret as              1       Q. When the vehicle was moving forward up the ramp,
2 responses from the driver?                                         2 did you have to change your position to avoid being
3         A. I don't know what I would interpret it as, but          3 struck by the vehicle?
4    he looked right at me and smiled as he continued to move        4        A. Yes.
5    forward and backward.                                           5        Q. Okay. If you would have held your ground, so to
6         Q. Did you make eye contact with the driver?               6   speak, what do you think would have been the outcome?
7         A. Yes.                                                    7        A. I'm not sure.
8         Q. How many times would you estimate you had eye           8        Q. Okay. Would you have been overcome and run over
9    contact with the driver?                                        9   by the vehicle?
10        A. One or two.                                            10        A. Possibly.
11        Q. Okay. And of those one or two times you                11        Q. Okay.
12   mentioned a smile, how many times were you, quote, smiled      12            And the person to your left, Officer Branham,
13   at?                                                            13   was your firearm discharged in order to prevent further
14        A. One or two.                                            14   progress to your left, where you thought Officer Branham
15        Q. Okay.                                                  15   was located?
16            So window up. Try the door. The door isn't            16        A. Yes.
17   working. The car is still maneuvering. What direction          17        Q. Okay. But you mentioned -- how many times did
18   was the car maneuvering?                                       18   you discharge your firearms?
19        A. It would have been maneuvering to move back            19        A. I originally believed three times.
20   westward on the off-ramp.                                      20        Q. Okay. And since then, has it changed?
21        Q. Okay.                                                  21        A. Yes.
22            And how many times did it change directions to        22        Q. Okay. Do you know how many times you actually
23   maneuver to that?                                              23   did fire?
24        A. Honestly, I don't know.                                24        A. It was four rounds total.
                                                                                                                 PAYETTE-47
25        Q. Okay. Do you know how many times it reversed to        25        Q. After you fired the four rounds, what
                                                             142                                                                 144

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1 happened?                                                          1       Q. Okay. So outside of the pistol involved in the
2         A. I remember hearing Officer Branham notifying            2 incident, you had your dispatch radio?
3    dispatch that shots had been fired.                             3        A. Yes.
4             The vehicle continued westbound on the off-ramp        4        Q. Badge.
5    and then turned northbound on Highway 95, and it went           5            Did you have an asp or a baton?
6    approximately 200 yards before it slowed down and went          6        A. I had an asp, taser, two sets of handcuffs,
7    off the side of the road and stopped.                           7   spare flashlight, and my firearm.
8         Q. Okay. Now, you said you heard Officer Branham           8        Q. Okay. Besides your firearm, did you deploy any
9    report.                                                         9   other aspect on your utility belt or any of your
10            Did you see that, or did you hear it from your        10   equipment?
11   radio?                                                         11        A. Not until the vehicle was stopped. Handcuffs,
12        A. I heard it.                                            12   that was later on.
13        Q. Okay.                                                  13        Q. At any time did you deploy your baton or asp?
14            After you discharged your firearm and the             14        A. No.
15   vehicle progressed back up the ramp, did you see Officer       15        Q. Did you have a chest-cam?
16   Branham at all?                                                16        A. Yes.
17        A. I don't recall seeing Officer Branham at that          17        Q. Do you have a chest-cam on today?
18   point.                                                         18        A. I don't today.
19        Q. Okay. Did you continue your pursuit from that          19        Q. So there is another difference: With the
20   point forward?                                                 20   pistol, the chest-cam.
21        A. Yes.                                                   21        A. Right.
22        Q. Okay. Was there any other officers ahead of you        22        Q. And were you able to record this contact with
23   in that pursuit?                                               23   the chest-cam --
24        A. There was as I pulled around the corner and got        24        A. Yes.
25   behind the suspect vehicle, there was already a vehicle        25        Q. -- back in October of last year?
                                                             145                                                                  147

1 there, but I don't remember whose vehicle that was. I              1      A.   Yes, I was.
2 don't know if that was Officer Branham's vehicle or one            2      Q.   Have you had the opportunity to review this
3 of the other assisting officers.                                   3 video?
4        Q. On the off-ramp, do you recall when you -- was           4      A.    Once.
5 Officer Branham's vehicle still there as you continued             5      Q.    Okay.
6 your pursuit?                                                      6            And how long ago was that?
7         A. I believe it was.                                       7        A. It's been a while ago.
8             THE COURT: Excuse me. What did you say?                8        Q. All right. And where did you review that
9             THE WITNESS: I believe it was.                         9   video?
10            I'm not sure.                                         10        A. It was at the Fruitland Police Department.
11        Q. (BY MR. DOLTON) Now, back on the 24th and 25th         11        Q. Okay. So the video itself, when you were
12   of October, 2016, you said you were on duty and in             12   watching it, what features -- how does it start? What
13   uniform.                                                       13   features are there?
14            Were you in a similar uniform that you are            14            MR. BISTLINE: Objection. I think the video
15   today?                                                         15   itself is the best evidence.
16        A. Yes. This is a standard uniform for us. I was          16            MR. DOLTON: Yeah. Okay.
17   wearing a vest carrier at the time, but it still has a         17            THE COURT: Any response to that?
18   badge, whistle chain, identification.                          18            MR. DOLTON: No objection, Your Honor.
19        Q. And so the equipment that you usually have when        19            My intent is to play the video, so I was trying
20   you are on patrol, is it any different than the equipment      20   to simply establish a foundation for it.
21   that you had then from today?                                  21            THE COURT: That objection is sustained.
22        A. Yeah. The only thing that's different                  22            MR. DOLTON: All right. May I approach, Your
23   equipment-wise is the pistol that was involved in the          23   Honor?
24   incident has -- I believe it's still in evidence with the      24            THE COURT: Yes.
                                                                                                                  PAYETTE-48
25   Idaho State Police.                                            25            MR. BISTLINE: We going to do it on there?
                                                             146                                                                  148

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1             MR. DOLTON: Yes.                                      1            MR. DOLTON: Yes.
2             MR. BISTLINE: How do you want to do that?             2            THE COURT: Which was on near Exit 3 on
3             Actually, I have a projector, but I'd have to         3   October 24th, 2016, it looks like.
4    have a wall to project to.                                     4            Is that time an accurate time?
5             MR. DOLTON: I can position it on those books,         5            THE WITNESS: I don't know if that's an accurate
6    and then we can --                                             6   time or not.
7             THE COURT: Are you going to be asking questions       7            THE COURT: It says 23:55:56.
8    of the officer as the video is playing?                        8            MR. DOLTON: About two minutes and 31 seconds
9             MR. DOLTON: It's possible; yes.                       9   into the full video.
10            MR. BISTLINE: Can you stop it when you do that?      10            And I intend to show 2:30 on to about 10
11            MR. DOLTON: Oh, absolutely.                          11   minutes, when this video is about a half-hour total.
12            MR. BISTLINE: Are you going to be able to see        12            THE COURT: Okay.
13   if it's there?                                                13            MR. DOLTON: And so what I plan to do, Your
14            THE COURT: I can move over there if I need           14   Honor, is offer it as State's Exhibit 1, that snippet,
15   to.                                                           15   and I'll have it edited and sent to the defense for
16            MR. BISTLINE: And I can move over there too.         16   approval.
17            THE COURT: You can move wherever you want,           17            THE COURT: And you'll review it. And if it's
18   Mr. Bistline.                                                 18   satisfactory, then I'll admit that.
19            MR. DOLTON: All right. May I approach, Your          19            MR. BISTLINE: Okay.
20   Honor?                                                        20            MR. DOLTON: Okay.
21            THE COURT: Yes.                                      21            MR. BISTLINE: Uh-huh.
22        Q. (BY MR. DOLTON) So do you recall the duration         22            MR. DOLTON: All right. So I'll get the volume
23   of this video?                                                23   up.
24        A. I don't.                                              24            I'll proceed to play it.
25            MR. DOLTON: Okay. You want me to just start at       25            (Video playing.)
                                                            149                                                                151

1 the beginning? It's about a half hour, from my review.            1           MR. BISTLINE: I don't see any relevance to this
2            MR. BISTLINE: So this is the car-cam, or the --        2 going on.
3            THE COURT: Do you want me to move out of the           3            MR. DOLTON: I'm stopping the video at 4:50,
4 way?                                                              4   Your Honor.
5             MR. DOLTON: The chest-cam.                            5            So from 2:30 to 4:50 is what I intend to offer.
6             MR. BISTLINE: I would say start it when he            6            THE COURT: So 4:50 also ends up being 23:58:16
7    pulls into the Y, but.                                         7   on the clock on this.
8             MR. DOLTON: Yeah. So I have it about two              8            Is there any objection to offering that piece?
9    minutes 30, seconds, and my review is when he exits the        9            MR. BISTLINE: No.
10   vehicle.                                                      10            THE COURT: Okay. Like I said, once it's on a
11            MR. BISTLINE: Okay.                                  11   disc and there is no other objections, then it will be
12            THE COURT: No objection to it starting there?        12   admitted as State's Exhibit No. 1.
13            MR. DOLTON: At the Y, as in --                       13            MR. DOLTON: Okay. Thank you, Your Honor.
14            MR. BISTLINE: No. I think when he arrives at         14        Q. (BY MR. DOLTON) Now, you've testified prior to
15   the off-ramp.                                                 15   watching that video. Is there any additional material
16            MR. DOLTON: Yeah. So I have it about 2:30, and       16   you would like to add to your testimony after its
17   my understanding is it concludes about 10.                    17   review?
18            MR. BISTLINE: Yeah. We aren't going to need to       18        A. No.
19   watch. I don't have any need to watch anything after the      19        Q. And so after you removed and restrained the
20   intersection.                                                 20   driver, were you able to get a positive identification on
21            MR. DOLTON: Yeah. Okay.                              21   that person?
22            THE COURT: Just before you start, let's make a       22        A. I did not; no.
23   record.                                                       23        Q. Okay. Do you recognize the person, anyone in
24            This is, what you are playing is Sergeant Key's      24   this courtroom that is in the video?
                                                                                                                PAYETTE-49
25   bodycam?                                                      25        A. Yes.
                                                            150                                                                152

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1         Q. And who do you recognize?                                  1 at all.
2         A. The defendant.                                             2        A. At which point are you talking about, sir?
3         Q. Okay.                                                      3        Q. He has run into the sign.
4             And you did not know his name at any time during          4        A. Okay.
5    this investigation; is that correct?                               5        Q. You guys are surrounding the car. You are
6         A. No. I didn't.                                              6   trying to figure out what is in his right hand.
7         Q. And you've since been informed of who the person           7        A. Uh-huh.
8    is?                                                                8        Q. It appears to me he is slumped over, and he's
9         A. Yes.                                                       9   not moving. Is that what the situation was?
10        Q. Okay. And after that part of the video, you did           10        A. At that point, yes.
11   render aid until you were excused by other assisting              11        Q. Okay. And did he, when you cut his seat belt,
12   officers; correct?                                                12   did he move at that point?
13        A. Yeah. Yes, they kept pulling me away from the             13        A. No.
14   scene.                                                            14        Q. When you dragged him out of the car, did he
15        Q. Okay. Were there any statements made by the               15   resist in any way?
16   driver of the vehicle as you were rendering aid?                  16        A. No.
17        A. Yes.                                                      17        Q. So whatever may have happened that might be
18        Q. What were those statements?                               18   criminal conduct, once he was stopped at that sign, he
19        A. He wanted to know why he was in handcuffs.                19   didn't do anything wrong?
20            MR. BISTLINE: Sorry. What was that again?                20        A. Well, sir, at that point he was still considered
21            THE WITNESS: He wanted to know why he was in             21   a threat.
22   handcuffs.                                                        22        Q. I know, but he didn't break the law.
23        Q. (BY MR. DOLTON) Okay. Outside of that                     23        A. In which aspect?
24   statement, any other statements --                                24        Q. Once he is at the sign and he is keeled over, he
25        A. Not to me.                                                25   didn't assault anybody, did he?
                                                                153                                                                155

1         Q. -- that you recall? Okay.                                  1            MR. DOLTON: Judge, objection. Relevance.
2             All right, Sergeant. I believe that's all the             2            MR. BISTLINE: He knows the law.
3    questions I have at this time.                                     3            THE COURT: Your response?
4             Thank you.                                                4            MR. BISTLINE: I want to make sure that we are
5             THE COURT: Mr. Bistline.                                  5   not talking about that this crime that's been alleged
6             MR. BISTLINE: What time is it, Your Honor?                6   doesn't involve anything that happened at that point. It
7             THE COURT: It's like 12:35.                               7   only involves what happened back at or before he hit that
8             MR. BISTLINE: Okay. Okay.                                 8   sign. I want to make sure that they are not saying he
9             So I think I'm going to need a break before I             9   took a swing at an officer, pulled a weapon on an
10   finish, but I can certainly start and get maybe most of           10   officer, did anything.
11   the way through and then.                                         11            THE COURT: You can inquire into that.
12            THE COURT: Oh. Go ahead and start. And                   12            Objection is overruled.
13   whenever you feel that you need a break, we'll break              13            MR. BISTLINE: Thank you.
14   then.                                                             14        Q. (BY MR. BISTLINE) So while you are extracting
15            MR. BISTLINE: Okay.                                      15   him from the vehicle, did he do anything to threaten any
16             CROSS-EXAMINATION OF BENJAMIN KEY (OFFICER)             16   officer?
17   BY MR. BISTLINE:                                                  17        A. No.
18        Q. Sergeant, watching that video we just watched,            18        Q. Okay. So if I'm understanding your testimony
19   which I understand was your bodycam --                            19   correctly, when he pulled onto the off-ramp, you were
20        A. Yes.                                                      20   behind him and initially thought everybody was just going
21        Q. -- it didn't appear to me that Mr. Grant, when            21   to pull over and you were going to get him there; is that
22   you got to the point where his car had been run off the           22   correct?
23   road and hit the sign and you were all surrounding the            23        A. My initial thoughts were actually that he was
24   car trying to figure out if he had a weapon or something          24   going to drive the wrong way down the off-ramp into
                                                                                                                    PAYETTE-50
25   in his off hand, it doesn't appear to me Mr. Grant moved          25   oncoming traffic.
                                                                154                                                                156

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1         Q. Okay. And so, but he didn't do that?                    1 forth, back and forth, back and forth. Did he ever turn
2         A. No.                                                     2 his vehicle on a line that was towards the, was more than
3         Q. What was his first move other than turning on to        3 perpendicular to the guard-rail?
4    the off-ramp and starting down it?                              4           In other words, did he turn more to the left
5         A. Well, once he turned on to the off-ramp and             5 like he was going to go away from the guard-rail, or did
6    started down it, he stopped.                                    6 he stop once he was pointing straight down the
7         Q. Stopped?                                                7 guard-rail?
8         A. Yes.                                                    8        A. I'm not sure I understand your question, sir.
9         Q. Straight down? Pointing straight down the               9        Q. All right. So he is making his way between your
10   off-ramp?                                                      10   car and the guard-rail; correct?
11        A. No. He had started to go slightly to the right,        11        A. Yes.
12   almost like he was pulling over or off the roadway.            12        Q. And once he has got himself lined up so that he
13        Q. Okay. And so then you thought you could pull up        13   can pass past your car and the guard-rail, did he make
14   behind him and everything was going to stop there?             14   any more turns towards his left, or did he just follow
15        A. I had hoped.                                           15   the guard-rail?
16        Q. Okay.                                                  16        A. I don't know that he necessarily did either at
17            And then what did he do after he pulled to the        17   that point. I'm not sure what you are getting at.
18   right and looked like he was going to stop?                    18        Q. Well, I'm just -- when he exited from this, once
19        A. He started to move again.                              19   he got himself positioned (inaudible) down the
20        Q. And where did he go?                                   20   guard-rail, what route did he take?
21        A. He started to turn back and forth like he was          21        A. He went back up the off-ramp.
22   going to come back up the off-ramp.                            22        Q. Following the guard-rail?
23        Q. Okay. And so at that point you moved your              23        A. I don't know.
24   vehicle over to where you thought between there would be       24        Q. Did he turn back towards the left or the middle
25   no room between your vehicle and the guard-rail?               25   of the --
                                                             157                                                                  159

1         A. Yes.                                                    1       A. I know his vehicle actually struck the
2         Q. And that would be the north side guard-rail?            2 guard-rail at one point, but.
3         A. Yes.                                                    3        Q. Right.
4         Q. And did you see where Officer Branham parked his        4            And did he turn, move back towards the middle of
5    vehicle?                                                        5   the off-ramp at all, or did he follow the guard-rail
6         A. I didn't.                                               6   up?
7         Q. Okay.                                                   7        A. I don't know.
8             Now, you are parked in a position where you            8        Q. Okay.
9    think you are going to be able to block him and he is not       9            Now, it looked to me from that bit of the body
10   going to be able to get past you. And he is going back         10   camera that you were maybe forward of the front door a
11   and forth, back and forth, and back and forth; correct?        11   little bit and back of the front door, but you were in
12        A. Uh-huh. Correct.                                       12   that range to his vehicle the whole time.
13        Q. Did he strike your vehicle?                            13        A. Forward of the front door.
14        A. No.                                                    14        Q. Just a little forward of the front door to a
15        Q. And your vehicle, at that point it was more or         15   little back of the front door?
16   less sideways to the line of the off-ramp?                     16        A. Yeah. I could say that; yeah. Somewhere in
17        A. I wouldn't say sideways.                               17   that area.
18        Q. 45?                                                    18        Q. But you kind of moved forward at first, and then
19        A. Yeah, maybe 45. I was trying to keep him from          19   when he was almost all the way around, you moved back and
20   moving any farther forward back up the off-ramp.               20   tried to grab the door handle?
21        Q. But your vehicle was not parked straight up and        21        A. Right.
22   down the off-ramp. It was at an angle?                         22        Q. Is that accurate?
23        A. Yes.                                                   23        A. Yeah. I would say that's accurate.
24        Q. Okay.                                                  24        Q. Okay. While you were telling him to stop
                                                                                                                 PAYETTE-51
25            As he is maneuvering his vehicle to go back and       25   alongside his vehicle there as it was maneuvering to get
                                                             158                                                                  160

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1 around your car, I understand -- I learned today there's           1 so how was it clear to you that Officer Branham was in
2 two, at least two different positions of holding your              2 the way?
3 gun. One is ready, and I guess the other is aimed. What            3        A. You are right. I don't. I believe I know where
4 were you doing with your gun?                                      4   he was because I believed he was to my left.
5         A. I think you are referring to either low ready or        5        Q. Okay. So it's your belief that Officer Branham
6    pointed at, on target. I'm asking -- I'm not sure what          6   was in his way, but you don't know that?
7    you are --                                                      7        A. Correct.
8         Q. Yeah. Yeah. Were you in low ready, or were you          8        Q. Because you didn't see him?
9    pointed at target?                                              9        A. Well, I saw him when I first got out of my car,
10        A. I believe I was pointed at target at that              10   but as you said, then I lost track of him.
11   point.                                                         11        Q. Right.
12        Q. Pretty much the whole time he was maneuvering          12            So did you see Officer Higley at all?
13   his vehicle?                                                   13        A. I don't remember seeing Officer Higley.
14        A. Yes.                                                   14        Q. When you were in the initial pursuit, you've --
15        Q. And you said you saw, when you positioned your         15   well, let me back up to the spike strips.
16   vehicle to block his path and got out, you saw Officer         16            I gather you pile them into the median where
17   Branham at that point briefly; is that correct?                17   they won't get run over by anybody?
18        A. Yes.                                                   18        A. Right.
19        Q. How far away from you was he?                          19        Q. And as the suspect vehicle approaches, you pull
20        A. Honestly, I don't know.                                20   them out?
21        Q. And after that initial sighting of him, you            21        A. Right. They are attached to a spring so you
22   don't really know where he went?                               22   can --
23        A. I don't.                                               23        Q. Okay.
24        Q. Now, when the vehicle pulled away, did you at          24            And then apparently after the suspect vehicle
25   any point see Officer Branham again as the vehicle went        25   went by, you pulled them all the way out of the street?
                                                             161                                                                163

1 away?                                                              1        A. Right.
2         A. I believe I saw him up at the off-ramp. But             2        Q. How does Officer Branham know where they are in
3    like I said, at that point I was focused on getting back        3   terms of your pull in order to steer around them?
4    in my car.                                                      4        A. I had told him where I was going to be set up.
5         Q. Okay. And when you saw him up at the off-ramp           5        Q. Okay. So did he have to go left of the median
6    as you were getting ready to get back in your car, do you       6   in order to keep from hitting the pile?
7    remember how far away he was?                                   7        A. I don't believe he went left. I think he just
8         A. I don't.                                                8   slowed down.
9         Q. So as you are observing the vehicle go back and         9        Q. Okay. And by then you had pulled them out of
10   forth, what is your sense of what he was trying to do?         10   the way?
11        A. At that point I didn't know what he was trying         11        A. Correct.
12   to do.                                                         12        Q. Now, did it turn out that any of the tires had
13        Q. Okay. When he got himself pointed up the               13   been spiked?
14   guard-rail and took off, did it become clear what he was       14        A. I don't know.
15   trying to do by maneuvering his car back and forth?            15        Q. As you guys are pursuing the vehicle from the
16        A. Yes.                                                   16   spike strip area, you catch up and eventually pass
17        Q. He was trying to get out of there; correct?            17   Officer Branham to take the lead; correct?
18        A. Well, I'm not sure what he was trying to do at         18        A. Yes.
19   that point, sir.                                               19        Q. Are you monitoring the same radio channel that
20        Q. But as he is driving off, you said it became           20   he is talking on as you are doing that?
21   clear what he was trying to do.                                21        A. Yes.
22        A. It became clear to me that Officer Branham was         22        Q. So everybody is on the same channel?
23   in his way. I don't know what his intentions were at           23        A. Yes.
24   that point.                                                    24        Q. Did you hear him advise that he was allowing you
                                                                                                                 PAYETTE-52
25        Q. Well, you don't know where Officer Branham was,        25   to take the lead?
                                                             162                                                                164

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1         A. He asked me to take the lead.                              1        Q. Okay. Did you review this report?
2         Q. Okay. Did you hear anybody from his department             2        A. Yes.
3    object to him turning over the lead?                               3        Q. And did you have an opportunity to comment on it
4         A. I don't think so.                                          4   before it was finalized?
5         Q. So when you first got the first call that                  5        A. Yes.
6    Officer Branham was in pursuit, what were you doing?               6        Q. Did you make any corrections?
7         A. I believe I was just driving down the highway,             7        A. I don't believe we did.
8    honestly, at that point.                                           8        Q. Did you have the understanding that you could
9         Q. Okay. Were you guys engaged in any kind of                 9   have suggested corrections?
10   search or investigation that you can recall at that               10        A. Yes.
11   moment in time?                                                   11        Q. But you don't recall suggesting any?
12        A. I don't think so.                                         12        A. I don't.
13        Q. Okay. So at the point where Mr. Grant is                  13        Q. And is it fair to say that you thought the
14   jocking back and forth to get turned, take up ramp, you           14   report fairly captured what you had to say about this
15   are facing towards the north and maybe a little to the            15   incident?
16   east as he is doing that; is that correct?                        16        A. Yes.
17        A. Yeah.                                                     17        Q. All right. So let's have a look at a couple
18        Q. So behind you would be south; is that correct?            18   things there. Let me find what I'm looking for.
19        A. South. South to southwest; yes.                           19            Okay. So I think you say -- let's have a look
20        Q. Okay. And left of you would be to the west,               20   at No. 33, just for clarification here.
21   northwest?                                                        21            Officer Branham had been there giving him
22        A. Yes.                                                      22   commands.
23        Q. Okay.                                                     23            So the him there is Mr. Grant; correct?
24            So if Officer Branham were behind you and to the         24        A. I believe the him they are referring to is me.
25   west, northwest, how would the vehicle moving up the              25        Q. Officer Grant had been there giving you
                                                                165                                                                 167

1 off-ramp have been a threat to him, because you were a                1 commands?
2 vehicle-width away at least from the, or from the                     2       A. No, Officer Branham had been there with him. I
3 guard-rail itself. So if he is behind you and to your                 3 think they are referring to me giving commands.
4 left, how is he at risk as that vehicle moves up the                  4       Q. Okay. Oh, I see. I'm sorry. Misreading on my
5 guard-rail?                                                           5 part.
6        A. Well, I would say based on the way that the                 6        A. I think.
7 driver was driving, you wouldn't know what he was going               7        Q. As the vehicle started to back off the ramp, he
8 to do.                                                                8   moved to the right.
9         Q. Okay.                                                      9            Who is he?
10        A. As I had previously said where I believed                 10        A. That would be me.
11   Officer Branham was, you know, a foot one way or the              11        Q. Because he, that's you again?
12   other, whether the vehicle had bounced off a guard-rail,          12        A. Yeah.
13   I mean, there's a lot of hypotheticals there you could            13        Q. Thought he was too close to the car for it to
14   throw in as to what could have happened, but.                     14   move forward?
15        Q. Okay. But you've got your report there?                   15        A. Yes.
16        A. Yes.                                                      16        Q. Why were you moving? You thought your car was
17        Q. I mean your interview.                                    17   too close to the car to move forward, or you thought you
18            Is there some reason that you guys didn't                18   personally were too close to the car for it to move
19   prepare reports?                                                  19   forward?
20        A. Yes.                                                      20        A. I thought I was personally too close. I was
21        Q. What's that?                                              21   already out of my vehicle at that point.
22        A. It's our department policy when we have an                22        Q. Okay. So it appeared to you that that car was
23   officer involved in a shooting, that we do not actually           23   going to move forward?
24   write the reports ourself. We are interviewed by State            24        A. Yes.
                                                                                                                     PAYETTE-53
25   Police detectives.                                                25        Q. And you got out of the way?
                                                                166                                                                 168

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1         A. Yes.                                                    1            MR. BISTLINE: It will take me 10 minutes.
2         Q. And then in 34, you say that Grant started to           2            We can stop and I can get it, or we can stop and
3    accelerate, even though you were yelling at him?                3   I can get it, can just get it right now.
4         A. I'm sorry. 34?                                          4            THE COURT: Let's just stop so you can get it
5         Q. 34.                                                     5   lined up.
6         A. 34. Okay.                                               6            We'll re-commence at 1:15.
7         Q. You indicate you continued yelling at Grant. It         7            MR. BISTLINE: Okay.
8    says he, but that's you; correct?                               8            And the only thing before we go off the record,
9         A. Yes.                                                    9   the only other thing I'm going to have -- I assume you
10        Q. But Grant decided to accelerate, pulling away.         10   are going to rest when we are done with this witness?
11            At that point he is pulling up alongside the          11            The only other thing I have is the deposition of
12   guard-rail; is that correct?                                   12   Robert Blank, who was a witness.
13        A. He was moving forward up the off-ramp.                 13            And we've deposed him. We deposed him in my
14        Q. And he is pretty well pinned up against the            14   view pursuant to an agreement that was reached the last
15   guard-rail by your car, isn't he?                              15   time we were here for a preliminary hearing.
16        A. That I couldn't tell you. I couldn't see the           16            And the State has since objected to that. I
17   other side of the car.                                         17   don't know what their position is now. I didn't feel
18        Q. Okay.                                                  18   like they took the appropriate path of objecting, so I
19            So he starts moving forward, and you thought          19   went right ahead and took it.
20   Branham was still to your left rear; is that correct?          20            So I guess at some point we are going to have to
21        A. Yes.                                                   21   talk about that, but I have both the video of that
22        Q. The vehicle never moved towards your rear, did         22   deposition, which we could watch; I have the transcript
23   it? It followed the guard-rail up?                             23   of that deposition, which I could just give the Court. I
24        A. I already said, sir. I don't know if it                24   don't have a final transcript, the certified transcript
25   followed the guard-rail or if it moved away from the           25   yet because the guy hasn't had a chance to read and sign.
                                                             169                                                                 171

1 guard-rail as it was moving up the ramp.                           1           So I'm not quite sure what the best approach
2         Q. Okay. Where did it brush the guard-rail?                2 would be to that, but that's...
3         A. Further up the ramp.                                    3            THE COURT: Was there a motion made to the Court
4             MR. BISTLINE: All right. Your Honor, the only          4   to take that deposition?
5    thing I think I have left is I want to watch the car            5            MR. BISTLINE: Yes, Your Honor.
6    video, but it's going to take me a little while to get          6            Well...
7    that set up.                                                    7            THE COURT: I didn't see one in the file.
8             Actually, I can do it on a computer screen, but        8            MR. BISTLINE: Right. What happened was we were
9    if I want to use the projector, it will take a little           9   at the preliminary hearing discussing whether we were
10   while.                                                         10   going to go forward, and we said, well, we have got this
11            So if we want to just --                              11   witness we want to take a deposition of. He is in
12            THE COURT: Do you want to use the projector,          12   California.
13   take a break and you can set that up, or you can do it on      13            And it was decided that we should get that done
14   the computer?                                                  14   before we proceeded.
15            MR. BISTLINE: I'm happy -- it's a smaller             15            At that hearing it's my understanding that
16   computer than what we saw, but I'm happy to just do it on      16   Mr. Pittman agreed that we could go ahead and get that
17   the computer.                                                  17   deposition and that we vacate the hearing so that we
18            Oh, here is the computer. It's only this big,         18   could go ahead and get that deposition.
19   but if we think we can use it.                                 19           After the fact, he objected. And I think he said
20            It will still take a minute to get into the           20   something in his moving papers.
21   thing.                                                         21           Well, they weren't really moving papers, but in
22            I don't see any reason to watch the spiking and       22   his documents he said something about having not had an
23   the first part of the chase. I'm only concerned with           23   adequate opportunity to review it and therefore he
24   pretty much what happens at the off-ramp.                      24   changed his mind.
                                                                                                                 PAYETTE-54
25            THE COURT: Okay. How much time would you like?        25           But in my view, that would have required them to
                                                             170                                                                 172

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1 have moved at that point for a protective order or to              1           MR. DOLTON: Oh, I'm sorry. I thought you were
2 amend the Court's order, and there was never a motion.             2 asking me.
3 There was paperwork going back and forth, but never a              3            THE COURT: No. I was. I've got one that says
4 motion.                                                            4   yes. I need both.
5             THE COURT: Well, ICR 15, as I read it, requires        5            MR. BISTLINE: Yeah. Your Honor, the only thing
6    a motion to even take a deposition.                             6   that is a problem with the transcript is that the exhibit
7             MR. BISTLINE: Yes, Your Honor. And I believe           7   wasn't attached to the transcript. I think it's on the
8    we made that in court.                                          8   video.
9             I mean, that was, I believe that was the whole         9            But I have a copy of the exhibit, if we could
10   point of the discussion that we move to stop the hearing       10   agree on that.
11   and go take the deposition so that we could have the           11            THE COURT: If the exhibit could be attached to
12   deposition ready at the time of the hearing.                   12   that, then.
13            So in my view we made that motion, and they           13            MR. DOLTON: I have I think 3 and 2, and then
14   agreed to it. So we didn't file a formal motion, but           14   there was a 1; right, which is the Google map?
15   it's, we can look at the record.                               15            MR. BISTLINE: Right.
16            THE COURT: Okay.                                      16            And these are the ones that were important,
17            Do you recall the date that that was done?            17   because they were -- Mr. Blank, as it turned out, was a
18            MR. DOLTON: Your Honor, I was a present party.        18   surveyor. So we have, like, a nice little cad.
19   I wasn't a participating party for the State, but I was        19            Either one of 2 or 3 is fine. And 1 was just
20   present.                                                       20   identifying the intersection. So if we just put one of
21            THE COURT: Okay.                                      21   those in, along with the transcript, I'm happy to loan
22            MR. DOLTON: And I do recall the verbal motion         22   you my copy of the transcript. And if I do that, Judge,
23   being made, and we did initially agree to it.                  23   you'll also have the discs in case you want them.
24            I think we filed an objection because we were         24            MR. DOLTON: Which one did you want submitted, 2
25   concerned that it would be drawn out too far and we            25   or 3?
                                                             173                                                                 175

1 needed to figure out when it was going to get done, when           1            MR. BISTLINE: I don't care.
2 we would get the prelim done. And we did participate in            2            MR. DOLTON: Let's do 3.
3 the deposition. We did ask questions of the deposed                3            MR. BISTLINE: Okay.
4 witness, so.                                                       4            So if that's the case, we won't have any time
5             THE COURT: So there's no objection --                  5   spent on that, and all we'll have to do is get this video
6             MR. DOLTON: No.                                        6   queued up, which I'm sort of struggling with, because
7             THE COURT: -- from the State, then?                    7   it's not my computer.
8             MR. DOLTON: No.                                        8            THE COURT: Well, we'll start back here if
9             THE COURT: Okay. Then that takes care of any           9   everything is running properly at 1:20 on that clock.
10   issue on that.                                                 10            MR. DOLTON: Okay.
11            As far as whether to watch the -- how long is         11            MR. BISTLINE: Thank you, Your Honor.
12   the video?                                                     12            THE COURT: Court is in recess.
13            MR. BISTLINE: Well, it's -- yeah, we've got a         13            (Brief recess was taken.)
14   mini transcript.                                               14            THE COURT: Back on the record in 17-660.
15            Have you got the time?                                15            Go ahead. Are you ready on that?
16            THE COURT: It should be on the front.                 16            MR. BISTLINE: Right.
17            MR. DOLTON: October 9 of '17 is the date. The         17            So I decided --
18   time expended? I accessed it. But I can print it off           18            THE COURT: I'll come back and sit over there
19   again.                                                         19   with you guys.
20            THE COURT: Did you want me to see the video, or       20            MR. DOLTON: Open chair for you, Judge.
21   will the transcript be sufficient?                             21            MR. BISTLINE: I decided to project, because the
22            MR. DOLTON: I reviewed the transcript, Your           22   screen is so dirty here, I'm ashamed to let anybody see
23   Honor. I'm comfortable submitting the transcript.              23   it, so.
24            THE COURT: You are.                                   24            THE COURT: We can wash it off for you.
                                                                                                                 PAYETTE-55
25            Is Mr. Bistline?                                      25            MR. BISTLINE: This I think will be good.
                                                             174                                                                 176

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1            And so I'm going to start it just briefly, so            1 here, you pull up on his left side, and then he
2 that Officer Key can verify that we have got the right              2 accelerates and goes around you; is that correct?
3 thing. And I'll stop it again in just a second.                     3        A. Yes.
4             So here we go.                                          4        Q. And now you are heading on down the road, back
5             THE COURT: Is this going to be an exhibit?              5   to where the vehicle is?
6             MR. DOLTON: I think it's E, Echo.                       6        A. And that's where the vehicle stopped.
7             MR. BISTLINE: Why won't it start?                       7        Q. Is run off.
8             Well...                                                 8            All right. I have no further need for this at
9             Well, now we've gone back to the beginning.             9   this point.
10            (Video playing.)                                       10            MR. BISTLINE: Did you want to run it for
11        Q. (BY MR. BISTLINE) So this is where you are              11   any more?
12   spike stripping, Officer Key?                                   12            MR. DOLTON: No. I'm fine.
13        A. Yes.                                                    13            MR. BISTLINE: Okay.
14        Q. Okay. I'm going to move it forward, if I can            14            So for the record, Your Honor, what I'm going to
15   get it to do that rather than watching.                         15   do is give you a thumb drive. It has both what you just
16            This may take a second.                                16   saw and it has the 10-8 video, exe program. So you can
17            Is the clock moving?                                   17   watch what you just saw if you want to. And good luck
18            No. The clock is not moving.                           18   using that program.
19            Great. God damn thing.                                 19            THE COURT: It's taken a while just to get to
20            Now the clock is moving. All right.                    20   this point.
21            Just for the record, Officer Key, what is              21            MR. BISTLINE: It's not easy to use.
22   happening right now?                                            22            THE WITNESS: I believe that those files
23        A. This must have been after I deployed the spike          23   actually will play on a Windows media player as well.
24   strips.                                                         24            MR. BISTLINE: I tried to play them last night
25        Q. All right. I'm going to try to move this thing          25   and couldn't get it to, but.
                                                              177                                                                 179

1 forward a bunch here, because I don't really want us to             1            THE WITNESS: Okay.
2 have to watch the whole thing.                                      2            MR. BISTLINE: But maybe he can call you and you
3             Well, it's probably going to be easier just to          3   can come over and do it for him.
4    watch the whole thing.                                           4            That's all I have for this witness, Your
5             You are pursuing at this point down the highway         5   Honor.
6    to catch up with Officer Branham?                                6            THE COURT: Any redirect?
7         A. Yes.                                                     7            MR. DOLTON: Thank you, Your Honor.
8         Q. And that's him flashing there in front of you?           8            THE COURT: I'm sorry. Was this Exhibit E?
9         A. Yeah. That's him.                                        9            MR. BISTLINE: Yes.
10        Q. Okay. This is going to be okay.                         10            THE COURT: And Exhibit E is the thumb drive?
11            This is where you move around him; is that             11            MR. BISTLINE: The thumb drive.
12   correct?                                                        12            THE COURT: Which includes what we just saw.
13        A. Yes.                                                    13   It's the camera that was in Sergeant Key's car?
14        Q. And this is the Scion that you are now behind?          14            MR. BISTLINE: Yes, Your Honor.
15        A. Yes.                                                    15            THE COURT: Okay.
16        Q. And are you going through the S turn at this            16            MR. BISTLINE: And then I think -- I guess we
17   point?                                                          17   would have exhibit -- oh, yeah. First we'll rest. Yeah.
18        A. Yes. This is the S curves.                              18            I have no further questions of this witness.
19        Q. Is there four lanes at this juncture?                   19            MR. DOLTON: So redirect, Your Honor?
20        A. Yes, two lanes north, two lanes south, with a           20            THE COURT: Go ahead.
21   median.                                                         21            MR. DOLTON: Okay. Thank you.
22        Q. Now he has moved into the left lane, and you are        22            REDIRECT EXAMINATION OF BENJAMIN KEY (OFFICER)
23   approaching the freeway?                                        23   BY MR. DOLTON:
24        A. We are; yeah. We are close.                             24        Q. Officer Key, now, the Defense Exhibit E was your
                                                                                                                  PAYETTE-56
25        Q. And I believe as we get past the Chevron Station        25   dashcam video; is that correct?
                                                              178                                                                 180

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1         A. Yes.                                                    1 Officer Key stated it was pointed at target, so I think I
2         Q. And did you observe further traffic violations          2 can work into within the scope of that question
3    as you were pursuing the vehicle?                               3 alternative methods, since on direct we had discussed
4         A. I did at this point. I honestly didn't remember         4 what equipment he had on his person.
5    them from --                                                    5            THE COURT: Objection is overruled.
6         Q. So watching the video, though, I saw a failure          6        Q. (BY MR. DOLTON) Did you consider using other
7    to maintain lane?                                               7   weapons, your baton, your taser, under those
8         A. Yes.                                                    8   circumstances?
9         Q. There's no estimate as to speed, of course. And         9        A. No.
10   you've previously testified you didn't even bother             10        Q. Why was that?
11   considering that. You were just focusing on the                11        A. They wouldn't have been effective.
12   pursuit?                                                       12        Q. Okay. Window was up. Was that part of your
13        A. For some reason, our 10-8 system there, they           13   equation?
14   normally are hooked into the vehicle where they record         14        A. Yes.
15   speeds. I don't know why that didn't, but.                     15            MR. BISTLINE: Objection. Leading.
16        Q. But your focus wasn't on speed. It was on              16        Q. (BY MR. DOLTON) And why --
17   stopping the pursuit?                                          17            I'll withdraw, Your Honor.
18        A. Correct.                                               18            THE COURT: Okay.
19        Q. Okay.                                                  19        Q. (BY MR. DOLTON) Why were the alternatives, your
20            Let's see here. Going back. So when you               20   baton and your taser, not used in your opinion?
21   watched your bodycam and there was a question about your       21        A. A baton wouldn't stop the vehicle from moving.
22   positioning in relation to the Scion, whether you were at      22   I could see using a baton to break the window if the
23   the front of the driver's side front door or towards the       23   vehicle was stationary and we were attempting to get him
24   rear, is it possible that at that time the car was moving      24   out, but since the vehicle was still moving, it wouldn't.
25   back and forth, which changed --                               25   It wouldn't do anything.
                                                             181                                                                   183

1         A. The car was moving back and forth.                      1           And a taser wouldn't deploy through the door or
2         Q. Okay. So the explanation could be it wasn't you         2 window. And even if the window was rolled down, tasing
3    moving but the vehicle was moving?                              3 someone behind the driver's seat with the car in drive
4         A. Sure.                                                   4 would not be necessarily a good idea either.
5         Q. Okay.                                                   5        Q. Okay.
6         A. Yes.                                                    6            All right. Now, there was a discussion on cross
7         Q. The vehicle was not static as you were                  7   about what if anything you could glean the driver was
8    approaching it, was it?                                         8   intending to do.
9         A. No. It wasn't static.                                   9            Was he complying with any of your lawful orders
10        Q. Okay.                                                  10   to stop and to exit the vehicle?
11            Now, on cross we also talked about your use of        11        A. No.
12   your weapon.                                                   12        Q. In regards to Officer Branham's position behind
13            Given the circumstances, hindsight being 20/20,       13   you and to your left, would there be any rhyme or reason
14   were there any alternative methods under the                   14   for him to be to your right or directly behind you
15   circumstances?                                                 15   tactically speaking?
16            MR. BISTLINE: Object, Your Honor.                     16        A. No.
17            On cross-examination, I didn't say a word about       17        Q. Was there any obstructions to your right as you
18   the use of his weapon, and I did that on purpose, because      18   were approaching the Toyota Scion?
19   that has nothing to do with this crime, and I'm not            19        A. My vehicle.
20   asking for anybody to make any determinations about that.      20        Q. Okay.
21   It was on direct. It did not come up on cross. I object        21        A. In the way it was positioned.
22   to the question.                                               22        Q. And as you approached the vehicle and the
23            THE COURT: Your response?                             23   vehicle was beginning to head up the ramp again, before
24            MR. DOLTON: As to there was a discussion about        24   you discharged your firearm, what were you focused on
                                                                                                                 PAYETTE-57
25   position of weapon being low ready or pointed at target.       25   doing?
                                                             182                                                                   184

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1        A. Stopping the vehicle from running over Officer              1            (Defendant's Exhibit F admitted.)
2 Branham.                                                              2            THE COURT: I obviously would like to take some
3         Q. When you were firing your weapon, what were you            3   more time. I want to review the video, the dashcam.
4    focusing on?                                                       4   I'll need to read the deposition.
5         A. Stopping the threat.                                       5            So I'm not going to be able to make a decision
6         Q. Okay.                                                      6   for you right now, but I would like to do that probably
7             And so is it safe to say your focus were                  7   this week.
8    preoccupied with those aspects, not the circumstances of           8            What I would probably do is I could do it
9    where Officer Branham was or what direction the vehicle            9   orally. I could even appear by phone if you wanted to
10   was going?                                                        10   hear it that way. Or come back to court.
11        A. Yes.                                                      11            I just, I don't want it languishing. I'd like
12            MR. DOLTON: No further questions, Your Honor.            12   to just sit down with all of this and get to work on
13            THE COURT: Mr. Bistline?                                 13   it.
14            MR. BISTLINE: No questions.                              14            MR. BISTLINE: Would you have any anticipation
15            THE COURT: May this witness be excused?                  15   that we would do our argument after you had a chance to
16            MR. DOLTON: Yes, Your Honor.                             16   review those things?
17            MR. BISTLINE: Yes.                                       17            THE COURT: Are you prepared to do that now?
18            THE COURT: Okay. Thank you, Sergeant.                    18            MR. BISTLINE: I can do it now.
19            MR. DOLTON: No further witnesses.                        19            THE COURT: Why don't we do that now, and then I
20            We rest, Your Honor.                                     20   can always go back and I can review the audio. I'll have
21            MR. BISTLINE: Your Honor, we only have                   21   everything.
22   Mr. Blank's deposition, which I guess I'd submit.                 22            MR. BISTLINE: Okay.
23            Are you going to return the exhibits after you           23            MR. DOLTON: Okay.
24   complete your consideration in this?                              24            THE COURT: So.
25            THE COURT: They are supposed to go to District           25            MR. BISTLINE: Or I'm happy to come back if it
                                                                185                                                                 187

1 Court.                                                                1 turns out you want to hear more or you have questions you
2             MR. BISTLINE: Okay. I'm wondering if...                   2 want to address.
3             MR. DOLTON: I can print.                                  3           MR. DOLTON: We can proceed with closing, Your
4             What transcript do you want me to print off, the          4 Honor.
5    long form, or?                                                     5            THE COURT: Okay. If you'd like to go,
6             MR. BISTLINE: I only have the mini-script.                6   Mr. Dolton.
7             MR. DOLTON: Okay. I can print that all.                   7            MR. DOLTON: Thank you.
8             MR. BISTLINE: I might have -- actually, I                 8            Your Honor, we've had a pretty lengthy
9    might have the whole thing here. Just a second.                    9   preliminary hearing on this matter. The preliminary
10            No. I don't.                                             10   hearing was based upon a complaint that the State filed
11            Yeah, so we will give you when we are done here          11   alleging fleeing or attempt to elude a peace officer,
12   an exhibit.                                                       12   Count 1; and Count 2 of the complaint is aggravated
13            THE COURT: F?                                            13   assault. Both are felonies.
14            MR. BISTLINE: F, a copy of the mini-script,              14            Most of my closing argument will be based upon
15   four to a page of the deposition of Robert Blank, which           15   whether or not the State had substantial evidence on each
16   will include Exhibit 3, and that will be Exhibit F.               16   of the material elements of the case.
17            And that will be our case, Your Honor.                   17            I think we have clearly established in both
18            We would rest.                                           18   cases when the incident occurred, on or about
19            Well, I move for the admission of Exhibit F.             19   October 24th, 2016.
20            THE COURT: Any objection to that?                        20            We also clearly established it was not refuted
21            MR. DOLTON: No, Your Honor.                              21   the venue occurring in the County of Payette, State of
22            THE COURT: I think that's been discussed a few           22   Idaho, Highway 95, Vetter Flats, City of Fruitland, City
23   times.                                                            23   of Payette are all within the County of Payette, and the
24            F is admitted, which is the deposition and               24   officers have attested that the activities all were
                                                                                                                    PAYETTE-58
25   accompanying exhibit that goes with that.                         25   within the County of Payette.
                                                                186                                                                 188

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1            As far as identity is concerned, I don't think           1           We assert the deadly weapon was the black 2013
2 that's refuted as to who was the driver of the Toyota,              2 Toyota Scion. That's evident in the testimony, in the
3 2013 black Toyota Scion. Both Officers Branham and Key              3 videos as exhibits.
4 have identified the defendant, David Michael Grant, as              4           Create a well-founded fear in Officer Branham
5 the driver of the vehicle. I believe that can also be               5 that such violence was imminent.
6 established in the Court's independent review of the                6           Officer Branham testified that he had to get out
7 videos, State's Exhibit 1, and also Defense Exhibit F.              7 of the way of the approaching vehicle. And by getting
8             Where the rubber hits the road, Your Honor, is          8 out of the way, he had to essentially jump and dive out
9    essentially the activities and the intents of Mr. Grant          9 of the way to the right or possibly to the south of the
10   in his conduct on that night in question.                       10 ramp to avoid being struck.
11            Traveling in speeds of excess of 25 miles per          11            As to driving directly at the peace officers,
12   hour over the speed limit and driving the wrong way down        12   we've heard testimony from all three officers involved on
13   an interstate ramp and directly, driving directly at            13   the elude that they had to take affirmative action to
14   peace officers.                                                 14   avoid the path of the vehicle, whether it was in reverse
15            The testimony of Officer Branham establishes           15   or was correcting to go forward from both Officer
16   that there was approximately 80 miles per hour being            16   Branham, Officer Key, and Reserve Officer Higley. There
17   achieved on Vetter Flats in a 55-mile-an-hour zone, which       17   we go. I got it.
18   we believe is sufficient evidence for purposes of               18            Your Honor, we believe that we have achieved
19   preliminary hearing to show that he was exceeding the           19   sufficient probable cause and have substantially
20   speed limit in excess of the 25 miles per hour.                 20   established the elements, the material elements to both
21            Driving the wrong way down the interstate ramp,        21   counts. We ask Your Honor to consider all evidence in
22   the exhibits will show that he, Mr. Grant, did take a           22   its analysis, and we ask Your Honor to find the necessary
23   left onto an exiting westbound interstate ramp and then         23   probable cause to those elements and bind the defendant
24   driving directly at peace officers. We would say the            24   over to District Court on said charges.
25   whole situation is illustrative of what the act was in          25            Thank you.
                                                              189                                                                  191

1 regards to eluding police officers. The distance that               1            THE COURT: Thank you.
2 was covered, the speeds that were achieved, and the                 2            Mr. Bistline.
3 activities and conduct exhibited by Mr. Grant in the                3            MR. BISTLINE: Your Honor, I think at the outset
4 evidence show he had no regard or intent whatsoever to              4   I'd like to get back to my interpretation of the statute,
5 comply with any lawful directives by Officer Key or                 5   or of the Rule that guides your determination here.
6 Officer Branham.                                                    6            I don't think there's -- I'm not intending to
7             Driving directly at officers kind of spills over        7   argue that there's no probable cause to believe that
8    into the aggravated assault count. What we have is               8   whatever acts were committed were committed by Mr. Grant.
9    testimony and some video which can in some ways support          9   I think you have sufficient evidence to establish that is
10   the testimony that there was an established pattern or          10   true.
11   tactical approach employed by both Officer Branham and          11            So the question then becomes whether or not a
12   Officer Key in approaching the vehicle to get it to stop        12   crime occurred and a public offense has been committed.
13   and for the driver to exit the vehicle.                         13   And I think that's where we have a bunch of trouble, so.
14            As stated previously, Mr. Grant did not comply         14   But let's take the pleading.
15   with any of these orders. Officer Key believes that             15            The complaint here alleges a felony eluding, and
16   Officer Branham was to his left and behind him; Officer         16   it cites all four, 1404(2)(a), (b), (c), and (d).
17   Branham confirmed that he was to his left and behind            17            And I'm looking at the statute, which I just
18   Officer Key in a low fire position.                             18   confirmed is the most recent version of the statute, and
19            And essentially what happened at that point goes       19   (a) is, travels in speeds of 30 miles per hour above the
20   into Count 2 of the aggravated assault. Officer                 20   posted speed limit.
21   Branham's testimony is pertinent primarily in this matter       21            I don't think we have any evidence that allows
22   whether there was an intentional, unlawful, or apparent         22   us to make that determination.
23   ability to threaten by word or act to do violence upon          23            The most we have got is around 80 and maybe a
24   the person, that would be of Officer Branham, with deadly       24   little in excess of 80 in a 55. But otherwise, I
                                                                                                                  PAYETTE-59
25   weapon.                                                         25   couldn't follow the testimony.
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1            Now, maybe somebody who knew all of these               1 he'd have to know he was back there. Just accidentally
2 streets by heart and knew where the signs were would be            2 hitting him or hitting him when he was doing something
3 able to, but it's like, well, there's this speed, but              3 else is not an attempt. Attempt implies that you know
4 where was he going at this speed. I don't think it's at            4 something is there and you are trying to do something
5 all clear.                                                         5 about it. So Officer Higley sneaking around behind him,
6            But in any event, the most I think they have            6 there is no evidence that he saw him or that he was
7 ever established is 25 miles an hour, and that's not a             7 actually backing up trying to hit him.
8 crime. That's not a felony offense. That's a                       8            I think if you watch the video, he is backing up
9 misdemeanor fleeing, but not a felony.                             9   a few feet and correcting and backing up a few feet and
10            Number two, causes damage to property of another      10   correcting and backing up a few feet. Officer Higley
11   or bodily injury. He didn't hit anybody. And he didn't.        11   has, if you look at it, it's a fairly wide section of
12   So he didn't cause any damage to property and didn't           12   pavement there. He has plenty of room to move behind
13   cause a bodily injury.                                         13   without being at risk. So if he cut right behind my
14            Drives a vehicle in a manner as to endanger or        14   client, whether my client was attempting to hit him or
15   likely to endanger.                                            15   not, would require some evidence that my client knew he
16            I'm going to come back to that. That's (c).           16   was there, and there's none of that. There's no evidence
17            And leaves the State. No evidence that he left        17   that he saw or could see him. Looked in his rear-view
18   the State. Didn't even leave the county.                       18   mirror? There's nothing.
19            So drives in his vehicle in a manner as to            19            In fact, if you look at the video, it looks like
20   endanger. Well, you can watch the video, and you can see       20   he pretty much is focused on what it's going to take to
21   there's no cars that are in danger.                            21   get around that car.
22            Likely to endanger? Well, I mean if I'm driving       22            I mean, you will see his face, and he is looking
23   Mr. Grant's car and I see everybody pulling over to the        23   at the car, and he is driving around the car.
24   side because the cops are coming, as it's clear they were      24            I don't even see the instance where he looks at
25   doing, I probably don't feel like I'm endangering              25   the officer and smiles, but.
                                                             193                                                                 195

1 anybody.                                                           1            So that takes care of Officer Higley.
2             If I turn left on the on-ramp of the freeway and       2            Then we go to Officer Key. And if you look at
3    go a long ways down, then I may be risking endangering          3   the video, there's really very little chance my client
4    somebody, but if I turn left, and as happened in the            4   could hit Officer Key, because he'd have had to almost do
5    video, immediately recognize my mistake and correct it, I       5   a 180-degree turn.
6    don't think that's either endangering or likely to              6            Officer Key's car is parked, and he is behind it
7    endanger.                                                       7   moving up and down or staying put with the other car
8             So then we get down to the officers. And               8   moving up and down, but he is behind his car.
9    that's, that really in my view relates to both offenses.        9            So for my client to hit him, he'd have had to go
10   And let's take officers in order.                              10   past parallel of the guard-rail and actually turn around
11            Higley. I don't think that there is any               11   the front of Officer Key's car, and there's no evidence
12   evidence that my client had any idea that Mr. Higley was       12   that he attempted to do that.
13   behind him. And the statute we were dealing with here,         13            It's pretty clear his attempt was to get out of
14   Your Honor, according to what has been pled, and I'll go       14   there.
15   back to the pleading, aggravated assault. I see 901(b)         15            So then that brings us to Officer Key. So the
16   and 901(a). 901(a) says, "A unlawful attempt, coupled          16   evidence is Officer Key, we have officer -- I'm sorry.
17   with apparent ability, to commit a violent injury on the       17   Officer Branham.
18   person of another."                                            18            We have Officer Key alongside the vehicle. The
19            There is no, nothing about well-founded fear in       19   vehicle is moving around in front of him, and he thinks
20   (a). There's nothing about anything that's been argued.        20   that Officer Branham is over here, to his left and back.
21   It's an unlawful attempt to commit a violent injury.           21   The vehicle never goes there. We've got Mr. Blank, who
22            I'm not going to argue that he didn't have the        22   brings the vehicle right up the guard-rail, a little wide
23   ability. He was driving a car for Christ sake. But an          23   of the guard-rail in making the turn, but never, but only
24   unlawful attempt to commit?                                    24   moving away from the guard-rail as he gets past the
                                                                                                                 PAYETTE-60
25            In order to attempt to commit on Officer Higley,      25   position that this guy Blank sees Officer Branham. He
                                                             194                                                                 196

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1 squeezes by along the guard-rail until he is past                  1 will. I didn't mean to do that, once it was in front of
2 everybody.                                                         2 me.
3             And if Officer Branham is here relative to             3            So, Your Honor, I think it's really important to
4    Officer Key, he doesn't get near him.                           4   understand here that this is more than a rubber stamping
5             Now, Officer Branham said, "I had to dive out of       5   opportunity. You are a gatekeeper here, and you are
6    the way."                                                       6   going to send somebody, if you bind Mr. Grant over on one
7             Well, I think that's gilding the lily a little         7   or both of these charges, you are going to send him
8    bit, Your Honor.                                                8   upstairs to deal with a very serious problem, a felony
9             Because the statement he gave to the State             9   offense. And given what we are faced with in the
10   Police, which he had an opportunity. How many times do         10   language of the rule, I think you need to do that
11   people charged with crimes get an opportunity to review        11   cautiously and with a recognition that there are gaping
12   the police report and correct them?                            12   holes in this case. And they are not holes that I think
13            But he had an opportunity to look at the report       13   they can fill.
14   from his interview and correct the report from his             14            Thank you.
15   interview, and he doesn't mention diving out of the way,       15            THE COURT: Thank you.
16   but that's a pretty important fact to the charge they          16            I'd like to set a date for a decision just so we
17   have made.                                                     17   don't lose track, you know.
18            If you wanted -- if you wanted to charge              18            MR. DOLTON: Your Honor, would you permit me a
19   somebody with attempting to hit you, you probably              19   response?
20   wouldn't say that in order to avoid it, I stepped back.        20            THE COURT: Oh, yeah. I'm sorry.
21   You would say, I had to dive out of the way, or he             21            Go right ahead.
22   swerved towards me, or he made a move in my direction, or      22            MR. DOLTON: Thank you.
23   something. But all my client was trying to do was get up       23            First off, we'd acknowledge that we are not as
24   the guard-rail and get out of there.                           24   keenly specific in our complaint as could be expected.
25            Now, I don't think we have to deal with why that      25   We acknowledge that the 30 miles an hour is the statutory
                                                             197                                                                 199

1 was the case, but the issue is whether he was attempting           1 limit. My argument would be that the alleged conduct
2 to hit anybody.                                                    2 would be under subsection (c) only, and I would assert
3             And for Officer Branham to say he had to dive          3 that the inclusion of sub (a), sub (b), and sub (d) in
4    out of the way when he said nothing to that effect, when        4 the elude is simply a scrivener's error.
5    it was simply, I stepped back to be sure he couldn't get        5            We haven't alleged, nor do we have any evidence
6    me.                                                             6   that he left the State. He stayed in Payette County.
7             If you read Mr. Blank's deposition, it's pretty        7   And if he stayed in Payette County, he definitely stayed
8    clear that he wasn't even close to him.                         8   in the State of Idaho.
9             So in my view, if they want to charge somebody         9            What we would allege, the conduct to be under
10   with an unlawful attempt, they should either charge            10   subsection (c) would be that traveling in excess of
11   somebody besides Mr. Grant, because they don't have the        11   speeds of 25 miles per hour and had been driving in the
12   evidence to charge him with that offense, and I don't          12   wrong way on an interstate ramp and then driving directly
13   think they have that evidence on the level of                  13   at peace officers. Directly at.
14   preponderance, which I think is the level you should           14            We would assert through the testimony of the
15   apply it on, but I don't think they actually even have         15   officers as they were in the way essentially and by being
16   any substantial evidence of every material element,            16   in the way they had to move in order to not, to avoid
17   because a material is here is my client's intent. A            17   being struck, as they were performing their lawful duties
18   material element is that he was attempting to hit              18   to get a person to stop on the basis of a traffic
19   somebody as opposed to attempting to get out of there.         19   violation, multiple traffic violations as it turned out.
20            A material element is that he drove forward when      20            As to the assault argument, the Court can make
21   there was actually somebody in front of him that he would      21   reasonable inferences as to the conduct perceived and
22   hit. And there is no evidence of that, because Officer         22   interpreted.
23   Branham was behind and to the left, and the car goes           23            Rarely do we have the opportunity to pry into
24   across the front.                                              24   the intent of a defendant, unless they simply admit to
                                                                                                                 PAYETTE-61
25            And Mr. Blank will fill in that blank, if you         25   the criminal conduct.
                                                             198                                                                 200

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1            This is not a fox hunt. We are not or the                1           I agree with defense as to the importance of
2 officers were not pursuing an animal. This is a human               2 magistrate court gate-keeping the situation, but in my
3 being who has motivations and intent to do anything for             3 experience this case and its evidence are fairly strong
4 self preservation, so what we have is a case where there            4 if you look at the forest rather than the trees. The
5 was no obedience to any lawful, visual, auditorially cues           5 trees are there, the forest is there. There is ample
6 from law enforcement to stop the vehicle. He was simply             6 evidence to show that at least for purposes of probable
7 running away from authority.                                        7 cause and substantial evidence that the material elements
8             When that authority caught up to him and                8 have been met for purposes of this hearing.
9    essentially was nearing the trap, the intent can be              9            Thank you, Your Honor.
10   inferred as to all of the evidence that you have before         10            THE COURT: Thank you.
11   Your Honor: The smile, the smirk, whatever you want to          11            MR. DOLTON: Your Honor, can you set a deadline
12   call it in the video.                                           12   so we can get you that stuff?
13            It was quite evident to me that there were             13            THE COURT: Can't you get that to me today?
14   multiple opportunities for Mr. Grant to refrain from            14            MR. DOLTON: I would like to, but my office is
15   trying to escape the situation. He was given multiple           15   in a felony trial over there, so I think our resources
16   commands. There was the presence of a firearm and               16   are being focused there.
17   commands to do so, and he simply did not acknowledge any        17            THE COURT: I would like all of the material by
18   of this and proceeded to do what he wanted to do in the         18   Friday at noon.
19   face of lawful authority.                                       19            MR. DOLTON: Okay.
20            The Blank deposition, I did not go into in my          20            THE COURT: This Friday at noon, which is the
21   initial closing argument, as although Mr. Blank has some        21   20th.
22   information to provide, you have to consider the context.       22            I'd like to give you my oral decision -- you
23            Mr. Blank was heading southbound and was               23   will have it by Wednesday, the 25th.
24   continuing to drive southbound as he was looking back as        24            MR. BISTLINE: Your Honor, I have a mediation
25   to what was going on at the off-ramp that he had passed,        25   that day. I would imagine that if we need to have a
                                                              201                                                                   203

1 and then he turned around after he got over the bridge of           1 phone conference in the afternoon, typically things get
2 the interstate and drove back to see the aftereffects of            2 moving faster as you know towards the afternoon, but.
3 Mr. Grant being removed, detained, and rendered aid.                3            THE COURT: Depends who the mediator is.
4            Mr. Blank's observations, given the fact that it         4            MR. BISTLINE: I would imagine that if we -- I
5 was between 11:00 to 12:00 at night, the only light that            5   mean we have a fixed time that I can work it around
6 could be provided was through overhead lights and the               6   that.
7 siren or the lights from the patrol vehicles, he only               7            THE COURT: Take a break?
8 acknowledged seeing one person out of the vehicle.                  8            MR. BISTLINE: Because I don't think it's going
9            Well, I think we can easily establish there were         9   to take very long.
10 three people out of the vehicle. So we could therefore            10            THE COURT: Your mediation?
11 establish that he really didn't have a good look at the           11            MR. BISTLINE: No, your discussing the
12 situation as he was driving away from that said                   12   decision.
13 situation.                                                        13            THE COURT: Well, you never know. I might find
14           The material elements of the intent. Like I             14   many things to talk about.
15 said, intent is always the issue when it comes to                 15            How about 3:00 o'clock?
16 criminal matters. And outside of an admission, the                16            And you can appear by phone. You will not have
17 intent usually has to be inferred based on the                    17   to be here.
18 circumstances of the case and the evidence as presented           18            MR. BISTLINE: Okay.
19 for Your Honor.                                                   19            THE COURT: You can also appear by phone if you
20           I believe a reasonable inference could be made          20   wish, Mr. Grant.
21 that Mr. Grant had no intent whatsoever to comply with            21            MR. BISTLINE: Normally, just for the sake of
22 anything or any action done by law enforcement, and that          22   the record, I arrange for him to be available by phone
23 intent can be furthered to he would do anything he could          23   also.
24 to avoid contact with law enforcement and being by the            24            THE COURT: Okay.
                                                                                                                  PAYETTE-62
25 personnel involved.                                               25            MR. BISTLINE: Just so we don't run into...
                                                              202                                                                   204

                                                                    201
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1            I suppose it shouldn't be my concern to raise           1            MR. BISTLINE: Okay. I'll be here for a few
2 this, but just so we don't run into a critical phase               2 minutes.
3 proceeding argument (inaudible.)                                   3            MR. DOLTON: And I'll get you that snippet for
4            THE COURT: Is there a phone number that we              4   that 2:30 to 4:50 or something like that.
5 could reach you at?                                                5            THE CLERK: Yeah. It ended at 23:58.
6            MR. BISTLINE: I think my cell phone is going to         6            MR. DOLTON: Okay.
7 be best for me. 331-2100. (208) 331 -- no. Wait a                  7            All right. We can do that.
8 minute. That's my office.                                          8            THE COURT: Thank you. Court is in recess.
9             (208) 989-7771.                                        9            (Conclusion of proceedings.)
10            THE COURT: Mr. Grant, where can we reach you?         10                 - - - o 0 o - - -
11            MR. GRANT: (208) 697-9456.                            11
12            THE COURT: Okay. Somebody from your office            12
13   could be here?                                                 13
14            MR. DOLTON: We'll be present, Your Honor.             14
15            THE COURT: Okay. Let's shoot for 3:00 o'clock.        15
16            If I'm not prepared, I'll let you know and            16
17   reschedule it. Otherwise, we'll meet on 10/25 at 3:00.         17
18            State have anything further today?                    18
19            MR. DOLTON: We do not, Your Honor.                    19
20            Thank you.                                            20
21            THE COURT: The sooner you can get me that             21
22   information, I could use it to get started.                    22
23            MR. DOLTON: Yes.                                      23
24            Now, I know I did offer Mr. Bistline to produce       24
25   the transcript, but are you going to do that on your own?      25
                                                             205                                                                  207

1            MR. BISTLINE: Do you have a copy for me at this         1 STATE OF IDAHO    )
                                                                                         )ss.
2 time?                                                              2 COUNTY OF PAYETTE )
3             Well, but I need that one back, because that's         3
4    got the disc. So I guess I could take the discs out.            4       I, LEDA WADDLE, State-certified and licensed
5             THE COURT: How many pages are there?                   5 transcriber, do hereby certify:
6             Why don't we just make a copy of it.                   6       That the foregoing transcript is a transcript of a
7             MR. BISTLINE: Sure. That's great.                      7 disc made of the proceedings in the matter of State of
8             MR. DOLTON: And then you can have the exhibit          8 Idaho vs. David Michael Grant, Payette County
9    you want.                                                       9 Case No. CR-2017-660, before the Honorable
10            MR. BISTLINE: You know, if you want, you can          10 Robert Jackson, Magistrate of the Magistrate Division of
11   just take the disc out and download the disc.                  11 the District Court of the Third Judicial District of the
12            THE COURT: You are asking us to do something?         12 State of Idaho, in and for the County of Payette; that
13            THE CLERK: I think I can do that, Judge. I            13 the foregoing Pages 1 through 207 of this transcript
14   think I can do it really quick for you.                        14 contains as accurate and complete a transcription of said
15            THE COURT: Okay. Thank you.                           15 disc as I was able to make.
16            MR. BISTLINE: Well, there's actually two              16      IN WITNESS WHEREOF, I have hereunto set my hand this
17   versions of it. One is synchronized to the transcript,         17 24th 20th day of April, 2018.
18   and the other is just the transcript.                          18
19            THE CLERK: Okay.                                      19
20            MR. BISTLINE: It's just the actual video.             20                                   LEDA WADDLE
                                                                                                         _______________________
21   Synchronized to the transcript might be best.                  21                                   LEDA WADDLE
                                                                                                         Official Court Reporter
22            THE CLERK: As soon as we recess, I'll go in the       22                                   Idaho CSR License No. 758
                                                                                                         Transcriber
23   office and try to put it on.                                   23
24            THE COURT: Okay. we can give this back to you,        24
                                                                                                                 PAYETTE-63
25   then, before you leave.                                        25
                                                             206                                                                  208

                                                                   205
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   4.     My attorney has explained my constitutional rights, and the punishment that could be

          imposed by the court upon         my plea of guilty.

    5.    Iunderstand that     if I   plead not guilty t0 any count or counts in the Information or


          Indictment, the following will occur:


               a.      I   would be presumed innocent of the charges                 against        me   in   such count or


                       counts;


               b.      I   would be    entitled to a      speedy and public jury         trial    by an impartial jury       in


                       which the burden would be upon the                   State to establish        my guilt beyond a

                       reasonable doubt to the satisfaction of all twelve (12) jurors; and


               c.      Upon such trial      1) I     would be      entitled to   remain      silent   and no inference could


                       be drawn against       me because of my silence;             2)   I   could, if I wished, testify          on


                       my own behalf;       3)   I   would be      entitled to confront          and cross—examine     all



                       witnesses against me; 4)             I   would be   entitled to   compulsory process of the


                       court to obtain witnesses and evidence t0 be offered in                        my defense.

     6.   My decision to plead guilty is made freely and voluntarily.                        I   have not been induced t0


          plead guilty by any force, coercion, pressure, or                fear.



     7. If I   am not a naturalized citizen of the United               States, the entry         of a plea or making of


          factual admissions could        have consequences of deportation, exclusion 0f admission to the


          United States, or denial of naturalization.


     8. I   understand the following conditions apply to this plea agreement:


               a.   At sentencing, the     State     is   free to discuss the contents           of the pre sentence


                    investigation and to facilitate victim impact statements.




Plea Agreement 2
                                                                                                                    PAYETTE-8
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            b.     This State’s offer      is   contingent upon      my attending all pre-sentence interviews as

                   scheduled and upon appearing            at sentencing as    scheduled by the court. If I          fail to



                   appear   at   any scheduled hearing, the sentencing and/or plea agreement                  may be

                   withdrawn by the        State.


                   The    State’s offer is contingent     upon       my not receiving any additional        and/or   new

                   chérges prior to the sentencing on this matter.


                   This offer    is   contingent upon    my having only a prior DUI conviction in Benewah

                   County    in 1995     and the criminal history reﬂected in the State’s Response for


                   Discovery. If I      fail to   disclose criminal history not reﬂected in the State’s


                   response 0r     if prior criminal    convictions are later discovered, the sentencing


                   and/or plea agreement          may be withdrawn by the        State


                   I   am currently charged under the Criminal Information                      ﬁled   is   this action


                   with   FLEEING OR ATTEMPTING TO ELUDE A PEACE OFFICER

                   (Felony) and        AGGRAVATED ASSULAT (Felony).                      I   understand that in

                   exchange for        my agreement, made herein, to            plead guilty t0 an     Amended

                   Criminal Information in the form attached hereto, charging only                           FLEEING

                   OR ATTEMPTING TO ELUDE A PEACE OFFICER (felony) the
                   Prosecuting Attorney will           file   that   Amended Criminal Information and                 I will



                   enter a plea of guilty thereto.            I   agree that should   I fail to   enter a plea of


                   guilty to the      Amended Criminal Information              in the   form attached hereto, the

                   Prosecuting Attorney shall be entitled to withdraw the                     Amended Criminal




Plea Agreement 3
                                                                                                             PAYETTE-9
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                          Information with the effect that             I   would be again subject    t0 the original


                          Criminal Information for         all   further proceedings in this action.


                                a.   At sentencing, the State will recommend             penalties as follows:   An

                                     aggregate term 0f confinement of five            (5) years,   with the ﬁrst two   (2)


                                     years fixed and the remaining three (3) years indeterminate,


                                     suspended; a five    (5)   year term of probation; a fine in the amount of

                                     $3,000 ($2,000 suspended); and a suspension of driving privileges for


                                     3 years.


I   am   not bound by this sentencing recommendation and                           may argue    for a lesser sentence.


         10.              In exchange for the      above terms,    I   agree as follows:


                    a.          To waive my right to appeal       this case     and subsequent sentence;


                    b.          To waive my right     to ﬁle a   motion to reduce or amend         my sentence pursuant

                                to Idaho Criminal Rules,    Rule 35; and


                    c.          To waive my right to     ﬁle a motion to withdraw          my plea once a plea has been

                                entered.


     11.       Ihave discussed         all   the elements of this plea agreement with        my lawyer and he or she has

               explained every detail of the plea agreement to                me to my   satisfaction.


     12.       I   am    satisﬁed with     my lawyers representation of me in this matter and do not believe he

               or she     is   incompetent or apathetic to the outcome of my case.


     13.       I   am not under the        inﬂuence of any substance, such as a narcotic 0r alcohol, that would


               affect     my ability to understand the nature          and consequences of my action      in entering a


               guilty plea.




Plea Agreement 4
                                                                                                            PAYETTE-10
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      14.      I   understand that plea negotiations recognize the economic considerations 0f limited


               prosecutorial resources.           I   understand that the State does not punish a citizen for


               asserting the right to a jury          trial,   but the State   makes concessions      as to charging and/or


            sentencing recommendations in exchange for a swift and certain resolution 0f a case.


      15.      Finally,   I   understand that the Judge           is   not bound or obligated to follow the sentencing


               recommendations of the prosecutor when determining what sentence he or she                             will


               impose and

                       Dated
                               is



                                this
                                    free to


                                            (:3
                                       ____day of February,
                                        I
                                                                         201

                                                                               WW
                                              impose whatever sentence he or she deems just and




                                                                            DAVID MICHAEL GRANT
                                                                            Defendant
                                                                                                                ﬁt.




          I,       Bruce Sherman       Bistline, the attorney for the          above named defendant, have reviewed the


foregoing with and have explained to David Michael Grant the nature ofthe charges against him, his


constitutional rights          and the punishment that could be imposed upon his guilty                    plea.



                                                                         ?mgg EmKA
                                                                            Bruce Sherman Bistline
                                                                            Attorney for Defendant


         Offered this         lst   day of February, 201 8. This offer           is   open only   until 5:00   pm. on the day

of the   pre-trial.      Acceptance of this offer must be in writing prior to the above deadline.



ROSS D. PITTMAN
             /PROSEC¥TING ATTORNEY
PAYETTE COUNTY

By:       g
   /Ress-B..Exitman                   A)’a4       gﬂmw
          Prosecuting Attorney
 Def



Plea Agreement 5
                                                                                                                   PAYETTE-11
